Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 1 of 114




      EXHIBIT
      EXHIBIT 66
      Case 1:25-cv-01161-TJK         Document 2-8       Filed 04/16/25     Page 2 of 114




       U.S. Department of Justice
       Federal Bureau of Prisons

PROGRAM STATEMENT
OPI    CPD/DSC
NUMBER 5100.08, CN-2
DATE   March 6, 2025


Inmate Security Designation and Custody
Classification

       /s/
Approved: Kathleen Toomey
Associate Deputy Director, Federal Bureau of Prisons

This Change Notice (CN) implements the following changes to Program Statement 5321.09,
Unit Management and Inmate Program Review, dated April 8, 2024. This CN updates
language to ensure consistency with Executive Orders issued by the Executive Office of the
President of the United States. Additions are marked with a highlight.

CHAPTER 2: DEFINITIONS

FEMALE. A person belonging, at conception, to the sex that produces the large reproductive
           cell.

MALE. A person belonging, at conception, to the sex that produces the small reproductive cell.

MAN/MEN. Adult and juvenile human males.

SEX. An individual’s immutable biological classification as either male or female.

WOMAN/WOMEN. Adult and juvenile human females.
      Case 1:25-cv-01161-TJK          Document 2-8        Filed 04/16/25     Page 3 of 114




       U.S. Department of Justice
       Federal Bureau of Prisons


CHANGE NOTICE
OPI:    CPD/CPB
NUMBER: 5100.08, CN-1
DATE:   September 4, 2019

Inmate Security Designation and Custody
Classification


       /s/
Approved: Kathleen Hawk Sawyer
Director, Federal Bureau of Prisons

This Change Notice (CN) implements the following changes to Program Statement 5100.08,
Inmate Security Designation and Custody Classification, dated September 12, 2006, in light of
the FIRST STEP Act.

The highlighted text was added to INTRODUCTION:

The Bureau of Prisons shall designate the place of the prisoner's imprisonment, and shall, subject
to bed availability, the prisoner's security designation, the prisoner's programmatic needs, the
prisoner's mental and medical health needs, any request made by the prisoner related to faith-
based needs, recommendations of the sentencing court, and other security concerns of the Bureau
of Prisons, place the prisoner in a facility as close as practicable to the prisoner's primary
residence, and to the extent practicable, in a facility within 500 driving miles of that residence.

The highlighted text was added and the deleted text is struck through in Chapter 5,
MANAGEMENT VARIABLES AND PUBLIC SAFETY FACTORS:

       D               Release Residence. The Bureau of Prisons attempts to place each inmate
                       in an institution that is reasonably close to the anticipated release area.
                       Ordinarily, placement within 500 miles of the release area is to be
                       considered reasonable, regardless of whether there may be an institution
                       closer to the inmate’s release area. To the extent practicable, placement to
                       the closest facility within 500 driving miles of the release area will be
      Case 1:25-cv-01161-TJK             Document 2-8         Filed 04/16/25      Page 4 of 114




                          considered reasonable, subject to bed availability, the prisoner’s security
                          designation, the prisoner’s programmatic needs, the prisoner’s mental and
                          medical health needs, any request made by theprisoner related to faith-based
                          needs, recommendations of the sentencing court, and other security concerns of
                          the Bureau of Prisons. This MGTV may also apply to inmates who are within 36
                          months of release.

        E                 Following are example situations: facility activation; population pressures
                          affecting available appropriate-level bed space within 500 driving miles of
                          the inmate’s anticipated release residence; gang/security concerns.

Additionally highlighted text was added and the deleted text is struck through in Chapter 7,
Institution Classification Transfers.

2. NEARER RELEASE TRANSFERS (Code 313). Once the inmate has been transferred
within 500 driving miles of his or her release residence, no further referrals will be made for
nearer release transfer consideration. further referrals can be considered for nearer release
transfer consideration subject to bed availability, the prisoner’s security designation, the
prisoner’s programmatic needs, the prisoner’s mental and medical health needs, any request
made by the prisoner related to faith-based needs, recommendations of the sentencing court, and
other security concerns of the Bureau of Prisons.




P5100.08, CN-1 9/4/2019                                                                                    2
     Case 1:25-cv-01161-TJK   Document 2-8            U.S. Department
                                             Filed 04/16/25 Page 5 of 114of Justice
                                                       Federal Bureau of Prisons




Program                                          OPI:
                                              NUMBER:
                                                DATE:
                                                        CPD/CPB
                                                        P5100.08
                                                        9/12/2006

Statement
                                             SUBJECT:   Inmate Security
                                                        Designation and Custody
                                                        Classification


 1. PURPOSE AND SCOPE. This Program Statement provides policy
 and procedure regarding the Bureau of Prisons inmate
 classification system. The classification of inmates is
 necessary to place each inmate in the most appropriate
 security level institution that also meets their program
 needs and is consistent with the Bureau’s mission to protect
 society.

 The Bureau’s classification, designation and
 redesignation procedures are consistent with the
 statutory authority contained in 18 U.S.C. § 3621(b). All
 classification, designation and redesignation decisions
 are made without favoritism given to an inmate’s social
 or economic status.

 2. PROGRAM OBJECTIVES. The expected results of this Program
 Statement are:

   a. Each inmate will be placed in a facility commensurate
 with their security and program needs through an objective
 and consistent system of classification which also allows
 staff to exercise their professional judgement; and,

   b. Staff will systematically and objectively review an
 inmate’s classification making the environment in which
 they are housed safer for both inmates and staff while
 protecting the public from undue risk.

 3. SUMMARY OF CHANGES. This revision incorporates Executive
 Staff decisions 03-04-05 and 99-03-03, as well as other
 procedural changes such as the movement of most
 designation/redesignation functions (04-08-17) to the
 Designation and Sentence Computation Center (DSCC), Grand
 Prairie, Texas.

   a. The scoring item “Type of Prior Commitment” has been
 replaced with “Criminal History Score.” (Chapter 4, Page 8 and
 Chapter 6, Page 5)
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 6 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                                       Page 2

  b. A new scoring item for inmate “Age” has
been added. (Chapter 4, Page 12 and Chapter 6,
Page 8)

  c. A new scoring item for “Education Level” has
been added. (Chapter 4, Page 12 and Chapter 6, Page 8)

  d. The “Drug/Alcohol Abuse” scoring item has been added to
the BP-337 and has moved from Section C (Custody Scoring) of
the BP-338 to Section B (Base Scoring) of the BP-338. (Chapter
4, Page 13 and Chapter 6, Page 9)

  e. The “Mental/Psychological Stability” scoring item
has been discontinued.

  f. The “Responsibility Demonstrated” scoring item
has been replaced with “Living Skills” and “Program
Participation.” (Chapter 6, Page 10)

  g. Instructions for scoring the “Family/Community
Ties” scoring item have been clarified. (Chapter 6, Page
13)

   h. The floor for the Violent Behavior PSF has been
reduced from High to Low Security. (Chapter 5, Page
9)

  i. New cutpoints and a new Custody Variance Table have
been developed.   (Chapter 1, Page 2 and Chapter 6, Page 15)

  j. An expiration date for the Greater Security
Management Variable has been added.   (Chapter 5, Page 5)

  k. The criteria for the Deportable Alien PSF
has been clarified. (Chapter 5, Page 9)

  l. Text has been added that formalizes the Bureau’s past
and current practice of continually assessing the
effectiveness of its inmate classification process. (Program
Statement Section 6)

  m. Text has been added that encourages DSCC staff to
consider using a Management Variable when designating inmates
where age is largely the contributing factor in the inmate’s
placement. (Chapter 5, Page 5)

  n. Text has been revised that requires the entry of
supporting information in the BP-337 “REMARKS SECTION”
when there is
Pre-Sentence Investigation Report information relevant to that
scoring item. (Chapter 4, Page 13)
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 7 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                                       Page 3

  o. The DSCC Administrator will ensure that designation/
redesignation decisions are applied consistently on a
bureau- wide basis. (Chapter 4, Page 14)

  p. DSCC staff must contact the sentencing court if a
Statement of Reasons is not received at the time a request
for designation is made. (Chapter 3, Page 1)

  q. Inmates who currently qualify for unescorted transfer
may be transported by family members via POV from one camp to
another camp.      (Chapter 7, Page 8)

  r. The appendices on Sentence Procedures, Institutions
Missions and Parolable Institutions have been removed
from the manual, but will be available on the CPB
website.

  s. The Offense Severity Scale, Definition of Roles
involved in Drug Offenses and the Special Instructions
appendices have been combined into one appendix.

  t. All transfer requests under codes 309 - Disciplinary and
323 - Close Supervision will be directed to the Designation and
Sentence Computation Center. “W REDES C” has been eliminated and
“W REDES D” has been changed to “W REDES R” to reflect routine
redesignations. (Chapter 7, Page 2)

  u. The female versions of the BP-337 and BP-338 have been
discontinued although certain policies and procedures
specific to female offenders are maintained i.e. security
levels, cutpoints, Public Safety Factors and Management
Variables.

  v. The “Release on Own Recognizance” scoring item
has been discontinued. (Chapter 4, Page 5)

  w. The description of Management Variable “U” has been
revised to include all long-term detainees. It no longer applies
solely to Mariel Cuban Detainees.    (Chapter 5, Page 4)

  x. The medical transfer code descriptions were
revised to include “Level of Care” language. (Chapter 7,
Pages 21-22)

  y. The criteria for the Prison Disturbance PSF
has been clarified. (Chapter 5, Page 10)
          Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 8 of 114
                                                                           P5100.08
                                                                          9/12/2006
                                                                             Page 4

4.    DIRECTIVES AFFECTED

  a.        Directive Rescinded

           P5100.07 Security Designation and Custody Classification
                    Manual (9/3/99)

     b.     Directives Referenced

           P5070.10 Responses to Judicial Recommendations and U.S.
                    Attorney Reports (6/30/97)
           P5070.11 Study and Observation Report (12/31/97)
           P5110.15 Notifications of Release to State and Local
                    Law Enforcement Officials (8/30/00)
           P5111.03 Mariel Cuban Detainees (10/25/99)
           P5140.35 Transfer of a Prisoner to State Custody Prior
                    to Release from the Federal Sentence
                    (9/12/01)
           P5141.02 Sex Offender Notification and Registration
                    (12/14/98)
           P5180.04 Central Inmate Monitoring System (8/16/96)
           P5215.05 Youth Corrections Act (YCA), Inmates and
                    Programs (3/17/99)
           P5216.05 Juvenile Delinquents (9/1/99)
           P5264.07 Telephone Regulations for Inmates (1/31/02)
           P5270.07 Inmate Discipline and Special Housing Units
                    (12/29/87)
           P5280.08 Furloughs (2/4/98)
           P5553.07 Escapes/Deaths Notifications (2/10/06)
           P5800.13 Inmate Systems Management Manual (6/28/02)
           P7310.04 Community Corrections Center (CCC) Utilization
                    and Transfer Procedure (12/16/98)

5.     STANDARDS REFERENCED

     a.     American Correctional Association 2nd Edition Standards for

Administration of Correctional Agencies: 2-CO-4B-01

  b. American Correctional Association 4th Edition Standards
for Adult Correctional Institutions: 4-4132, 4-4296, 4-4300, 4-
4306, and 4-4444

  c. American Correctional Association 4th Edition
Performance- Based Standards for Adult Local
Detention Facilities:
4- ALDF-1A-10, 4-ALDF-2A-31, and 4-ALDF-2A-37
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 9 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                                       Page 5

6. ACTION. All inmate classification decisions and related
actions will be made in accordance with the procedures in this
Program Statement and are effective immediately. Implementation
for each inmate shall occur in accordance with his or her next
regularly scheduled custody review. Those cases that have a
security level increase as a direct result of the initial
implementation of this policy will not ordinarily be
transferred to a higher security facility.        Bureau
institutions may submit lists of these inmates to the DSCC in
lieu of a Request for Management Variable for application of an
appropriate Management Variable.

In accordance with the procedures set forth in this manual, a
Transfer Request/Application of Management Variable must be
submitted to the DSCC for those cases that have a security
level decrease, for transfer to a lesser security level
facility or application of an appropriate Management Variable.

This Program Statement authorizes the continuation of the
Bureau’s Inmate Classification Workgroup under the direction of
the Assistant Director, Correctional Programs Division or
his/her designee. The Assistant Director (CPD) will select and
replace workgroup members, on an as-needed basis, with subject
matter experts in inmate classification and related disciplines
who represent institutions, Regional Offices and the Central
Office.

The Inmate Classification Workgroup or its subgroups will meet
or video conference at least annually to assess the overall
effectiveness of the inmate classification system and report as
appropriate their findings and recommendations to the Director
and the agency’s Executive Staff. Consideration may be given to
include institutional staff with experience at various security
and custody levels.



                                                    /s/
                                               Harley G. Lappin
                                               Director
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25    Page 10 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Table of Contents


                            TABLE OF CONTENTS



Introduction   . . . . . . . . . . . . . . . . . . . . . Chapter 1

Definitions . . . . . . . . . . . . . . . . . . . . . . Chapter 2

Security Designation Procedures for New Commitments .                Chapter 3

Inmate Load and Security Designation Form, BP-337 . .               Chapter 4

Management Variables and Public Safety Factors . . .. Chapter 5

Custody Classification Form Instructions, BP-338 . . Chapter 6

Inmate Transfer . . . . . . . . . . . . . . . . . .             .   Chapter 7

Offense Severity Scale/Definition of Roles involved in
Drug Offenses/Special Instructions . . . . . . . . . Appendix A

Waiver for Misdemeanants . . . . . . . . . . . . . . Appendix B

Standard Abbreviations/Terms (BP-337) . . . . . . . .               Appendix C

Request for Transfer/Application of Management . . . Appendix D
Variable (409)



The Sentence Procedures Appendix, Institution Missions
Appendix and the Parolable Institutions Appendix can be found
on the Correctional Programs Branch (CPB) web page.
                                              Quarterly updates
will be made based upon submissions by the respective regions
to the DSCC Administrator.
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25    Page 11 of 114
                                                                      P5100.08
                                                                     9/12/2006
                                                             Chapter 1, Page 1

                              INTRODUCTION


Bureau of Prisons (BOP) institutions are classified into
one of five security levels: MINIMUM, LOW, MEDIUM, HIGH, and
ADMINISTRATIVE based on the level of security and staff
supervision the institution is able to provide.

An institution’s level of security and staff supervision
is based on the following factors:

!   mobile patrol;           !   internal security;
!   towers;                  !   type of inmate housing;
!   perimeter barriers;      !   inmate-to-staff ratio; and,
!   detection devices;       !   any special institutional mission.

Similarly, BOP inmates are classified based on
the following factors:

     •     The level of security and supervision the inmate
           requires; and,

     •     The inmate’s program needs, i.e., substance abuse,
           educational/vocational training, individual
           counseling, group counseling, or medical/mental
           health treatment, etc.

In summary, the initial assignment (designation) of an inmate
to a particular institution is based primarily upon:

     •     The level of security and supervision the inmate
           requires;

     •     The level of security and staff supervision the
           institution is able to provide; and,

     •     The inmate’s program needs.

Additional factors that are also considered when designating
an inmate to a particular institution include, but are not
limited to:

     •     The inmate’s release residence;

     •     The level of overcrowding at an institution;

     •     Any security, location or program recommendation made
           by the sentencing court;
   Case 1:25-cv-01161-TJK   Document 2-8     Filed 04/16/25    Page 12 of 114
                                                                       P5100.08
                                                                      9/12/2006
                                                              Chapter 1, Page 2
     •       Any Central Inmate Monitoring issues (see
             Program Statement Central Inmate
             Monitoring Program);

     •       Any additional security measures to ensure
             the protection of victims/witnesses and the
             public in general; and,

     •       Any   other  factor(s)  which  may  involve  the
             inmate’s confinement; the protection of society;
             and/or the safe and orderly management of a BOP
             facility.

Initial designations to BOP institutions are initiated, in
most cases by staff at the Designation and Sentence
Computation Center (DSCC), Grand Prairie, Texas, who assess
and enter information from the sentencing court, U.S. Marshals
Service,
U.S. Attorneys Office or other prosecuting authority and the
U.S. Probation Office about the inmate into a computer database
(SENTRY).

The Bureau of Prisons shall designate the place of the
prisoner's imprisonment, and shall, subject to bed
availability, the prisoner's security designation, the
prisoner's programmatic needs, the prisoner's mental and
medical health needs, any request made by the prisoner related
to faith-based needs, recommendations of the sentencing court,
and other security concerns of the Bureau of Prisons, place
the prisoner in a facility as close as practicable to the
prisoner's primary residence, and to the extent practicable,
in a facility within 500 driving miles of that residence.

SENTRY then calculates a point score for that inmate which
(for example, 18 points) is then matched with a commensurate
security level institution.

    Security           Custody                Male                 Female
      Level             Level
    MINIMUM         COMMUNITY and          0-11 points           0-15 points
                         OUT
     LOW              OUT and IN       12-15 points             16-30 points

     MEDIUM           OUT and IN       16-23 points                   *

      HIGH          IN and MAXIMUM         24+ points            31+ points

 ADMINISTRATIVE      All custody            All point                All
                       levels                totals                 point
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25    Page 13 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 1, Page 3

An inmate’s security point score is not the only factor used
in determining a commensurate security level for an inmate. The
application of a PSF or MGTV could effect placement at either
a higher or lower level institution than the specified point
total indicates. (SEE CHAPTER 5 FOR MORE DETAILED INFORMATION)

NOTE:     A security level cannot be assigned by SENTRY without
          completing an Inmate Load and Security Designation
          Form. If an inmate has not been assigned a security
          level, SENTRY will automatically assign “UNKNOWN” as
          the security level.
* Female security level institutions are classified
as Minimum, Low, High and Administrative.

Once all necessary information has been entered into the
SENTRY database, a DSCC or Medical Designations Officer,
(hereafter, Designator) selects an institution for service of
sentence based on all the previously mentioned factors.

Redesignations (transfers) from one Bureau institution to
another are considered in much the same manner using many of
the same factors used at the time of initial designation. In
addition, the inmate’s institutional adjustment and program
performance are also carefully reviewed when redesignation is
considered.

Finally, an initial custody level (COMMUNITY, IN, OUT, MAXIMUM)
is also assigned to the inmate that is consistent with the
institutions mission. (See previous chart). An inmate’s custody
level within any given security level institution is routinely
reviewed and may change for various reasons during the period
of incarceration.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25    Page 14 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 2, Page 1

                             DEFINITIONS


ADMINISTRATIVE INSTITUTION. An institution with a special
mission, where inmates are assigned based on factors other than
security and/or staff supervision (for example, medical/mental
health, pretrial and holdover). Administrative institutions are
designed to house all security level inmates.

CENTRAL INMATE MONITORING (CIM). The Bureau monitors and
controls the transfer, temporary release, and community
activities of certain inmates who present special needs for
management. Such inmates, known as Central Inmate Monitoring
cases, require a higher level of review prior to any
movement outside the institution.

CLASSIFICATION. The systematic subdivision of inmates into
groups based on their security and program needs.

COMMUNITY CUSTODY. The lowest custody level assigned to an
inmate which affords the lowest level of security and staff
supervision. An inmate who has COMMUNITY custody may be eligible
for the least secure housing, including any which is outside the
institution's perimeter, may work on outside details with
minimal supervision, and may participate in community-based
program activities if other eligibility requirements are
satisfied.

CONTRACT FACILITY. A state or local prison, institution,
facility, jail, or other non-federal enterprise that
contracts with the Bureau to house federal inmates (i.e.,
Community Corrections Center).    Contract facilities are
contracted and supervised by the CCMs.

CRIMINAL HISTORY POINTS. Criminal History Points are used to
calculate the Bureau’s Criminal History Score. The Criminal
History Points is the calculation, as specified by the U.S.
Sentencing Commission Guidelines (Guidelines Manual, Chapter 4),
which assigns a numerical value based on the individuals entire
criminal record of convictions. Ordinarily, the Criminal History
Points are calculated by the United States Probation Office.

CRIMINAL HISTORY SCORE (CHS). The CHS is one of the factors used
to calculate the inmate’s security point total. The CHS is
derived from the Criminal History Points whereby the Criminal
History Points fall into one of six categories.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 15 of 114
                                                         P5100.08
                                                        9/12/2006
                                                Chapter 2, Page 2
CURRENT OFFENSE. For classification purposes, the current
offense is the most severe documented instant offense
behavior regardless of the conviction offense.

CUSTODY CLASSIFICATION. The review process to assign a custody
level based on an inmate’s criminal history, instant offense,
and institutional adjustment. A custody level (i.e., COMMUNITY,
OUT, IN, and MAXIMUM) dictates the degree of staff supervision
required for an individual inmate.

DESIGNATION. An order from the DSCC indicating the initial
facility of confinement for an inmate.

DESIGNATION FACILITY (DFCL). Each of the separate missions
within an institution for designation purposes. Each DFCL is
shown as a separate line on the Population Report and has
its own security level and destination (DST) assignment.
                              Designations are made to a DFCL
code rather than to a facility (FACL) code.

FEMALE. A person belonging, at conception, to the sex that
produces the large reproductive cell.

JUDGMENT. The official court document (e.g., Judgment and
Commitment Order or Judgment in a Criminal Case) which is signed
by the Judge. The Judgment contains the offense(s) for which the
court imposes its sentence, which ordinarily includes a
financial, confinement and supervision obligation.

HISTORY. The inmate's entire background of criminal convictions
(excluding the current offense) and institutional disciplinary
findings used to assess points related to his/her history of
violence and/or history of escape.

IN CUSTODY. The second highest custody level assigned to an
inmate which requires the second highest level of security and
staff supervision. An inmate who has IN custody is assigned to
regular quarters and is eligible for all regular work
assignments and activities under a normal level of
supervision.
             Inmates with IN custody are not eligible for work
details or programs outside the institution's secure perimeter.

LEGAL RESIDENCE. The inmate’s local and state address as
reported by the United States Probation Office at the
time of conviction.

LONG-TERM DETAINEE.    A non-U.S. citizen (alien) who has:

     •    finished serving a local, state, or federal sentence;

     •    completed immigration proceedings that have resulted
          in an order of deportation, exclusion, or other
Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 16 of 114
                                                                   P5100.08
                                                                   P5100.08
                                                                 9/12/2006
                                                                 9/12/2006
                                                         Chapter
                                                         Chapter 2,
                                                                 2, Page
                                                                     Page 3 3
       means
       means of
             of
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 17 of 114
                                                         P5100.08
                                                        9/12/2006
                                                Chapter 2, Page 4
          removal by either the Executive Office for
          Immigration Review (EOIR), or the Bureau of
          Immigration and Customs Enforcement (ICE), formerly
          the Immigration and Naturalization Service (INS);
          and,

     •    cannot be removed from the country for various reasons.

MALE. A person belonging, at conception, to the sex that
produces the small reproductive cell.

MAN/MEN. Adult and juvenile human males.

MANAGEMENT SECURITY LEVEL (MSL). Management Security Level is
the security level assigned by the DSCC Administrator or
designee to an inmate upon application of any of the
following Management Variables:

     •   PSF Waived;

     •   Greater Security; and,

     •   Lesser Security.

Based on these Management Variables, the Management
Security Level will normally be one security level greater
or lesser than the scored security level.

MANAGEMENT VARIABLE. A Management Variable (MGTVs) reflects and
supports the professional judgment of Bureau staff to ensure
the inmate’s placement in the most appropriate level
institution.          A Management Variable(s) is required when
placement has been made and/or maintained at an institution
level inconsistent with the inmate’s security score — a score
which may not completely/ accurately reflect his or her
security needs.

MAXIMUM CUSTODY. The highest custody level assigned to an inmate
requiring the highest level of security and staff supervision.
An inmate with MAXIMUM custody requires ultimate control and
supervision. This classification is for individuals who, by
their behavior, have been identified as assaultive, predacious,
riotous, serious escape risks, or seriously disruptive to the
orderly running of an institution. Accordingly, quarters and
work assignments are assigned to ensure maximum control and
supervision. A custody change to or from MAXIMUM custody must be
justified thoroughly on the BP-338 form and maintained
permanently in the Inmate Central File.

MISDEMEANANT. An inmate convicted of an offense for which the
maximum penalty is one year or less. Such inmates may not be
transferred to a High security institution without first
signing a waiver.                     18 U.S.C. § 4083 prohibits
placement of such inmates in "penitentiaries" without their
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 18 of 114
                                                          P5100.08
                                                        9/12/2006
                                                Chapter 2, Page 5
consent; however, the Bureau broadens that prohibition to
include any High security institution. A sample of the waiver
is provided in Appendix B.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 19 of 114
                                                          P5100.08
                                                         9/12/2006
                                                Chapter 2, Page 6
OUT CUSTODY. The second lowest custody level assigned to an
inmate requiring the second lowest level of security and
staff supervision. An inmate who has OUT custody may be
assigned to less secure housing and may be eligible for work
details outside the institution's secure perimeter with a
minimum of two-hour intermittent staff supervision.

PAROLE, MANDATORY RELEASE, OR SPECIAL PAROLE TERM VIOLATOR.
Violators are inmates who were released from Bureau custody to
the supervision of a D.C. or U.S. Probation Officer (USPO) and
have violated the conditions of their release. These violators
are returned to Bureau custody and are required to have a
parole hearing within certain time limits.      The purpose of
this is to provide the inmate with an in-person hearing before
the U.S. Parole Commission (USPC) to determine if the inmate
has violated the conditions of parole, mandatory release, or
special parole. Therefore it is necessary to temporarily place
these individuals at parolable institutions in order to
conduct parole hearings.

PRIVATIZED FACILITY. A prison, institution, or other
correctional facility that is operated or supervised by a
non- governmental entity.    Privatized facilities are
managed by private organizations or individuals with
oversight provided by Bureau staff.

PUBLIC SAFETY FACTOR. There are certain demonstrated behaviors
which require increased security measures to ensure the
protection of society. There are nine Public Safety Factors
(PSFs) which are applied to inmates who are not appropriate for
placement at an institution which would permit inmate access to
the community (i.e., MINIMUM security). The application of a PSF
overrides security point scores to ensure the appropriate
security level is assigned to an inmate, based on his or her
demonstrated current or prior behavior.

REDESIGNATION. The reassignment of an inmate from one
institution to another after initial designation. Unit staff
submit a request to the DSCC, and the inmate’s case is reviewed
for possible transfer. Approval of a redesignation results in an
order from DSCC staff indicating a correctional institution to
which an inmate is to be transferred. The actual movement of an
inmate from one institution or facility to another is referred
to as a transfer.

RELEASE RESIDENCE. The verifiable destination to which an inmate
realistically plans to reside upon release from Bureau custody.
The inmate must provide proof of residence to his or her unit
staff. Staff will rely upon the following references to assist
in verification: Presentence Investigation Report/USPO
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 20 of 114
                                                         P5100.08
                                                        9/12/2006
                                                Chapter 2, Page 7
verification; telephone and visiting lists; and, incoming and
outgoing mail.

SECONDARY DESIGNATION. The second part of a two part
designation, usually after a temporary designation to
receive medical/mental health treatment or to participate in
a specific institutional program or parole hearing.

SECURITY LEVEL. Used to describe the structural variables and
inmate-to-staff ratio provided at the various types of Bureau
institutions (i.e., Minimum, Low, Medium, High). It also
identifies the institution type required to house inmates
based on their histories, institutional adjustment, and Public
Safety Factors as well as the physical security of the
institution to include mobile patrols, gun towers, perimeter
barriers, housing, detection devices, inmate-to-staff ratio,
and internal security.

SEX. An individual’s immutable biological classification as
either male or female.

STATEMENT OF REASONS. The Statement of Reasons (SOR) is an
attachment to the criminal judgment (Judgment and Commitment
Order; Judgment in a Criminal Case) which indicates the reason
for the court’s final sentence, and other sentencing related
issues (e.g., resolution of disputed issues, changes in
scoring, statements of court intent, etc.). It is required in
every felony case where the sentencing range exceeds 24 months,
or whenever there is a departure from the U.S. Sentencing
Guidelines range.      The court may complete an SOR even if not
required.

STUDY CASE. A study case is an inmate who is committed for a
period of study and observation pursuant to 18 U.S.C. §§
3552(b) or (c)), 4241(b) or (d), 4242(a), 4243(a) or (b),
4244(b),
4245(b), 4246(b), or 4247(b) or (c)). An inmate committed for a
study and observation will be referred to the Central Office
Medical Designator in the Office of Medical Designations and
Transportation (OMDT) for designation to a facility that can
complete the study, considering any specific medical or
psychiatric issues which should be addressed. The Central Office
Medical Designator should attempt to place the inmate in the
most suitable facility compatible with the offender's security
and custody needs, closest to the court and available resources.

WOMAN/WOMEN. Adult and juvenile human females.
     Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 21 of 114
                                                                       P5100.08
                                                                      9/12/2006
                                                              Chapter 3, Page 1

         SECURITY DESIGNATION PROCEDURES FOR NEW COMMITMENTS


The Designation and Sentence Computation Center will
ordinarily complete the initial designation within three
working days of receiving all the necessary documentation from
the U.S. Marshals Service (USMS) and the U.S. Probation
Officer (USPO) which includes the following: the Presentence
Investigation Report (PSR), Judgment, Statement of Reasons
(SOR), and Central Inmate Monitoring (CIM) documentation (in
cases where a CIM assignment is necessary).

  The DSCC will refer all requests for initial designation with
potential medical/mental health concerns to the Office of
Medical Designations and Transfers (OMDT), Health Services
Division, Washington, D.C. no later than the following work
day.

1.     DESIGNATION PROCEDURES

The following is the normal chronology of an initial designation.

  a.     The inmate is sentenced.

  b. The Clerk of the Court transmits the Judgment and
Commitment Order (old law cases) or Judgment in a
Criminal Case (new law cases) to the USMS.

  c. The USMS makes a request to the DSCC advising
that the inmate is now ready for designation to a
facility.

  d. If it has not already been provided, DSCC staff must
contact the necessary officials (USPO or USMS) for the
following: two copies of the PSR, a copy of the Judgment, to
include the SOR, and the Individual Custody and Detention
Report (USM-129).

If the SOR is not provided with the Judgment, DSCC staff will
make a reasonable effort to obtain a copy by contacting the
Court or USPO.                                        If no SOR
was prepared for the case or cannot be obtained, DSCC staff
will note this in the “Remarks” section of the BP-337 and
proceed with the designation process. These procedures will
ensure the Bureau is following the intentions of the Court when
designating a facility, as the SOR may contain information
which overrides the PSR and may affect scoring decisions.

Based on a review of the data, DSCC staff will determine whether
a non-federal facility should be designated. If a PSR has not
been prepared, DSCC staff will complete a National Crime
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 22 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 2
Information Center (NCIC) and National Law Enforcement
Telecommunication System (NLETS) criminal history check to
obtain background information.         DSCC staff will then load
appropriate information on the SENTRY Update Security
Designation screen with a notation that no PSR was available.
                         DSCC staff will contact the USPO and
request that a Postsentence Investigation Report be prepared,
and forwarded to the designated facility.            DSCC staff
will document this contact on the SENTRY Update Security
Designation Screen.

Frequently, in cases involving Reentry after Deportation,
Presentence/Postsentence Investigation Reports are not
prepared. In those particular cases, a Magistrate Information
Sheet may be used. A Magistrate Information Sheet is a document
prepared by
U.S. law enforcement officials. This document contains a summary
of the facts related to the defendant's arrest and prior
criminal/personal history. This information is primarily
obtained through the arresting officer's report, the FBI Rap
Sheet and an interview with the defendant.

If more than six months has elapsed since the PSR was prepared,
DSCC staff will contact the USPO to determine if there is any
new or significant information that should be considered. If
the offender was a study case before final sentencing, DSCC
staff will take into consideration the results of that study in
completing the designation request. The result of the study may
be obtained from a PSR, a summary report, or any other
information available.

If offense or background information is not available
prior to designation, an inmate must be designated to at
least a Low security level institution. When information is
obtained, the institution may request redesignation, if
appropriate.

  e. The DSCC uses classification material and SENTRY to
determine if Central Inmate Monitoring (CIM) precautions need to
be taken. This includes a name search to determine if the
offender was previously confined under the current or previous
register number. If new to the Bureau, the inmate must be loaded
into SENTRY and "admitted" to the DSCC "facility," with any
appropriate CIM assignment(s) entered. DSCC staff will identify
the documents used to support CIM assignments and forward the
documents to the designated institution.

  f. DSCC staff will complete and enter into SENTRY an Inmate
Load and Security Designation form (BP-337) on all cases with
terms exceeding 30 days. The DSCC staff member loading the data
has the discretion to complete a hard copy version or may enter
the information directly into SENTRY.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 23 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 3
DSCC staff must determine if there is a break in custody when
the inmate is transferring to federal custody after service of
a state sentence.                      The DSCC usually has
access to this type of information for jail credit purposes.
                 If there is no physical release from custody,
DSCC staff will consider the state offense as part of the
current term of confinement for classification purposes and
will not assign any history points for the state offense.

  g. Each work day, DSCC Designation Officers determine which
cases require designation by displaying a SENTRY Daily Log for
a listing of those cases entered the previous day (also to
include weekends and holidays).                           The
Designator displays the Initial Designation Data screen and
follows the prompts on the screen. This will lead the
Designator through a display of the “CIM Clearance and
Separatee Data” screen and “Update Security Designation”
screen.               A list of the appropriate security level
facilities will appear in order of proximity to the inmate’s
legal residence (based on mileage calculated by SENTRY). The
final screen in this series requires that the reason for
designation be entered, as well as any clearance remarks by
the DSCC Designator.

The objective of inmate classification is to place each
inmate in the most appropriate facility for service of
sentence.                                                  To
accomplish this, the Designator must consider all relevant
information regarding the inmate.

In accordance with Rule 38(b) of the Federal Rules of Criminal
Procedure, when the court of conviction recommends that the
inmate be retained in a place of confinement which will allow
the inmate to participate in the preparation of the appeal, the
Bureau will make every effort to place the inmate in such a
facility. If a reason exists for not placing the inmate in that
facility, the matter is called to the attention of the court
and an attempt is made to arrive at an acceptable place of
confinement.

  h. SENTRY provides information on the capacity and inmate
population in each institution. Specifically, for each facility
and each Designation Facility (DFCL), SENTRY provides the Rated
Capacity, the Designation Capacity, and the percentage of each
that the facility or DFCL currently houses.

     •    The Rated Capacity is a measure of the
          capacity for which each DFCL was designed.

     •    The Designation Capacity is the equitable
          proportion of the inmates in a particular security
          level that each
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 24 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 4
          designation facility having that security
          level should house.

The Designation Capacity of each DFCL is based on the rated
capacities and population totals of all the DFCLs that have the
same security level. The Rated Capacity and Designation Capacity
for a facility are calculated as the total Rated Capacity and
Designation Capacity of all the DFCLs that exist within that
facility.

Designators will ordinarily use the Designation Capacity as
a guide for maintaining population balance and an equitable
distribution of inmates. However, for newly activating
institutions, Designators may designate that institution for
a percentage of initial designations.

  i. The Designator assigns a facility, which may include
a privately managed facility, and will make every effort to
accommodate recommendations from the courts, ie. RDAP,
locality, etc.

  j. Upon completion of the initial designation by the DSCC
Designator or Central Office Medical Designator, staff in
the following areas will make note of the designation by
monitoring SENTRY Destination Daily Logs:

  (1) The receiving institution;

  (2) The federal facility (MCC, Detention Center,
etc.) holding the inmate being designated;

  (3) The U.S. Marshals Prisoner Transportation
Division in Kansas City, Kansas; and,

  (4) The DSCC staff in cases where a
medical/mental health inmate has been referred to
OMDT.

DSCC staff will inform the USMS who has custody of the inmate
of the designation by whatever means is appropriate.

If the inmate is a former study case, DSCC staff must also
inform, via GroupWise, the Warden of the institution that
completed the study of the designation. This alerts that
facility to forward the Inmate Central File and other
records to the institution designated.

If there is a secondary designation (e.g., Parole, Special
Parole Term, Mandatory Release Violator Hearing, or following
medical treatment), DSCC staff (or Central Office Medical
Designator for
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 25 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 5
medical cases) will notify the Warden of the secondary
institution. This will alert the secondary institution that the
inmate is designated and will be transported after the program
or medical treatment is completed. No other designation notation
is needed for a secondary designation.

  k. When a designation is made, DSCC staff will forward all
supporting documents to the designated institution within two
working days. If DSCC staff believe that the inmate will arrive
at the institution in less than five calendar days, the
supporting documentation will be sent to the institution by
overnight mail, facsimile, or electronically, within one
working day of the designation.

  l. The Case Management Coordinator (CMC) will monitor all
pending arrivals at that facility. However, if the institution
has separate DFCLs for specialized programs (i.e., RDAP, Sex
Offender Treatment Program, Life Connections, etc.) or for a
satellite camp, then the CMC may delegate this responsibility
to staff assigned to those specialized programs or populations.
Staff will monitor the Daily Log for that facility, and will
print a hard copy of each designation and maintain a copy on
file for 120 calendar days.         In certain facilities other
methods may be just as effective in monitoring pending
arrivals.
      For example, institutions with a large holdover or
pretrial population can be monitored more effectively by running
a daily pipeline roster filtering out all “A-HLD”s and “A-PRE”s.

Staff will also monitor the arrival of classification material,
and if such material has not arrived within 10 calendar days
following the designation, the DSCC will be contacted to
determine the status of that material. Upon arrival of the
classification material, the CMC, or designee, will review that
material and verify the scoring of the Inmate Load and Security
Designation form (BP-337).   If a scoring issue and/or error is
discovered, the CMC will contact the DSCC Administrator via
GroupWise. The CMC may need to fax certain pages of the
Presentence Investigation Report to the DSCC so the case can be
appropriately reviewed. If the CMC and DSCC agree that an error
has been made, the error will be corrected by the DSCC. If the
CMC and DSCC do not agree that an error has been made, the
Central Office, Correctional Programs Administrator, will make
the final determination.

The DSCC will also be advised of any non-scoring errors or
concerns. In either circumstance, if the correction requires a
new designation, the DSCC will make any necessary changes and
will enter a new designation into SENTRY. The DSCC will then
notify the appropriate USMS office(s) of the designation
change.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 26 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 6
If the original designation is changed, the CMC will
forward the classification material to the newly designated
institution.

  m. The CMC has oversight responsibilities for monitoring
the timely arrival of a newly designated inmate. If an inmate
serving a term of one year or more has not arrived at the
designated institution within 120 calendar days from the date
of the designation, or if an inmate serving a term of less
than one year has not arrived after 30 calendar days, staff
will use SENTRY to determine the inmate's current location:

  (1) If the inmate is in a Bureau facility, staff will
contact that facility to expedite movement or ascertain
the reason for delay, and will verify whether the
designation continues to be valid; and,

  (2) If the inmate is not in a Bureau facility, staff will
contact the DSCC. Upon notification, DSCC staff will contact the
appropriate authorities and ascertain why the inmate has not
arrived at the designated institution. If DSCC staff decides the
designation is no longer valid, the DSCC will cancel the
original designation.

  If the designation is canceled, the packet will be returned to
the DSCC, who then will return the documentation to the
originating agency. Prior to canceling a designation, the DSCC
will enter a comment on the “CIM Clearance and Separatee Data”
screen to document the reason(s) for this action. This comment
will be the only retrievable documentation available to answer
future questions regarding the processing of the case. It may be
necessary to administratively admit the inmate in order to enter
the comment. The DSCC will also delete the associated DST
assignment.

Staff will maintain records of their efforts to monitor
designations. These records will be maintained for a period of
120 calendar days from the date of initial designation.

  n. The release to the general public of an inmate's
designation or redesignation information is prohibited, for
security reasons, until the inmate has arrived at the designated
facility. An inmate confined in a Bureau facility however, may
be advised of the destination but will not be advised of the
date or time of the transfer.           However, caution should
be exercised in advising inmates of their destination. The Warden
may define cases where the designation will not be disclosed to
the inmate. Officials such as Judges and members of Congress may
be advised of designations in response to official inquiries for
their official use.
     Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 27 of 114
                                                                       P5100.08
                                                                      9/12/2006
                                                              Chapter 3, Page 7
2.   NON-ROUTINE DESIGNATION PROCEDURES

In certain cases, non-routine designation procedures for new
commitments are required. Listed below are specific examples of
non-routine designations.

  a. Study Cases. The DSCC will complete an Inmate Load and
Security Designation form (BP-337) and enter it into SENTRY. The
DSCC will then notify the Central Office Medical Designator via
GroupWise requesting designation. The Central Office Medical
Designator will designate an appropriate institution for the
study. After completion of the study and final sentencing by the
court, the DSCC will enter a new Inmate Load and Security
Designation form (BP-337) into SENTRY, based on the actual
sentence imposed or other new information.

  b. Medical or Mental Health. The DSCC is responsible for
receiving and evaluating information pertaining to an initial
designation. DSCC staff must attempt to ascertain whether an
inmate requires medical or mental health evaluation or
treatment. This information is ordinarily obtained from the
Presentence Investigation Report or other source documents. If
medical or mental health concerns are apparent, DSCC staff will
provide comments in the "Remarks" section of the BP-337 and enter
Y (yes) in the OMDT REF item.    DSCC staff will fax portions of
the Presentence Investigation Report pertaining to the medical
or mental health concerns, and the Judgment in a Criminal Case,
if it includes any judicial recommendations, to the Central
Office Medical Designator.

Upon review of the daily log for W DESIG M cases, the Central
Office Medical Designator will access the Inmate Load and
Security Designation form (BP-337) in SENTRY and make a
designation based on the available information, ordinarily
within three working days.                      If the Central
Office Medical Designator determines there are no medical or
mental health concerns affecting placement, the DSCC will be
advised.             The DSCC will then complete the designation
to an appropriate institution.

  Only the OMDT will make designations for study cases or for
cases requiring medical or psychiatric evaluation or
treatment. Designation may be made to any Bureau facility
having resources to meet the inmate's needs. The Central Office
Medical Designator will ensure that whenever a designation is
made to an DFCL inconsistent with the inmate's security level,
the appropriate Management Variable is entered.
                             Administrative facilities are
excluded from this requirement.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 28 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 8
  c. Military Prisoners. The Bureau cooperates with the
Security, Force Protection and Law Enforcement Division of the
Armed Services for the transfer of military prisoners into the
Bureau's custody. These cases are coordinated through the DSCC,
in accordance with the provisions contained in Chapter 7,
Section 17(d).

  d. Parole, Mandatory Release or Special Parole Term Violator
Hearing. For designation purposes, the U.S. Parole Commission
(USPC) provides the revocation packet and a copy of the alleged
violator's Presentence Investigation Report to the DSCC. The
DSCC will complete an initial designation to a violator hearing
site, and a secondary designation to a post-hearing institution
for service of the violator term. The Security Designation Data
screen will indicate the inmate is to be housed as a holdover
at the violator hearing site.

  Once the designation has been completed, the DSCC will
notify the U.S. Marshals Office of the designated institution,
and mail the violator packet to that institution. The USPC will
receive notification via Groupwise.

  If after the hearing, new information causes a change in the
secondary designation (i.e., short-term parole date),
institution staff will contact the DSCC for appropriate
action.

     •    In cases where the projected release date (PRD) is
          between 60 to 120 days from the date of hearing,
          the DSCC will consider changing the secondary
          designation to the nearest appropriate facility.

     •    In cases where the PRD is 60 days or less from the
          date of hearing, hearing facility staff will
          consider having the inmate remain at the hearing
          facility for release processing purposes.

     •    If a change in designation is not necessary,
          institution staff may process the inmate’s
          transfer to the secondary designation.

  Procedures for violators requiring medical treatment are
referenced in Chapters 3 and 7. Once the information is reviewed
and evaluated by the DSCC, and it is determined that medical or
psychiatric treatment is required, the request for designation
will be entered into SENTRY and referred to the Central Office
Medical Designator for designation. The DSCC will notify the
appropriate USMS Office of the inmate’s designated institution,
and mail the violator packet to that institution. The USPC will
receive notification via LAN.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 29 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 3, Page 9
  Local revocation hearings will be conducted at a site
determined by the USPC, normally within commuting distance of
where the alleged violation occurred. The USPC may request, in
writing, to the DSCC Administrator that an alleged violator be
moved to a Bureau institution. Violators who have received their
local revocation hearing will not be transported until the USPC
Notice of Action has been received and a designation has been
determined. In some instances, violators who are granted a
short-term release date should be considered for placement in a
contract facility.

  e. Long-term Detainees. The Detention Services Branch (DSB),
Correctional Programs Division, Central Office, is responsible
for the initial designation of long-term detainees. Requests for
placement into the BOP from the U.S. Immigration and Customs
Enforcement (ICE) are sent directly to DSB, where they are
completed. If a medical or mental health placement is needed,
DSB will refer it to the Central Office Medical Designator.

Long-term detainees are no longer serving a sentence but their
detention is indeterminate and they will not, in all
probability, be repatriated to their home country.

Long-term detainees are from countries, such as Cuba, that
refuse to accept their return from the U.S. government.     The
Detention Services Branch, Correctional Programs Division, will
advise when changes in applicable countries occur. This does
not include citizens from countries that take a significant
amount of time to accept its citizens. Travel orders can be
obtained and they are eventually returned.         ICE requests
the placement of long-term detainees into the BOP and they are
ordinarily designated into a general population.

Long-term detainees include:

     •    Mariel Cubans, detainees who entered the United
          States during the Mariel boatlift between April
          15, 1980 and October 31, 1980;

     •    Cubans who entered the United States from
          other countries, or from Cuba other than
          during the Mariel boatlift; and,

     •    Detainees from counties that ICE has
          identified that refuse to receive its
          citizens.

Designation procedures for long-term detainees are unique
because the detainees are not serving a sentence. Refer to the
current
     Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 30 of 114
                                                                    P5100.08
                                                                   9/12/2006
                                                          Chapter 3, Page 10
Program Statement Mariel Cuban Detainees for
the designation procedures.

3.   DESIGNATIONS TO NON-FEDERAL FACILITIES

  The DSCC may designate a federal inmate to a non-federal
facility in accordance with the criteria below. An updated
Security Designation form (BP-337) will be completed and
entered into SENTRY for any sentence exceeding 30 days.    When
the USMS takes custody of an inmate from state or local custody
to begin serving a federal sentence, the same procedures for
new commitments will be followed.

When designating an inmate to a non-federal facility for an
inmate, Designators shall consider the inmate's religious
beliefs, if known as one of the factors in making a designation
decision. If possible, a non-federal facility where the inmate's
religious beliefs can be accommodated will be designated. If
necessary, Designators may consult with Central Office
chaplaincy staff in making this designation decision.

4.   TYPES OF COMMITMENTS

  a. Juvenile Commitments. All inmates committed under the
Juvenile Justice and Delinquency Prevention Act (JJDPA) and
all inmates under the age of 18 will be designated and
housed in accordance with the requirements of Program
Statement Juvenile Delinquents, Juvenile Justice and
Delinquency Prevention Act.

The CCM will complete a BP-337 for juvenile offenders housed in
contract juvenile facilities; however, the CCM does not need to
complete the BP-338 while the juvenile is housed there unless
it is helpful to do so.

  b. Jail Commitments. When funds and appropriate jail space
are available, the DSCC may designate a contract jail or
detention facility for an inmate who is generally sentenced
to one year or less.     If funds and appropriate jail space
are not available or if an inmate has special needs, a
federal institution will be designated through the DSCC.
      Prior to placement, DSCC staff must determine whether
any PSF(s) or other circumstances would contradict a jail
designation.       If so, the lowest security level dictated
by the applicable PSF must be satisfied.

However, such designations should also take into
consideration underpopulated Bureau facilities prior to
placement in a contract facility.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 31 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 3, Page 11
  c. Youth Corrections Act (YCA)/District of Columbia Youth
Rehabilitation Act (DCYRA) Offenders. Although the YCA statutes
were repealed effective October 12, 1984 (see 18 U.S.C. §§ 5005
through 5026 (repealed)), an offender originally committed
under these statutes could be returned to custody as a parole
violator.
Ordinarily, DCYRA inmates will not be initially designated
to non-federal facilities.

  d. State Prisoners. 18 U.S.C. § 5003 enables the Director,
Bureau of Prisons, to establish contracts to accept state
prisoners for boarding in federal institutions. The term "State"
as used in this section includes any state, territory, or
possession of the United States. The statute does not permit the
Bureau to contract placement of state prisoners in third party
custody. This includes CCC placements.

When there is a compelling reason for placing a state prisoner
in a non-federal facility, institution staff will contact the
DSCC Administrator, who may suggest to officials of the state
that they may want to make their own direct placement in a
non- federal facility.

Once an inmate is accepted into Bureau custody, occasionally,
there may be a reason to return the inmate to the original
state. In this instance, institutional staff will contact the
DSCC Administrator. If the DSCC Administrator determines that it
would be appropriate for the inmate to be returned, they will
contact state officials.
     Case 1:25-cv-01161-TJK           Document 2-8          Filed 04/16/25        Page 32 of 114
                                                                                      P5100.08
                                                                                     9/12/2006
                                                                             Chapter 4, Page 1


           INMATE   LOAD   AND   SECURITY     DESIGNATION   FORM   INSTRUCTIONS     (BP-337)




                                       INMATE LOAD DATA

The Inmate Load Data section (Items 1 to 25) of the Inmate Load
and Security Designation form (BP-337) records the physical and
demographic information of inmates entered into SENTRY (the
Bureau of Prisons’ on-line database). In practice, inmates are
entered into SENTRY whether or not the inmate’s security level
is scored (e.g., pre-trial detainees, material witnesses,
etc.). Therefore, when the initial security designation data is
entered into SENTRY it is essential that the load data is
compared to the information contained in the Presentence
Investigation Report (PSR), and that the information is updated
or reconciled as appropriate.

1. REGISTER NUMBER
2. LAST NAME                      3. FIRST NAME                       4. MIDDLE           5. SUFFIX
6. RACE          7. SEX           8. ETHNIC ORIGIN                    9. DATE OF BIRTH
10. OFFENSE/SENTENCE


11. FBI NUMBER                                                        12. SSN NUMBER
13. STATE OF BIRTH                          14. OR COUNTRY OF BIRTH                 15. CITIZENSHIP
16. ADDRESS-STREET


17. CITY                          18. STATE             19. ZIP                     20. OR FOREIGN
                                                                                          COUNTRY
21. HEIGHT:FT        IN           22. WEIGHT:           23. HAIR COLOR              24. EYE COLOR
25. ARS ASSIGNMENT


1.    REGISTER NUMBER. The U.S. Marshals Service (USM) assigns an
      eight-digit register number to each inmate with the last
      three digits denoting the U.S. Marshals’ judicial code. The
      format is five digits, hyphen, three digits.

2.    LAST NAME. Twenty-four spaces are provided for the inmate’s
      last name, which must match the name on the Judgment. The
      first character must be a letter. Each subsequent character
      must be a letter, space, hyphen, or apostrophe.

3.    FIRST NAME. Twelve spaces are provided for the inmate’s
      first name.

      NOTE:         Only the inmate’s committed name (as it appears in
     Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 33 of 114
                                                                       P5100.08
                                                                      9/12/2006
                                                              Chapter 4, Page 2
      the Judgment) will be entered on the “Load Inmate”
      transaction. All other names (e.g., true name, aliases,
      nicknames, maiden name, etc.) will be entered into
      SENTRY using the “Update Nicknames and Aliases”
      transaction.

4.    MIDDLE.    Eight spaces are provided for the inmate’s middle
      name.

5.    SUFFIX. Three spaces are provided for any name suffixes
      (i.e., Jr., Sr., II). Suffix codes are found in the Name
      Suffix Code section of the SENTRY General Use Technical
      Reference Manual (TRM).

6.    RACE. Standards for the Classification of Federal Data on
      Race and Ethnicity are set by the Office of Management
      and Budget. Enter the appropriate code:

      CODE        RACE              DEFINITION

      A           Asian             A person having origins in any of
                                    the Pacific Islands or any of the
                                    original peoples of the Far East,
                                    Southeast Asia, or the Indian
                                    subcontinent including, for
                                    example, Cambodia, China, India,
                                    Japan, Korea, Malaysia, Pakistan,
                                    the Philippine Islands, Thailand,
                                    and Vietnam.

      B           Black or          A person having origins in any of
                  African           the black racial groups of Africa.
                  American

      I           American          A person having origins in any of
                  Indian or         the original peoples of North and
                  Alaska Native     South America (including Central
                                    America), and who maintains tribal
                                    affiliation or community
                                    attachment.

      W           White             A person having origins in any of
                                    the original peoples of Europe, the
                                    Middle East, or North Africa.

7.    SEX.   Enter M = Male or F = Female.

8.    ETHNIC ORIGIN.      Enter the appropriate code.
      Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 34 of 114
                                                                        P5100.08
                                                                       9/12/2006
                                                               Chapter 4, Page 3
       CODE        ETHNIC ORIGIN     DEFINITION

       H           Hispanic or       A person of Cuban, Mexican, Puerto
                   Latino            Rican, South or Central American,
                                     or other Spanish culture or origin,
                                     regardless of race.

       O           Not Hispanic      A person who does not meet the
                   or Latino         above definition.

9.     DATE OF BIRTH. Ten spaces are provided for the inmate’s
       birth date (MM-DD-YYYY); (e.g., July 2, 1981 = 07-02-
       1981). If the inmate's birth date is unknown or not
       available, enter 01-01-1800.

10.    OFFENSE/SENTENCE. The offense(s), sentence imposed, and
       docket number (as specified in the Judgment) should be
       entered in the space provided. Additionally, if the inmate
       is admitted to another SENTRY facility, care should be
       taken to preserve existing information.

11.    FBI NUMBER. Nine spaces are provided for the Federal Bureau
       of Investigation (FBI) number. The FBI number can be any
       combination of letters and numbers and must be entered
       without spaces or dashes. It cannot duplicate an existing
       FBI number in SENTRY. This field must be left blank if the
       FBI number is unknown at the time the inmate is loaded.

12.    SOCIAL SECURITY NUMBER (SSN). Nine spaces are provided for
       the inmate’s SSN. The number must be entered without dashes
       or spaces. It cannot duplicate an existing SSN in SENTRY.
       If the SSN is unknown, or the inmate has never been issued
       a SSN this field must be left blank.   In cases where the
       inmate will not be issued a SSN (i.e., illegal aliens) a
       back slash may be entered.

13.    STATE OF BIRTH. Two spaces are provided for the state code
       for the state in which the inmate was born. If entered, it
       must be a valid code from the State and Possession Code
       Table in the SENTRY General Use TRM.

14.    COUNTRY OF BIRTH. If entered, it must be a valid code from
       the Country Code Table in the SENTRY General Use TRM.

       NOTE:       SENTRY will not allow “US” to be entered if a
                   “state of birth” is entered (Item 13 above).
      Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 35 of 114
                                                                        P5100.08
                                                                       9/12/2006
                                                               Chapter 4, Page 4
15.    CITIZENSHIP. Enter the country code that corresponds to the
       inmate’s citizenship. This must be a valid code from the
       Country Code Table in the SENTRY General Use TRM. Do not
       rely on the inmate’s current place of residence to
       determine citizenship. Special emphasis must be placed on
       the accuracy of citizenship at the time of the inmate’s
       admission.

16.    ADDRESS - STREET. At least twenty-eight spaces are provided
       for the inmate’s street number and name as listed in the
       PSR as “legal address.” Enter any combination of
       alphanumeric characters.

17.    CITY. Fifteen spaces are provided for the inmate’s city of
       residence as listed in the PSR as “legal address.” If
       entered, a state or foreign country must be entered.

18.    STATE. Two spaces are provided for the state code. If
       entered, it must be a valid state code found under State
       Possession Code, SENTRY General Use TRM. Enter country code
       under Item 20 if residence is not in the United States or
       one of its territories or commonwealths.

19.    ZIP CODE. Five spaces are provided for the zip code. It
       must be entered when a state code has been entered. If not
       available, the city, state, and zip code of the USMS
       Office assigning the register number will be entered. An
       accurate zip code is important because it is used by
       SENTRY to determine mileage between the inmate’s legal
       residence and designated institution.

20.    FOREIGN COUNTRY. Two spaces are provided for the country
       code. If entered, it must be a valid country code from the
       Country Code Table of the SENTRY General Use TRM. "US" may
       not be entered as the country code. This field must be
       completed if a state or zip code is not entered in the
       address field (see Items 18 & 19 above).

21.    HEIGHT. Height must be entered in a measurement of feet and
       inches. Values in feet (FT) must be 1 through 9. Values in
       inches (IN) must be 00 through 11.

22.    WEIGHT.    Weight values must be 001-999 and represent pounds.

23.    HAIR. Two spaces are provided for the color code. If
       entered, it must be a valid code found under the Hair
       Color Code, SENTRY General Use TRM.
      Case 1:25-cv-01161-TJK            Document 2-8      Filed 04/16/25     Page 36 of 114
                                                                                    P5100.08
                                                                                   9/12/2006
                                                                           Chapter 4, Page 5
24.     EYES. Two spaces are provided for the color code. If
        entered, it must be a valid code found under the Eye
        Color Code, SENTRY General Use TRM.

25.     ARS ASSIGNMENT. Use a valid SENTRY category assignment,
        SENTRY General Use TRM.

                               SECURITY DESIGNATION DATA

The Security Designation Data section (Items 1 to 18) of the
Inmate Load and Security Designation form (BP-337) records
sentencing, programing recommendations, and background
information from the Judgment, the Statement of Reasons (SOR),
and the PSR. This information is used to determine the inmate’s
security level.

1. JUDGE              2. REC FACILITY             3. REC PROGRAM           4. USM OFFICE


1.    JUDGE.      Enter the sentencing Judge's last name.

2. RECOMMENDED FACILITY. The court may recommend a specific
institution or a geographical region for a newly committed
inmate. Enter the name of the recommended institution or region.
If a specific SENTRY facility code is entered, that facility
will appear at the top of the list presented to the Designator
for consideration.

3. RECOMMENDED PROGRAM. Enter the name or type of any program
recommended by the sentencing Judge.

4. USM OFFICE. Enter the location of the USM Office (e.g.,
E/VA-NOR).

5.    VOLUNTARY SURRENDER

5. VOLUNTARY SURRENDER      0 = NO       (-3) = YES

     IF YES, MUST INDICATE: 5a. VOLUNTARY SURRENDER DATE:
                             5b. VOLUNTARY SURRENDER LOCATION:


This item allows for the subtraction of three points from the
Security Point Total, Item 15, when the Judgment indicates the
inmate was allowed to voluntarily surrender. For purposes of
this item, voluntary surrender means the inmate was not
escorted by a law enforcement officer to either the U.S.
Marshals Office or the place of confinement. Additionally, this
item applies only to post-sentencing voluntary surrender, and
does not include cases where the inmate surrendered to the U.S.
Marshals on the same day as sentencing. Voluntary Surrender
Credit may only be
     Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 37 of 114
                                                                       P5100.08
                                                                      9/12/2006
                                                              Chapter 4, Page 6
applied to the initial term of confinement; it may not be
applied to any subsequent Supervised Release, Mandatory Release
or parole Violation return to custody.

5a. VOLUNTARY SURRENDER DATE. If the court has provided for
voluntary surrender, enter the date of the voluntary surrender
in this block.                  If the court provided for
voluntary surrender but did not provide a specific date for the
surrender, the DSCC will contact the court to establish a
mutually agreeable date.

NOTE:    In cases where the court allows the inmate to
            voluntarily surrender but the inmate will
            not receive
            (-3) points on this item the date will still be
            entered on this item.

5b. VOLUNTARY SURRENDER LOCATION. The DSCC will note whether
the inmate is to voluntarily surrender to the USMS or to the
designated institution.

6.   MONTHS TO RELEASE

 6. MONTHS TO RELEASE



This item reflects the estimated number of months the inmate is
expected to be incarcerated. Consecutive federal sentences will
be added together for classification purposes. Federal sentences
may have different beginning dates, based on the Judgment Order.
There may even be a computation in SENTRY with a beginning date
in the future. Based on the inmate’s sentence(s), enter the
total number of months remaining, less 15% (for sentences over
12 months), and credit for any jail time served. This item is
not figured into the security point total but impacts the
Sentence Length Public Safety Factor.

Example: An adult convicted of Breaking and Entering under the
Sentence Reform Act is sentenced to eight years. The expected
length of incarceration is (96 months x 85% = 81.6 months).
Round to the nearest whole number to get 82 and subtract any
jail time credit (180 days) = 76 months to release.

NOTE:         Enter 540 months for death penalty cases, life
              sentences, and Parolable life sentences for
              which a parole date has not been established.
     Case 1:25-cv-01161-TJK        Document 2-8    Filed 04/16/25     Page 38 of 114
                                                                             P5100.08
                                                                            9/12/2006
                                                                    Chapter 4, Page 7
7.   SEVERITY OF CURRENT OFFENSE

7. SEVERITY OF       0 = LOWEST           3 = MODERATE         7 =    GREATEST
   CURRENT OFFENSE   1 = LOW MODERATE     5 = HIGH


Enter the appropriate number of points that reflect the most
severe documented instant offense behavior regardless of the
conviction offense. For multiple offenses, the highest score
will be used in scoring the current offense. Staff will consider
the offense behavior on all sentences, including federal
sentences that have a future beginning date or a previous D.C.
or state sentence if there was no physical release from custody.

NOTE:         This will require DSCC staff to make reasonable efforts
              to obtain documentation.

Severity is determined by using the Offense Severity
Scale (Appendix A).

Example: According to the PSR, the individual was involved in an
Assault With Serious Injury (Greatest severity level) but pled
guilty to a Simple Assault (Moderate severity level). Assign the
points on the basis of the more severe documented behavior,
i.e., assign 7 points (Greatest severity level).

In determining "Severity of Current Offense" staff must review
the Statement of Reasons (SOR) and ensure the information
provided is appropriately used in classifying the inmate.

Example: According to the PSR the individual was involved in a
drug conspiracy responsible for distribution of 31 grams of
Cocaine Base “Crack”, but was individually only responsible
for
2 grams, he/she would be scored as Moderate Severity for this
item. However, the SOR, indicates the Sentencing Judge found
the individual responsible for less than 1 gram; therefore, the
appropriate scoring should be Low Moderate severity.

•       PROCEDURES FOR PAROLE, MANDATORY RELEASE,
        SPECIAL PAROLE TERM, OR SUPERVISED RELEASE
        VIOLATORS

If the violation was the result of new criminal conduct,
regardless of conviction status, use the new criminal conduct
for scoring "Severity of Current Offense" (see Appendix A). If
the violation behavior was a technical violation, score the
"Severity of Current Offense" as Low Moderate.
     Case 1:25-cv-01161-TJK         Document 2-8        Filed 04/16/25     Page 39 of 114
                                                                                  P5100.08
                                                                                 9/12/2006
                                                                         Chapter 4, Page 8
The original offense behavior which occurred prior to the
violation is considered past behavior and is not used in
determining "Severity of Current Offense.”

•         PROCEDURES FOR PROBATION VIOLATORS

The original offense behavior that resulted in
probation should be used for scoring "Severity of
Current Offense" (see Appendix A).However, if the new
criminal conduct (violation
behavior) is more severe than the original offense
behavior, then use this behavior for scoring "Severity of
Current
Offense.”                                                     The
most severe documented behavior between the original offense
and the violation behavior will be used for scoring "Severity
of Current Offense.”

8.    CRIMINAL HISTORY SCORE

8. CRIMINAL       0 = 0-1                   4 = 4-6              8 = 10-12
   HISTORY        2 = 2-3                   6 = 7-9              10 = 13 +
    SCORE

8a. SOURCE OF DOCUMENTED - PRESENTENCE INVESTIGATION REPORT
    CRIMINAL HISTORY           - NCIC III


Enter the appropriate number of Criminal History
Points(CHP). SENTRY will automatically convert the CHP
to the Bureau’s Criminal History Score (CHS).

The CHS is derived from the US Sentencing Guidelines Criminal
History Points, as reflected in the final judgment and the
SOR. If not found in either the Judgment or SOR, use the
points assessed by the USPO in the PSR.

In some cases the Criminal History Points are not available
(i.e., when the PSR is waived, on offenses committed prior to
November 1, 1987, state cases, and military and D.C. Code
offenders). Under these circumstances the Criminal History Score
will be derived from the criminal history documented in the NCIC
III Report according to the following procedures:

    (a)        Add 3 points for each prior sentence of
               imprisonment exceeding one year and one
               month;

    (b)        Add 2 points for each prior sentence of
               imprisonment of at least sixty days not counted in
               (a);

    (c)        Add 1 point for each prior conviction not counted in
               (a) or (b), up to a total of 4 points for this
               item; and,
     Case 1:25-cv-01161-TJK      Document 2-8       Filed 04/16/25        Page 40 of 114
                                                                                 P5100.08
                                                                                9/12/2006
                                                                        Chapter 4, Page 9
  (d)           Add 2 points if the instant offense is a revocation
                accompanied by a new state or federal conviction, or
                if the instant offense occurred while under federal
                supervision including incarceration, probation,
                parole or supervised release.

The documentation used to assess the Criminal History
Points must be provided as specified in all cases.

9.   HISTORY OF VIOLENCE

9. HISTORY OF             NONE   >15 YEARS   10-15 YEARS   5-10 YEARS     <5 YEARS
   VIOLENCE       MINOR    0         1          1             3             5
                SERIOUS    0         2          4             6             7


Enter the appropriate number of points that reflect any history
of violence, considering only those acts for which there are
documented findings of guilt (i.e., DHO, Court, Parole,
Mandatory Release, or Supervised Release Violation). This item
includes the individual's entire background of criminal
violence, excluding the current term of confinement.

Exception: Any institution disciplinary hearing (UDC or DHO)
finding that a prohibited act was committed during the current
term of confinement will be scored as a history item. DSCC staff
must review the Chronological Disciplinary Record (CDR) for
inmates who were previously housed in a federal institution or
contract facility. Any violent act(s) reflected on the CDR must
be scored as a history item. State disciplinary findings must be
scored unless there is documentation that the state disciplinary
proceedings did not afford due process protection to the inmate.

Severity of violence is determined by the offense behavior
regardless of the conviction/finding of guilt offense. History
of Violence points combine both seriousness and recency of
prior violent incidents to assess the propensity for future
violence. Therefore, if there is more than one incident of
violence, score the combination of seriousness and recency that
yields the highest point score.                         Prior
periods of incarceration will be considered a “history” item if
the inmate was physically released from custody and then
returned to serve either a violation or a new sentence. In
determining time frames, use the date of the documented
behavior.      Documented information from a juvenile, Youth
Corrections Act (YCA) or District of Columbia Youth
Rehabilitation Act (DCYRA) adjudication can be used unless the
record has been expunged or vacated.

Minor History of Violence - Aggressive or intimidating
behavior which is not likely to cause serious bodily harm or
death (e.g.,
      Case 1:25-cv-01161-TJK         Document 2-8        Filed 04/16/25      Page 41 of 114
                                                                                    P5100.08
                                                                                   9/12/2006
                                                                          Chapter 4, Page 10
simple assault, fights, domestic disputes, etc.) There must
be a finding of guilt.

Serious History of Violence - Aggressive or intimidating
behavior which is likely to cause serious bodily harm or death
(e.g., aggravated assault, domestic violence, intimidation
involving a weapon, incidents involving arson or explosives,
rape, etc.).
There must be a finding of guilt.

Example: If an offender was found guilty of homicide 20 years
ago and a simple assault 3 years ago, assign 5 points for the
simple assault. Or in another case, the offender had guilty
findings for homicide 12 years ago; aggravated assault 8
years ago; and fighting 2 years ago, score 6 points for the
aggravated assault 8 years ago.

NOTE:            Attempted suicide, self-mutilation and possession of
                 weapons are not applicable behaviors for History of
                 Violence scoring. In addition, verbal threats (such as
                 Code 203- Threatening Bodily Harm) are to be viewed as
                 minor violence.

10.     HISTORY OF ESCAPE OR ATTEMPTS

10. HISTORY OF              NONE   >15 YEARS   10-15 YEARS   5-10 YEARS     <5 YEARS
    ESCAPE OR       MINOR     0        1          1             2             3
    ATTEMPTS      SERIOUS     0        3(S)       3(S)          3(S)          3(S)

Enter the appropriate number of points that reflect the escape
history of the individual considering only those acts for
which there are documented findings of guilt (i.e., DHO,
Court, Parole, Mandatory Release, or Supervised Release
Violation).
                                                      Escape
history includes the individual's entire background of escapes
or attempts to escape from confinement, or absconding from
community supervision, excluding the current term of
confinement.

Exception: Any institution disciplinary hearing (UDC or DHO)
finding that a prohibited act was committed during the current
term of confinement will be scored as a history item. DSCC
staff must review the Chronological Disciplinary Record (CDR)
for inmates who were previously housed in a federal
institution or contract facility.      Any escape(s) or
attempt(s) reflected on the CDR must be scored as a history
item.       State disciplinary findings are to be scored unless
there is documentation that the state disciplinary proceedings
did not afford due process protection to the inmate.

Fleeing or Eluding Arrest, Failure to Appear for traffic
violations, Absconding, runaways from foster homes and similar
      Case 1:25-cv-01161-TJK    Document 2-8      Filed 04/16/25    Page 42 of 114
                                                                          P5100.08
                                                                         9/12/2006
                                                                Chapter 4, Page 11
behavior should not to be scored under the Escape History
item, even if clearly documented, but should be considered on
a case- by-case basis under the Management Variable “Greater
Security.” Failure to Appear or Flight to Avoid Prosecution
for any offense however, must be counted when there is a
documented finding of guilt.

In determining time frames, use the date of the documented
occurrence. Documented information from a juvenile, YCA, or
DCYRA adjudication can be used unless the record has been
expunged or vacated.

Minor History of Escape - An escape from an open institution
or program (e.g., minimum security facility, CCC, furlough)
not involving any actual or threat of violence. Also includes
military AWOL, Bail Reform Act, Flight to Avoid Prosecution,
and Absconding from Community Supervision.   There must be a
finding of guilt except as previously noted.

Serious History of Escape - An escape from secure custody with
or without threat of violence.                       Also
includes escapes from an open facility or program with actual
threat of violence.     There must be a finding of guilt. S = 3
points and requires application of PSF L.

11.    TYPE OF DETAINER

11. TYPE OF DETAINER   0 = NONE                  3 = MODERATE      7 = GREATEST
                       1 = LOWEST/LOW MODERATE   5 = HIGH


Enter the appropriate number of points that reflect
detainer status.   Refer to the Offense Severity Scale,
Appendix A. Determination is based on the offense of
the most serious detainer.

       •      If there is a pending charge, points based on the
              documented behavior are assigned on the “Type of
              Detainer” item. If the pending charges or detainer
              involve a probation violation, use the most severe
              documented behavior in the original offense as the
              basis for assigning points in scoring the
              detainer.

              If law enforcement officials indicate a firm intent
              to lodge a detainer, consider it lodged.    Score a
              concurrent state sentence as a detainer only if it
              is expected that the state sentence will exceed the
              federal sentence. However, score consecutive state
              sentences, lodged state detainers, and/or state
              parole violation terms/warrants as detainers.
      Case 1:25-cv-01161-TJK       Document 2-8        Filed 04/16/25      Page 43 of 114
                                                                                   P5100.08
                                                                                  9/12/2006
                                                                         Chapter 4, Page 12
       •        Consecutive federal sentences are ordinarily not
                lodged as detainers because federal sentences are
                computed as they are received.    If there is more
                than one sentence, the most severe offense will be
                used as “Severity of Current Offense.”

                Example: For an individual with two detainers for
                         Violation of Firearms Act (Moderate
                         severity level) and one for Extortion
                         (High severity level), use High = 5 points
                         and enter "5".

       •        No points will be awarded for U.S. Parole Commission
                warrants (adjudicated or unadjudicated). However, the
                original offense behavior will be factored into the
                criminal history points and the violation behavior
                (including new offense behavior) will be scored as
                the instant offense.

       •        No points will be awarded for ICE detainers. However,
                each case will be carefully reviewed to determine
                whether the PSF for Deportable Alien is applicable.

12.    AGE

 12. AGE                 0 = 55 and over             4 = 25 through 35
                         2 = 36 through 54           8 = 24 or less


SENTRY will automatically enter the appropriate number of points
based on the inmate’s date of birth. Staff do not have to
manually enter an offender’s age or points on the BP-337. If the
offenders date of birth is unknown, SENTRY will default to a
score of 4 points.

13.    EDUCATION LEVEL

13. EDUCATION     0 = Verified High School Degree or GED
                  1 = Enrolled in and making satisfactory progress in GED Program
                  2 = No verified High School Degree/GED and not participating in GED
                      Program
13a. HIGHEST GRADE COMPLETED


Enter the appropriate number of points that reflect the
inmate’s verified education level at the time of designation.

In addition to the points assigned for the education level,
the highest grade completed (HGC) will also be recorded on the
BP-
337. For example, an inmate who began, but did not complete the
7th grade will be given a 6 in the HGC field. Similarly, a GED
will be given a 12, a college graduate a 16, a Master’s degree an
18, and a Ph.D. a 21 (the maximum allowed) in the HGC field.
      Case 1:25-cv-01161-TJK         Document 2-8         Filed 04/16/25        Page 44 of 114
                                                                                     P5100.08
                                                                                    9/12/2006
                                                                           Chapter 4, Page 13

The value entered for the HGC should, unless missing, be
consistent with the points assessed for the inmates education
level. If missing, enter a “U” for unknown.

14.    DRUG/ALCOHOL ABUSE

14. DRUG/ALCOHOL ABUSE     0 = Never/›5 Years            1 = <5 Years


Enter the appropriate number of points that reflect drug or
alcohol abuse by the inmate. Examples of drug or alcohol abuse
include: a conviction of a drug or alcohol related offense, a
parole or probation violation based on drug or alcohol abuse,
positive drug test, a DUI, detoxification, etc. Absent any
information similar to the above, an inmate’s self-report is
sufficient to score this item. If this information is unknown
enter a “U” and the item will be scored as zero.

15.    SECURITY POINT TOTAL

15. SECURITY POINT TOTAL


Enter the sum of Items 5 through 14.

16.    PUBLIC SAFETY FACTORS

16. PUBLIC    A-NONE                                      I-SENTENCE LENGTH(males only)
    SAFETY    B-DISRUPTIVE GROUP(males only)              K-VIOLENT BEHAVIOR(females only)
   FACTORS    C-GREATEST SEVERITY OFFENSE (males   only) L-SERIOUS ESCAPE
              F-SEX OFFENDER                              M-PRISON DISTURBANCE
              G-THREAT TO GOVERNMENT OFFICIALS            N-JUVENILE VIOLENCE
              H-DEPORTABLE ALIEN                          O-SERIOUS TELEPHONE ABUSE


See Chapter 5, pages 7-13 for a description of Public Safety
Factors and their application.

17.    REMARKS

17. REMARKS




A brief explanation of the current offense(s) is required in
the “Remarks” section.                              Similarly,
Pre-Sentence Investigation Report information relevant to
other scoring items that may have an impact on the designation
process or the transportation of the inmate (e.g., medical or
psychiatric information, or arrest behavior with no
conviction) must also be noted in this section. Refer to
Appendix C, Standard Abbreviations/Terms. Also, the
      Case 1:25-cv-01161-TJK    Document 2-8    Filed 04/16/25   Page 45 of 114
                                                                       P5100.08
                                                                      9/12/2006
                                                             Chapter 4, Page 14
individual scoring the case will enter his or her initials at
the end of the “Remarks” section.

18.    OMDT REFERRAL

 18. OMDT REFERRAL (YES/NO)


The Medical Designator, Office of Medical Designations
Transportation (OMDT), must review all cases in which there is
a physical or mental health concern.   Enter “Y” (yes) or N
(no) in this category.              The response will determine
which daily log will reflect the designation information.

         DESIGNATION AND SENTENCE COMPUTATION CENTER ACTION -
                          INITIAL DESIGNATION

It is extremely important for Designators to communicate on a
regular basis to ensure that designation decisions are
consistent. The Correctional Programs Division encourages the
need for communication and consistency to all Designators.

1. FACILITY DESIGNATED. Enter the mnemonic code for the
institution designated (Refer to "Enter Initial Designation,"
SENTRY General Use TRM).

2. CUSTODY ASSIGNMENT. Enter the initial custody assignment in
accordance with Table 4-1.

                                    Table 4-1

LEVEL OF INSTITUTION                  INITIAL CUSTODY ASSIGNMENT
INITIALLY DESIGNATED
          Minimum                                     OUT
             Low                                      IN
           Medium                                     IN
            High               IN, unless initial designation is to USP
                               Marion or ADX Florence, in which case the
                               initial custody assignment is MAXIMUM.
      Administrative           IN, unless inmate is Minimum security
                               level and designation was not for
                               security reasons, in which case the
                               initial custody assignment is OUT.
     Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 46 of 114
                                                                    P5100.08
                                                                   9/12/2006
                                                          Chapter 4, Page 15
3.   DESIGNATOR.    The Designator will enter his or her initials.

4. REASON FOR DESIGNATION. Designators will use this section to
document whether the primary reason for designation was for
security reasons or for management reasons.

      •     Enter "S" if the inmate's security level is the
            primary reason for designation and the placement is
            within normal guidelines.    If "S" is entered, SENTRY
            will not permit an entry in the “Management Reason”
            field.

      •     Enter "M" if a Management Variable is the primary
            reason for designation and placement is outside
            normal guidelines.       When "M" is entered, you must
            enter the appropriate Management Variable(s) (e.g., B
            = Judicial Recommendation, D = Release Residence,
            etc.) under the Management Reason item. While one MGTV
            is generally sufficient, a maximum of three MGTVs may
            be entered into SENTRY. In the unlikely event that an
            inmate’s designation facility is inconsistent with
            his or her MSL, at least one additional non-MSL MGTV
            must be added to support and explain the
            inconsistency.

      •     When it is necessary to place an inmate at a
            particular institution temporarily in order to
            receive a parole hearing, a secondary designation is
            required.
                        The DSCC will notify the Warden of the
            secondary institution via GroupWise.
                        Following the hearing, the institution
            where the inmate was first placed should review the
            secondary designation and contact the DSCC if the
            results of the hearing indicate that a change in the
            secondary designation is required.

5. MANAGEMENT VARIABLES. See Chapter 5, pages 1-6 for a
description of Management Variables and their
application.

6. REMARKS. The Designator will enter any relevant information
not already recorded that may have an impact on the designation
process or the transportation of the inmate.
                   Case 1:25-cv-01161-TJK                      Document 2-8            Filed 04/16/25            Page 47 of 114
                                                                                                                    P5100.08
                                                                                                                   9/12/2006
                                                                                                          Chapter 4, Page 16
BP-337 INMATE LOAD AND SECURITY DESIGNATION FORM                                              FEDERAL BUREAU OF PRISONS

                                                                 INMATE LOAD DATA
 1. REGISTER NUMBER

 2. LAST NAME                              3. FIRST NAME                                      4. MIDDLE                       5. SUFFIX

 6. RACE                7. SEX             8. ETHNIC ORIGIN                                   9. DATE OF BIRTH

 10. OFFENSE/SENTENCE



 11. FBI NUMBER                                                                               12. SSN NUMBER

 13. STATE OF BIRTH                                    14. OR COUNTRY OF BIRTH                       15. CITIZENSHIP

 16. ADDRESS-STREET



 17. CITY                                  18. STATE                         19. ZIP                 20. OR FOREIGN COUNTRY

 21. HEIGHT FT        IN                   22. WEIGHT          LBS           23. HAIR COLOR          24. EYE COLOR

 25. ARS ASSIGNMENT

                                                              SECURITY DESIGNATION DATA
  1. JUDGE                                 2. REC FACILITY                   3. REC PROGRAM          4. USM OFFICE

  5. VOLUNTARY SURRENDER STATUS                    0 = NO            (-3) = YES
     IF YES, MUST INDICATE: 5a. VOLUNTARY SURRENDER DATE:
                             5b. VOLUNTARY SURRENDER LOCATION:
  6. MONTHS TO RELEASE
  7. SEVERITY OF                 0 = LOWEST                     3 = MODERATE             7 = GREATEST
     CURRENT OFFENSE             1 = LOW MODERATE               5 = HIGH

  8. CRIMINAL                    0 = 0-1                        4 = 4-6                  8 = 10-12
     HISTORY                     2 = 2-3                        6 = 7-9                 10 = 13 +
     SCORE
  8a. SOURCE OF DOCUMENTED           - PRESENTENCE INVESTIGATION REPORT or              - NCIC III
      CRIMINAL HISTORY

  9. HISTORY OF              NONE      >15 YEARS         10-15 YEARS    5-10 YEARS     <5 YEARS
     VIOLENCE       MINOR      0             1                 1           3             5
                  SERIOUS      0             2                 4           6             7
 10. HISTORY OF              NONE      >15 YEARS            >10 YEARS   5-10 YEARS     <5 YEARS
     ESCAPE OR      MINOR      0             1                  1          2             3
     ATTEMPTS     SERIOUS      0             3 (S)              3(S)       3(S)          3(S)
 11. TYPE OF                     0 = NONE                      3 = MODERATE              7 = GREATEST
     DETAINER                    1 = LOWEST/LOW MODERATE      5 = HIGH

 12. AGE                         0 = 55 and over                4 = 25 through 35
                                 2 = 36 through 54              8 = 24 or less
 13. EDUCATION        0 = Verified High School Degree or GED
     LEVEL            1 = Enrolled in and making satisfactory progress in GED Program
                      2 = No verified High School Degree/GED and not participating in GED Program
 13a. HIGHEST GRADE COMPLETED

 14. DRUG/ALCOHOL ABUSE          0 = Never/>5 Years             1 = <5 Years

 15. SECURITY POINT TOTAL


 16. PUBLIC           A-NONE                                               I-SENTENCE LENGTH (males only)
     SAFETY           B-DISRUPTIVE GROUP (males only)                      K-VIOLENT BEHAVIOR (females only)
     FACTORS          C-GREATEST SEVERITY OFFENSE (males only)          L-SERIOUS ESCAPE
                      F-SEX OFFENDER                                       M-PRISON DISTURBANCE
                      G-THREAT TO GOVERNMENT OFFICIALS                     N-JUVENILE VIOLENCE
                      H-DEPORTABLE ALIEN                                   O-SERIOUS TELEPHONE ABUSE

 17. REMARKS



 18. OMDT REFERRAL (YES/NO)
   Case 1:25-cv-01161-TJK    Document 2-8   Filed 04/16/25     Page 48 of 114
                                                                      P5100.08
                                                                     9/12/2006
                                                             Chapter 5, Page 1

         MANAGEMENT VARIABLES AND PUBLIC SAFETY FACTORS


                            MANAGEMENT VARIABLES

A Management Variable is required when placement has been made
and/or maintained at an institution level inconsistent with the
inmate’s scored security level. Application of a Management
Variable requires review and approval by the DSCC
Administrator. When completing the BP-338, institution staff
may only enter a Management Variable which the DSCC previously
approved and entered as a management reason. Otherwise, the DSCC
is the only office authorized to enter a variable.     A maximum
of three Management Variables may be entered for each case.

NOTE:     SENTRY will not permit the simultaneous application of
          the Greater Security and Lesser Security MGTVs.

When a Management Variable no longer applies, institution
staff will remove the variable(s) accordingly.    When no
Management Variable is required, institution staff will
insert the letter "A" (NONE) in the space to signify that no
MGTV(s) apply.
Management Variables entered at initial designation are
manually transferred to the BP-338, Custody
Classification form.

Request for Management Variable/Management Variable expiration
date. All requests to apply a Management Variable (MGTV) or to
update the Management Variable Expiration Date (MVED) must be
submitted to the DSCC via GroupWise using the 409 form. Requests
for Management Variables on WITSEC inmates are to be forwarded
to the Inmate Monitoring Section, Central Office, Washington,
DC. The following criteria will be utilized:

  Only the DSCC or Central Office staff can apply a MGTV and
update a MVED, with the exception of "I" (Med/Psych), which
will be applied and reviewed by the Central Office Medical
Designator and "U" (Long-Term Detainee), which will be
applied by the Detention Services Branch, Correctional
Programs Division, Central Office.

  When requesting a MGTV or an updated MVED, only sections four
and six need to be completed on the form 409. This request
should normally be made to the DSCC within 21 calendar days
following the inmate's scheduled custody review to ensure the
DSCC is receiving a current Custody Classification Form, BP-338.
After approval by the Warden, the request may be routed from the
unit or shared folders, and unit staff must enter a DST
assignment using the Update Transaction. Staff will enter W MGTV
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 49 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 5, Page 2
as a DST assignment when the request is routed. DSCC staff will
remove the assignment when the decision is made.

  When requesting an updated MVED, staff are to indicate
the recommended expiration date on the top portion of form
409.

  When a case with the MGTV of "I" (Med/Psych) is scheduled
for review and it is anticipated that this MGTV is no longer
applicable, institution staff will complete all sections of
form
409 and forward the request to the Central Office Medical
Designator and the DSCC. The Central Office Medical Designator
will review the case for continuation or deletion of this
MGTV. If this MGTV is no longer appropriate, the Central
Office Medical Designator will remove the MGTV. After the
Central Office Medical Designator removes the MGTV "I," the
DSCC will review the case for transfer.      If a transfer is
not appropriate, another MGTV is to be applied.

Expiration dates will be assigned in accordance with Table 5-
1. The DSCC Administrator must evaluate the information on the
form
409 to determine the appropriate expiration date for all
applicable Management Variables. At the established expiration
date, case management staff will review the current Management
Variable(s) to determine appropriateness. In the rare instance
when more than one MGTV is applied, all expiration dates will be
displayed on the BP-338. When running a SENTRY roster, each MGTV
and corresponding MVED will be displayed.

Management Security Level (MSL). Upon application of any of the
following Management Variables: PSF Waived; Greater Security;
Lesser Security, the DSCC is to apply an overriding Management
Security Level (MSL) to reflect the inmate’s assessed security
needs. This MSL takes precedence over the security level
reflected in SENTRY which is based upon the scored security
level and the application of Public Safety Factors.
        Designation must be made to a DFCL commensurate with the
inmate’s security needs as reflected in the Management Security
Level.                            If there is an extenuating
circumstance in which an inmate’s designation facility is
inconsistent with his or her MSL, at least one additional non-
MSL MGTV must be added to support and explain the inconsistency.
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 50 of 114
                                                                      P5100.08
                                                                     9/12/2006
                                                             Chapter 5, Page 3


A          None. No Management Variables apply. Institution
           staff are permitted to enter this item.

B          Judicial Recommendation. The sentencing court may
           recommend a specific institution or program. When
           consistent with policies or when such actions are
           consistent with sound correctional management, the
           Bureau of Prisons attempts to satisfy judicial
           recommendations. When this is not feasible, the court
           is notified in writing with an explanation outlining
           the reasons for not satisfying that recommendation.

D          Release Residence. The Bureau of Prisons attempts to
           place each inmate in an institution that is reasonably
           close to the anticipated release area. Ordinarily,
           placement within 500 miles of the release area is to be
           considered reasonable, regardless of whether there may
           be an institution closer to the inmate’s release area.
           To the extent practicable, placement to the closest
           facility within 500 driving miles of the release area
           will be considered reasonable, subject to bed
           availability, the prisoner’s security designation, the
           prisoner’s programmatic needs, the prisoner’s mental
           and medical health needs, any request made by the
           prisoner related to faith-based needs, recommendations
           of the sentencing court, and other security concerns of
           the Bureau of Prisons. This MGTV may also apply to
           inmates who are within 36 months of release.

E          Population Management. Situations may occur in which
           an inmate requires housing in a facility which is not
           commensurate with his or her security level. Following
           are example situations: facility activation;
           population pressures affecting available appropriate-
           level bed space within 500 driving miles of the
           inmate’s anticipated release residence; gang/security
           concerns.

G          Central Inmate Monitoring Assignment. Pursuant to the
           CIM Program Statement, some inmates, for specified
           reasons, need to be monitored or separated from
           others. Sometimes these special management concerns
           limit the options for placement.

I          Medical or Psychiatric. An inmate who has a history of
           or is presently exhibiting psychiatric problems may
           need an initial designation to a psychiatric referral
           center. Similarly, documented information reflecting
           that the inmate may need medical or surgical treatment
           may require a designation to a medical referral
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 51 of 114
                                                          P5100.08
                                                         9/12/2006
                                                 Chapter 5, Page 4
           center. Designations and redesignations of these
           inmates will be made by the Central Office Medical
           Designator.

N          Program Participation. Occasionally, inmates become
           involved in specialized programs which are only
           available on a limited basis, or at specific
           institutions; in such instances, it might be
           appropriate to delay transfer pending completion of
           the program. Likewise, an inmate’s ability to
           participate in a unique program may require placement
           at an institution not commensurate with his or her
           security level. Accordingly, when an inmate's
           security level changes during participation in a
           special program not likely to be available in another
           appropriate facility, causing placement outside
           normal guidelines, this MGTV will apply.

R          Work Cadre. At secure facilities without satellite
           camps, the Regional Director may authorize a certain
           number of work cadre inmates to perform work outside
           the perimeter of the institution. The DSCC will apply
           the MGTV upon request of the institution.

S          PSF Waived. An inmate may receive up to three Public
           Safety Factors (PSFs). PSFs may be waived after review
           and approval by the DSCC Administrator.   When Public
           Safety Factors are waived causing placement outside
           normal guidelines, this MGTV will apply. Application
           of this MGTV mandates that the DSCC Administrator
           determine the most appropriate level of security
           required by the inmate and apply a Management Security
           Level (MSL). The MSL must be at least one level less
           than the scored security level which is based on the
           Security Total and PSF(s).

           Request for Public Safety Factor Waiver. Only the DSCC
           Administrator is authorized to waive a PSF. A request
           for waiver of a PSF will be submitted to the DSCC via
           form 409, available on SALLYPORT. The form 409 will
           indicate that the request is for waiver of a Public
           Safety Factor. Items 1 through 7 must be completed
           when submitting a request for waiver of a PSF.

U          Long-term Detainee. Long-term detainees are given an
           initial custody and security level. However, Custody
           Classification Forms are not to be completed on
           long- term detainees due to the unavailability
           or non- applicability of certain data (i.e.,
           current term of confinement, length of time
           remaining to serve, accurate criminal history).
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 52 of 114
                                                                      P5100.08
                                                                     9/12/2006
                                                             Chapter 5, Page 5
           Therefore, transfers for positive or negative behavior
           may cause placement in a facility different from his or
           her scored security or custody level. When needed, this
           MGTV will be applied by the Detention Services Branch,
           Correctional Programs Division, Central Office.

           Long-term criminal detainees whose security or custody
           level does not match that of their facility will have
           this Management Variable applied. This applies as well
           if an inmate rolls over to the status of a long-term
           detainee after being ordered detained upon expiration
           of the federal sentence and the security or custody
           level does not match that of the designated facility.

V          Greater Security. There may be security concerns which
           are not adequately reflected in the classification
           scheme. In circumstances where an inmate represents a
           greater security risk (i.e., pending charges,
           detainer, escape risk, etc.) than their assigned
           security level, they may be placed in an institution
           outside normal guidelines, and this MGTV will apply.
           When this MGTV is applied based on institutional
           behavior which is not supported by a UDC/DHO finding
           of guilt, staff will ensure compliance with the
           criteria as set forth in the Program Statement on
           Inmate Discipline and Special Housing Units.
           Application of this MGTV mandates the DSCC
           Administrator determine the most appropriate level of
           security required by the inmate and apply a
           Management Security Level (MSL). Designation will
           then be made to a DFCL commensurate with the inmate’s
           Management Security Level. The MSL must be at least
           one level greater than the scored security level
           which is based on the Security Total and Public
           Safety Factor(s).           This MGTV requires up to a
           24 month expiration date.

W          Lesser Security. There may be security concerns which
           are not adequately reflected in the classification
           scheme. In circumstances where an inmate represents a
           lesser security risk (i.e., detainer removed, positive
           adjustment, etc.) than the assigned security level,
           the inmate may be placed in an institution outside
           normal guidelines. For example, where age is largely
           the contributing factor in the inmate’s placement,
           this Management Variable will apply.

           Application of this MGTV mandates the DSCC
           Administrator to determine the most appropriate level
           of security required by the inmate and apply a
           Management Security Level (MSL).
           The MSL must be at least one level less than the scored
      Case 1:25-cv-01161-TJK   Document 2-8    Filed 04/16/25     Page 53 of 114
                                                                         P5100.08
                                                                        9/12/2006
                                                                Chapter 5, Page 6
             security level which is based on the Security Total
             and Public Safety Factor(s).

DISCONTINUED MANAGEMENT VARIABLES. The following Management
Variables have been discontinued: C - Age, F - Racial Balance,
H - Voluntary Surrender, J - Custody, K - Detainer, L -
Discipline, M - Grandfather Clause, O - Security, P - Sentence
Limitation, and Q - Sliding Scale.

                                   Table 5-1
                  MANAGEMENT VARIABLE EXPIRATION TABLE
CODE             DESCRIPTION                             LENGTH
  A      None                          N/A
  B      Judicial Recommendation       N/A
  D      Release                       N/A
         Residence/Planning
  E      Population Management         Up to 18 months**
  G      Central Inmate                N/A
         Monitoring Assignment
  I      Medical/Psychiatric           6 months
  N      Program Participation         Up to 18 months, at the
                                       discretion of the Regional
                                       Director**
  R      Work Cadre                    N/A
  S      PSF Waived*                   N/A (However, if an inmate is
                                       transferred to a more secure
                                       institution based on behavior
                                       related to the waived PSF, this
                                       MGTV will be removed.)
  U      Long-Term Detainee            N/A
  V      Greater Security*             Up to 24 months**
  W      Lesser Security*              N/A
* requires application of a Management Security Level (MSL)
** if no expiration date is entered, SENTRY will default to an
  expiration date 12 months in advance
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 54 of 114
                                                                      P5100.08
                                                                     9/12/2006
                                                             Chapter 5, Page 7
                         PUBLIC SAFETY FACTORS

A Public Safety Factor (PSF) is relevant factual information
regarding the inmate’s current offense, sentence, criminal
history or institutional behavior that requires additional
security measures be employed to ensure the safety and
protection of the public.       Public Safety Factors are
normally applied on the Inmate Load and Security Designation
Form (BP-337) prior to an inmate’s initial assignment to an
institution, however, additions or deletions may be made at
anytime there after via the Custody Classification Form, (BP-
338).           A maximum of three PSFs may be applied, however
if more than three apply, those which would provide the greatest
security and public safety will be utilized.

CODE       PSF - DESCRIPTION

A          None.   No Public Safety Factors apply.

B          Disruptive Group. A male inmate who is a validated
           member of a Disruptive Group identified in the
           Central Inmate Monitoring System will be housed in
           a High security level institution, unless the PSF
           has been waived.

           At the time of initial designation, if the
           Presentence Investigation Report or other
           documentation identifies the inmate as a possible
           member of one of the Central Inmate Monitoring
           Disruptive Groups, DSCC staff will enter a PSF on the
           BP-337.               However, DSCC staff will not
           enter the CIM assignment "Disruptive Group."       Upon
           loading this PSF on a not-yet-validated member, DSCC
           staff will (1) make a notation in the Remarks Section
           to indicate the need for validation upon arrival at
           the institution, and (2) notify the Central Office
           Intelligence Section, via GroupWise, to advise them
           of the inmate’s status.     Upon the inmate's arrival
           at the designated institution, the intake screener
           will notify the institution's Special Investigation
           Supervisor of the inmate's PSF, to initiate the
           validation process.

C          Greatest Severity Offense. A male inmate whose current
           term of confinement falls into the "Greatest Severity"
           range according to the Offense Severity Scale
           (Appendix
           A) will be housed in at least a Low security
           level institution, unless the PSF has been
           waived.
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 55 of 114
                                                          P5100.08
                                                         9/12/2006
                                                 Chapter 5, Page 8
F          Sex Offender. A male or female inmate whose behavior
           in the current term of confinement or prior history
           includes one or more of the following elements will be
           housed in at least a Low security level institution,
           unless the PSF has been waived. A conviction is not
           required for application of this PSF if the
           Presentence Investigation Report (PSR), or other
           official documentation, clearly indicates the
           following behavior occurred in the current term of
           confinement or prior criminal history. If the case was
           dismissed or nolle prosequi, application of this PSF
           cannot be entered.
           However, in the case where an inmate was charged
           with an offense that included one of the following
           elements, but as a result of a plea bargain was not
           convicted, application of this PSF should be
           entered.

           Example: According to the PSR, the inmate was
           specifically described as being involved in a
           Sexual Assault but pled guilty to Simple Assault.
                     Based on the documented behavior,
           application of this PSF should be entered:

           (1) Engaging in sexual contact with another
           person without obtaining permission to do so
           (forcible rape, sexual assault or sexual battery);

           (2) Possession, distribution or mailing of
           child pornography or related
           paraphernalia;

           (3) Any sexual contact with a minor or other
           person physically or mentally incapable of granting
           consent (indecent liberties with a minor, statutory
           rape, sexual abuse of the mentally ill, rape by
           administering a drug or substance);

           (4) Any sexual act or contact not identified above
           that is aggressive or abusive in nature (e.g., rape by
           instrument, encouraging use of a minor for
           prostitution purposes, incest, etc.). Examples may be
           documented by state or Bureau of Prisons’ incident
           reports, clear NCIC entries, or other official
           documentation;

           (5) Attempts are to be treated as if the sexual
           act or contact was completed; and/or,

           (6) Any offense referenced in the Sex Offender
           Notification and Registration Program
           Statement.
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 56 of 114
                                                                      P5100.08
                                                                     9/12/2006
                                                             Chapter 5, Page 9
CODE       PSF - DESCRIPTION

G          Threat to Government Officials. A male or female
           inmate classified with a Central Inmate Monitoring
           assignment of Threat to Government Official will
           be housed in at least a Low security level
           institution, unless the PSF has been waived.

H          Deportable Alien. A male or female inmate who is not a
           citizen of the United States. All long-term detainees
           will have this PSF applied. When applied, the inmate
           or the long-term detainee shall be housed in at least
           a Low security level institution.

           The PSF shall not be applied, or shall be removed when
           the U.S. Immigration and Customs Enforcement (ICE) or
           the Executive Office for Immigration Review (EOIR)
           have determined that deportation proceedings are
           unwarranted or there is a finding not to deport at the
           completion of deportation proceedings. The Institution
           Hearing Program CMA of NO IHP or IHP CMP ND will then
           be applied.                  Additionally, the PSF
           shall not be applied if the inmate has been
           naturalized as a United States citizen.

I          Sentence Length. A male inmate with more than ten
           years remaining to serve will be housed in at least
           a Low security level institution unless the PSF has
           been waived.

           A male inmate with more than 20 years remaining to
           serve will be housed in at least a Medium security
           level institution, unless the PSF has been waived.

           A male inmate with more than 30 years remaining to
           serve (including non-parolable LIFE sentences) will
           be housed in a High security level institution
           unless the PSF has been waived.

K          Violent Behavior. A female inmate whose current term
           of confinement or history involves two convictions
           (or findings of commission of a prohibited act by the
           DHO) for serious incidents of violence within the
           last five years will be assigned to at least a Low
           security level institution, unless the PSF has been
           waived.
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 57 of 114
                                                                   P5100.08
                                                                  9/12/2006
                                                         Chapter 5, Page 10



L          Serious Escape. A female inmate who has been involved
           in a serious escape within the last ten years,
           including the current term of confinement, will be
           assigned to the Carswell Administrative Unit, unless
           the PSF has been waived.

           A male inmate who has escaped from a secure facility
           (prior or instant offense) with or without the
           threat of violence or who escapes from an open
           institution or program with a threat of violence
           will be housed in at least a Medium security level
           institution, unless the PSF has been waived.

M          Prison Disturbance. A male or female inmate who was
           involved in a serious incident of violence within
           the institution and was found guilty of the
           prohibited act(s) of Engaging, Encouraging a Riot,
           or acting in furtherance of such as described in,
           but not limited to institution disciplinary codes
           such as 103, 105, 106,
           107, 212, 213 or 218. Such a finding must be in
           conjunction with a period of simultaneous
           institution disruptions. Males will be housed in at
           least a HIGH security level institution and females
           will be assigned to the Carswell Administrative
           Unit, unless the PSF has been waived.

N          Juvenile Violence. A male or female offender,
           currently of juvenile age, who has any documented
           single instance of violent behavior, past or present,
           which resulted in a conviction, a delinquency
           adjudication, or finding of guilt. Violence is defined
           as aggressive behavior causing serious bodily harm or
           death or aggressive or intimidating behavior likely to
           cause serious bodily harm or death (e.g., aggravated
           assault, intimidation involving a weapon, or arson).

O          Serious Telephone Abuse. A male or female inmate who
           utilizes the telephone to further criminal activities
           or promote illicit organizations and who meets the
           criteria outlined below, must be assigned a PSF for
           Serious Telephone Abuse. A conviction is not required
           for the PSF if the Presentence Investigation Report
           (PSR) or other official documentation clearly
           indicates that the above behavior occurred or was
           attempted.                An inmate who meets this
           criteria must be housed in at
Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 58 of 114
                                                               P5100.08
                                                              9/12/2006
                                                     Chapter 5, Page 11
       least a Low security level institution, unless
       the PSF is waived.

       The PSF should be entered if any one of the
       following criteria applies.

       (1)   PSR or comparable documentation reveals
             the inmate was involved in criminal
             activity facilitated by the telephone who:

             •       meets the definition of a leader/organizer or
                     primary motivator; or

             •       utilized the telephone to communicate threats
                     of bodily injury, death, assaults, or
                     homicides; or

             •       utilized the telephone to conduct significant
                     fraudulent activity (actual or attempted) in
                     an institution; or

             •       leader/organizer who utilized the telephone
                     to conduct significant fraudulent activity
                     (actual or attempted) in the community;
                     or,

             •       arranged narcotic/alcohol introductions while
                     confined in an institution.

       (2)   Federal law enforcement officials or a U.S.
             Attorney’s Office notifies the Bureau of
             Prisons of a significant concern and need
             to monitor an inmate’s telephone calls;

       (3)   The inmate has been found guilty of a 100 or
             200 level offense code for telephone abuse.

             NOTE:        200 level offense codes will be reviewed
                          on a case-by-case basis.

       (4)   A Bureau of Prisons official has
             reasonable suspicion and/or documented
             intelligence supporting telephone abuse.

             NOTE:        Any inmate who is assigned the Serious
                          Telephone Abuse PSF may be subject to
                          telephone restriction in accordance with
                          the Telephone Regulations for Inmates
                          Program Statement.
     Case 1:25-cv-01161-TJK   Document 2-8    Filed 04/16/25   Page 59 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                           Chapter 5, Page 12
                   DISCONTINUED PUBLIC SAFETY FACTORS
D     Firearms          E High Drug         J Designation Assessment

                                  Table 5-2

                    SECURITY DESIGNATION TABLE (MALES)
                INMATE SECURITY LEVEL ASSIGNMENTS BASED ON
              CLASSIFICATION SCORE AND PUBLIC SAFETY FACTORS
    Securit              Public Safety Factors                      Inmate
      y                                                            Security
      Point                                                         Level
     0 - 11       No Public Safety Factors                         Minimum
                  Deportable Alien                                   Low
                  Juvenile Violence                                  Low
                  Greatest Severity Offense                          Low
                  Sex Offender                                       Low
                  Serious Telephone Abuse                            Low
                  Threat to Government Officials                     Low
                  Sentence Length
                    Time remaining > 10 Yrs                           Low
                    Time remaining > 20 Yrs                         Medium
                    Time remaining > 30 Yrs (Includes                High
                    non-parolable LIFE and Death
                    penalty cases)
                  Serious Escape                                    Medium
                  Disruptive Group                                   High
                  Prison Disturbance                                 High
    12 - 15       No Public Safety Factors                            Low
                  Serious Escape                                    Medium
                  Sentence Length
                    Time remaining > 20 Yrs                         Medium
                    Time remaining > 30 Yrs (Includes                High
                    non-parolable LIFE and Death
                    penalty cases)
                  Disruptive Group                                   High
                  Prison Disturbance                                 High
    16 - 23       No Public Safety Factors                          Medium
                  Disruptive Group                                   High
                  Prison Disturbance                                 High
                  Sentence Length
                    Time remaining > 30 Yrs (Includes                High
                    non-parolable LIFE and Death
                    penalty cases)
      24 +                                                           High
Case 1:25-cv-01161-TJK     Document 2-8    Filed 04/16/25   Page 60 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 5, Page 13
                               Table 5-3

            SECURITY DESIGNATION TABLE (FEMALES)
        INMATE SECURITY LEVEL ASSIGNMENTS BASED ON
      CLASSIFICATION SCORE AND PUBLIC SAFETY FACTORS
Security                 Public Safety Factors                   Inmate
  Point                                                         Security
  Total                                                           Level
 0 - 15        No Public Safety Factors                         Minimum
               Deportable Alien                                    Low
               Juvenile Violence                                   Low
               Serious Telephone Abuse                             Low
               Sex Offender                                        Low
               Threat to Government Officials                      Low
               Violent Behavior                                    Low
               Prison Disturbance                                 High
               Serious Escape                                     High
16 - 30        No Public Safety                                   Low
               Factors Prison                                     High
               Disturbance Serious                                High
  31 +                                                            High
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 61 of 114
                                                                 P5100.08
                                                                9/12/2006
                                                       Chapter 6, Page 1


          CUSTODY CLASSIFICATION FORM INSTRUCTIONS (BP-338)


INTRODUCTION. Custody classification is a procedure whereby an
inmate is assigned a level of supervision according to their
criminal history and institutional behavior/adjustment. An
inmate’s custody level is an indication of how much staff
supervision an inmate requires within and beyond the confines
of the institution.

An inmate’s first custody classification will be scored at the
first program review following initial classification
(approximately 7 months after arrival at an institution).
Subsequent reviews will occur at least every 12 months, but
may be conducted earlier in order to enable progress toward
community activities. Custody classification will ordinarily
occur every 12 months at a regularly scheduled program review.
                                                 Only changes
which increase or decrease the overall security level
assignment of the inmate, i.e. FRP refuse, incident report(s),
new sentence, sentence reduction etc., should be scored outside
of the 12 month cycle.

When transferring to another institution, inmates normally
retain their custody assignments. If the custody level is
inconsistent with that authorized at the receiving
institution, the sending institution will change the inmate's
custody prior to transfer.
Holdovers   will   retain   their   initial   custody   level
assignments until their first regularly scheduled custody
review at their designated facility for service of sentence.

At each annual custody review, a new Custody
Classification Form (BP-338) will be completed, even
though the scoring elements
may not have changed from the previous form. Only the most
current BP-338 form will be retained in the Inmate Central
File, except for those forms that must be retained to
document appropriate review and approval for custody
reductions (e.g., custody reductions for exception cases
require the Warden, or designee, to sign the Custody
Classification Form.                          The form should
be maintained to document the review and approval). As set
forth in the definition of “Maximum” custody, Chapter 2, a
BP-338 form changing an inmate’s custody to or from “Maximum”
custody must be permanently maintained.

It should be clearly understood that the Custody Classification
Form only recommends an inmate's custody. The Unit Team and/or
Warden is the final review authority. The intent of the Custody
Classification system is to permit staff to use professional
judgment within specific guidelines. Custody changes are not
      Case 1:25-cv-01161-TJK                  Document 2-8           Filed 04/16/25           Page 62 of 114
                                                                                                  P5100.08
                                                                                                 9/12/2006
                                                                                        Chapter 6, Page 2
dictated solely by the point total. However, when the Unit Team
decides not to follow the recommendation of the point total,
they must document the reason(s) for this decision in writing
on the Custody Classification Form, and inform the inmate.

                                            A. IDENTIFYING DATA
1. INSTITUTION CODE               2. UNIT                                     3. DATE
4. NAME                                                     5. REGISTER NUMBER
6. MANAGEMENT   A - NONE                          G - CIMS                        S - PSF WAIVED
   VARIABLES    B - JUDICIAL RECOMMENDATION       I - MED/PSYCH TREATMENT         U - LONG-TERM DETAINEE
                 D - RELEASE RESIDENCE/PLANNING   N - PROGRAM PARTICIPATION      V - GREATER SECURITY
                 E - POPULATION MANAGEMENT        R - WORK CADRE                  W - LESSER SECURITY


7.   PUBLIC        A - NONE                                           I - SENTENCE LENGTH (males only)
     SAFETY        B - DISRUPTIVE GROUP (males only)                  K - VIOLENT BEHAVIOR (females only)
     FACTORS       C - GREATEST SEVERITY OFFENSE (males   only)       L - SERIOUS ESCAPE
                    F - SEX OFFENDER                                   M - PRISON DISTURBANCE
                    G - THREAT TO GOVERNMENT OFFICIALS                 N - JUVENILE VIOLENCE
                   H - DEPORTABLE ALIEN                               O - SERIOUS TELEPHONE ABUSE



1.     INSTITUTION CODE.                    (Automatically displayed by SENTRY.)

2.     UNIT. (Automatically displayed by SENTRY.)

3.     DATE. (Automatically displayed by SENTRY.)

4.     NAME. (Automatically displayed by SENTRY.)

5.     REGISTER NUMBER. (Automatically displayed by SENTRY.)

6.     MANAGEMENT VARIABLES.                      See Chapter 5, pages 1-6.

7.     PUBLIC SAFETY FACTORS. See Chapter 5, pages 7-13.

                                             B.   BASE SCORING

1.     TYPE OF DETAINER

1. TYPE OF DETAINER             0 = NONE                          3 = MODERATE          7 = GREATEST
                                1 = LOWEST/LOW MODERATE           5 = HIGH


Enter the appropriate number of points that reflect the inmate’s
detainer status. Refer to the Offense Severity Scale (Appendix
A). If multiple detainers have been filed, enter the point value
for the most serious charge. Frequency and sentence length are
not considered.

The scoring of detainers on the Inmate Load and Security
Designation Form (BP-337) may differ from the score received on
the Custody Classification Form (BP-338). If there is a pending
charge, points based on the documented behavior are assigned on
     Case 1:25-cv-01161-TJK          Document 2-8   Filed 04/16/25   Page 63 of 114
                                                                          P5100.08
                                                                         9/12/2006
                                                                Chapter 6, Page 3
the type of detainer item; if the pending charge involves a
probation violation, use the most severe documented behavior
from the original offense as the basis for assigning points
in the detainer scoring. Only formally filed detainers are
considered on the Custody Classification Form after the
second regularly scheduled custody review.

•     Score consecutive state sentences, lodged state detainers
      and/or state parole violation terms/warrants as
      detainers. Inmates should be informed that it is vitally
      important that all pending charges and detainers be
      resolved as quickly as possible so that institution
      programming and release planning can occur.

•     Score concurrent state sentences, as a detainer only if it
      is expected that the state sentence will exceed the federal
      sentence and the state has formally filed a detainer. Other
      formally filed state pending charges, consecutive
      sentences, and/or parole violation term/warrants will be
      scored as detainers.
                  Points will be assigned the same as they
      would be for a federal violation (see page 4 of this
      Chapter for further instructions).

•     No points will be awarded for U.S. Parole Commission
      warrants (adjudicated or unadjudicated). However, the
      original offense behavior will be factored into the
      criminal history points and the violation behavior
      (including new offense behavior) will be scored as
      the current offense.

•     No points will be assigned for ICE detainers. However,
      each case will be carefully reviewed to determine whether
      the PSF for Deportable Alien is applicable.

•     If a formally filed detainer involves a probation
      violation, use the most severe documented behavior in
      the original offense as the basis for assigning points
      in the detainer scoring chart above.

2.   SEVERITY OF CURRENT OFFENSE

2. SEVERITY OF CURRENT   0 = LOWEST             3 = MODERATE     7 = GREATEST
   OFFENSE               1 = LOW MODERATE       5 = HIGH


Enter the appropriate number of points that reflect the most
severe documented instant offense behavior. For multiple
offenses, the highest score will be used when scoring the
current offense.                             Staff will consider
the offense behavior of all sentences, including federal
sentences that have a future
    Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 64 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 6, Page 4
beginning date or a prior state or D.C. sentence if there was
no physical release from custody.

Severity is determined by using the Offense Severity Scale
(Appendix A). Do not use instant offense behavior to also assign
points on the “history” items on the Custody Classification
Form.

Example: According to the Presentence Investigation Report, the
individual was involved in an Assault With Serious Injury
(Greatest severity level) but pled guilty to a Simple Assault
(Moderate severity level). Assign the points on the basis of the
more severe documented behavior, i.e., assign 7 points (Greatest
severity level). Do not use the current term of confinement
information to assign points on the “history” items (numbers 5
and 6 on the Security Designation Data section of the BP-337).

In determining "Severity of Current Offense" staff must review
the Statement of Reasons, (attachment to the Judgment) and
ensure the information provided is appropriately used in
classifying the inmate.

Example: According to the Presentence Investigation Report the
individual was involved in a drug conspiracy responsible for
distribution of 31 grams of cocaine base “Crack”, but was
individually only responsible for 2 grams, he/she would be
scored as Moderate Severity in this category.    However, the
STATEMENT OF REASONS, indicates the Judge found the individual
responsible for less than 1 gram; therefore, the appropriate
scoring should be Low Moderate Severity.

•    Procedures for Parole, Mandatory Release,
     Special Parole Term, or Supervised Release
     Violator

     If the violation was the result of new criminal
     conduct, regardless of conviction status, use the new
     criminal conduct for scoring "Severity of Current
     Offense" (see Appendix A).   If the violation behavior
     was a technical violation, score the "Severity of
     Current Offense" as Low Moderate Severity.

     The original offense behavior which occurred prior to the
     violation is considered past behavior and is not used in
     determining "Severity of Current Offense."
     Case 1:25-cv-01161-TJK           Document 2-8       Filed 04/16/25         Page 65 of 114
                                                                                  P5100.08
                                                                                 9/12/2006
                                                                        Chapter 6, Page 5
•      Procedures for Probation Violator

       The   original  offense   behavior that                            resulted          in
       probation should be used for scoring                               "Severity         of
       Current Offense" (see Appendix A).

       However, if the new criminal conduct (violation behavior)
       is more severe than the original offense behavior, then
       use this behavior for scoring "Severity of Current
       Offense." The most severe documented behavior between the
       original offense and the violation behavior is to be used
       for scoring "Severity of Current Offense."

3.   MONTHS TO RELEASE DATE

 3. MONTHS TO RELEASE


If there is a current and valid sentence computation in SENTRY,
SENTRY will automatically enter the number of months remaining
into this field. If however, there is not a complete Sentence
Computation/Projected Release Date in SENTRY, this entry must
be manually computed.   This item is not figured into the
security point total but impacts the Sentence Length Public
Safety Factor.

4.   CRIMINAL HISTORY SCORE

4. CRIMINAL HISTORY     0 = 0-1                       4 = 4-6                  8 = 10-12
   SCORE                2 = 2-3                       6 = 7-9                 10 = 13 +


SENTRY will automatically insert the score that was entered for
this item on the BP-337. If this item was not entered on the BP-
337, insert the appropriate number of points that reflect the
Criminal History Score. For further details on Criminal History
Score see Chapter 4, Section 8.

5.   HISTORY OF ESCAPE OR ATTEMPTS

5. HISTORY OF ESCAPE           NONE    >15 YEARS   10-15 YEARS   5-10 YEARS      <5 YEARS
   OR ATTEMPTS        MINOR     0          1           1             2              3
                     SERIOUS    0          3(S)        3(S)          3(S)           3(S)


Enter the appropriate number of points that reflect the escape
history of the individual, considering only those acts for
which there are documented findings of guilt (i.e., DHO, Court,
Parole, Mandatory Release, or Supervised Release Violation).
                                                      Escape
History includes the individual's entire background of escapes
or attempts to escape from confinement, or absconding from
community supervision, excluding the current term of
confinement.
     Case 1:25-cv-01161-TJK      Document 2-8       Filed 04/16/25        Page 66 of 114
                                                                                 P5100.08
                                                                                9/12/2006
                                                                        Chapter 6, Page 6
EXCEPTION:        Any institution disciplinary hearing (UDC or DHO)
                  finding that a prohibited act was committed
                  during the current term of confinement will be
                  scored as a history item.

State disciplinary findings are scored unless there is
documentation that the state disciplinary proceedings
did not afford due process protection to the inmate.

Fleeing or Eluding Arrest, Failure to Appear for traffic
violations, runaways from foster homes and similar behavior
should not be scored under the Escape History item, even if
clearly documented, but should be considered on a case-by-case
basis under the Management Variable “Greater Security.” Failure
to Appear or Flight to Avoid Prosecution for any offense
however, must be counted when there is a documented finding of
guilt.

In determining time frames, use the date of the documented
occurrence. Documented information from juvenile or YCA
adjudications can be used unless the record has been
expunged or vacated.

Minor History of Escape - An escape from an open institution
or program (e.g., minimum security facility, CCC, furlough)
not involving any actual or threat of violence. Also includes
military AWOL, Bail Reform Act, Flight to Avoid Prosecution,
and Absconding from Community Supervision.   There must be a
finding of guilt.

Serious History of Escape - An escape from secure custody with
or without threat of violence.                       Also
includes escapes from an open facility or program with actual
threat of violence.     There must be a finding of guilt. S = 3
points and requires application of PSF L.

6.   HISTORY OF VIOLENCE

6. HISTORY OF             NONE   >15 YEARS   10-15 YEARS   5-10 YEARS    <5 YEARS
   VIOLENCE      MINOR     0         1           1             3           5
                SERIOUS    0         2           4             6           7


Enter the appropriate number of points that reflect any history
of violence, considering only those acts for which there are
documented findings of guilt (i.e., DHO, Court, Parole,
Mandatory Release, or Supervised Release Violation). This item
includes the individual's entire background of criminal
violence, excluding the current term of confinement.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 67 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 6, Page 7
EXCEPTION:       Any institution disciplinary hearing (UDC or DHO)
                 finding that a prohibited act was committed
                 during the current term of confinement will be
                 scored as a history item.

State disciplinary findings are scored unless there is
documentation that the state disciplinary proceedings
did not afford due process protection to the inmate.

Severity of violence is determined by the offense behavior
regardless of the conviction/finding of guilt offense. History
of Violence points combine both seriousness and recency of prior
violent incidents to assess the propensity for violent behavior,
where more points mean greater risk. Therefore, if there is more
than one incident of violence, score the combination of
seriousness and recency that yields the highest point score.
Prior periods of incarceration will be considered a “history”
item if the inmate was physically released from custody and
then returned to serve either a violation or a new sentence.
                                                         In
determining time frames, use the date of the documented
behavior. Documented information from juvenile or YCA
adjudication can be used unless the record has been expunged or
vacated.

Minor History of Violence -       Aggressive or intimidating
behavior which is not likely to cause serious bodily harm or
death (e.g., simple assault, fights, domestic disputes, etc.)
There must be a finding of guilt.

Serious History of Violence - Aggressive or intimidating
behavior which is likely to cause serious bodily harm or
death (e.g., aggravated assault, domestic violence,
intimidation involving a weapon, incidents involving arson
or explosives, rape, etc.).    There must be a finding of
guilt.

Example: If an offender was found guilty of homicide 20 years
ago and a simple assault 3 years ago, assign 5 points for the
simple assault. Or in another case, the offender had guilty
findings for homicide 12 years ago; aggravated assault 8
years ago; and fighting 2 years ago, score 6 points for the
aggravated assault 8 years ago.

NOTE:        Attempted suicide, self-mutilation and possession of
             weapons are not applicable behaviors for History of
             Violence scoring. In addition, verbal threats (such as
             Code 203- Threatening Bodily Harm) are to be viewed as
             minor violence.
     Case 1:25-cv-01161-TJK          Document 2-8        Filed 04/16/25      Page 68 of 114
                                                                                   P5100.08
                                                                                  9/12/2006
                                                                          Chapter 6, Page 8
7.   VOLUNTARY SURRENDER

7. VOLUNTARY SURRENDER         0 = NOT APPLICABLE     (-3) = VOLUNTARY SURRENDER


This item allows for the subtraction of three points from
the “Base Score” (Item 11 below), when the Judgement
indicates the inmate was ordered to voluntarily surrender.
Enter the appropriate number of points. For purposes of this
item, voluntary surrender means the inmate was not escorted
by a law enforcement officer to either the U.S. Marshals
Office or the place of confinement.

NOTE:        Supervised Release, Mandatory Release, and Parole
             Violators will not receive credit for Voluntary
             Surrender even if it is approved by the court.

8.   AGE

8. AGE                   0 = 55 and over             4 = 25 through 35
                         2 = 36 through 54           8 = 24 or less


SENTRY will automatically cross-reference the inmate’s date
of birth and assign the appropriate number of points that
reflect his or her age. Staff do not have to manually
enter an offender’s age.

9.   EDUCATIONAL LEVEL

9. EDUCATION LEVEL   0 = Verified High School Degree/GED
                      1 = Enrolled in and making satisfactory progress in GED Program
                      2 = No verified High School Degree/GED & not participating in GED
                              Program


Enter the appropriate number of points, that reflect the
inmate’s education level as verified by the Education
Department.

NOTE:        The scoring of this item on the Custody Classification
             form differs from the scoring on the Security
             Designation form. Therefore, unit staff must reconcile
             information obtained since the inmate’s previous score
             on this item.

In addition to the points assigned for the education level,
the highest grade completed (HGC) will also be recorded on the
BP-
337. For example an inmate who began but did not complete the
7th grade will be given a 6 in the HGC field. Similarly, a GED
will be given a 12, a college graduate a 16, a Master’s degree
an 18, and a Ph.D. a 21 (the maximum allowed) in the HGC
field.
      Case 1:25-cv-01161-TJK           Document 2-8     Filed 04/16/25       Page 69 of 114
                                                                                  P5100.08
                                                                                 9/12/2006
                                                                         Chapter 6, Page 9
10.    DRUG/ALCOHOL ABUSE

10. DRUG/ALCOHOL ABUSE   0 = Never/>5 Years           1 = <5 Years


Enter the appropriate number of points that reflect drug or
alcohol abuse by the inmate. Examples of drug or alcohol abuse
include: a conviction of a drug or alcohol related offense, a
parole or probation violation based on drug or alcohol abuse,
positive drug test, a DUI, detoxification, etc. Absent any
information similar to the above, an inmate’s self report is
sufficient to score this item. If this information is unknown,
enter a “U” and the item will be scored as zero.

11.    BASE SCORE

11. BASE SCORE (ADD B. ITEMS 1 - 10)


SENTRY will compute the base score based upon the points
entered for Items 1 - 10 (excluding Item 3). In cases where
the total results in a negative number the base score will be
set at zero.

                                   C. CUSTODY SCORING

1.    PERCENTAGE OF TIME SERVED

1. PERCENTAGE OF               3 = 0-25%                        5 = 76-90%
   TIME SERVED                 4 = 26-75%                       6 = 91+%


Enter the number of points that reflect the percentage of time
the inmate has already served on the present commitment at the
time of the review. To determine the percent, divide the number
of months already served on the present sentence by the number
of months of incarceration the inmate will have served upon
reaching his/her projected release date.    If applicable, give
credit for jail time.

Example: An inmate has served 15 months (14 months at the
institution, plus credit for one month jail time) of an
anticipated total of 78 months of confinement.

            Actual Time Served         =                         15= 19.2%
       Anticipated Time in Confinement =                         78

Enter "3" , since 3 represents a range of 0 to 25%.
     Case 1:25-cv-01161-TJK           Document 2-8        Filed 04/16/25    Page 70 of 114
                                                                                    P5100.08
                                                                                   9/12/2006
                                                                          Chapter 6, Page 10
2.   PROGRAM PARTICIPATION

2. PROGRAM PARTICIPATION         0 = POOR       1 = AVERAGE         2 = GOOD


Enter the appropriate number of points that reflect the
inmate’s level of initiative in programming.                This
is based on the inmate’s active program involvement, eg. RPP,
FRP, Drug education or Treatment Programs, education programs,
or any other suitable programs as recommended by the Unit Team.
                                     Unit Teams should score
this area at the time of the custody review so input may be
gained from all classification team members.

NOTE:         Inmates in “FRP Refuse”, “RPP Refuse”, or who refuse to
              participate in mandatory drug education or treatment
              programs will be scored with 0 points regardless of
              any other programs achievements. Otherwise, assign
              points as follows:

GOOD - The inmate actively participates in multiple
recommended programs.

AVERAGE - The inmate could be participating in multiple
recommended programs but chooses to be involved in one at a
time. This also includes inmates who are on official
waiting lists for programs recommended by the Unit Team.

POOR - No program involvement, refuses to participate, or poor
participation in programs in which he/she is enrolled.

3. LIVING SKILLS

3. LIVING SKILLS           0 = POOR         1 = AVERAGE        2 = GOOD


Enter the appropriate number of points that reflect the inmate’s
living skills during the past 12 months. This is based on the
inmate’s demeanor, attitude, personal accountability and nature
of interaction with staff and other inmates. Incident Reports in
and of themselves are not the determining factor in assessing
the points on this item;             however, the underlying
behavior(s) may influence the scoring of this item.   Unit Teams
should score this item at the time of the custody review so
input may be gained from all classification team members.

NOTE:         Inmates in “FRP Refuse”, “RPP Refuse”, or who refuse to
              participate in mandatory drug education or treatment
              programs will be scored with 0 points regardless of
              any other programs achievements. Otherwise, assign
              points as follows.
     Case 1:25-cv-01161-TJK       Document 2-8       Filed 04/16/25     Page 71 of 114
                                                                             P5100.08
                                                                            9/12/2006
                                                                   Chapter 6, Page 11
GOOD - The inmate fully complies with staff expectations.
He/she consistently receives outstanding sanitation and
work reports and impresses staff as a “model inmate” in all
other
aspects of adjustment. He/she has developed a good rapport with
staff. This high level of responsibility is consistent
throughout the year.

While behavior(s) of a minor concern may occur occasionally,
they do not detract from the inmate’s overall favorable
performance.
He/she is perceived by staff as attempting to program in a
positive manner. Some examples of such behavior(s) are as
follows:

•     Rare property/sanitation related counseling
      necessary; however, not as the result of or leading
      to an Incident Report or extra duty;

•     Work reports that are excellent                    overall, though
      not   all   evaluation elements                    are   rated  as
      “outstanding;” and,

•     Uncharacteristic instances of staff reported
      negative interactions or behavior that do not result
      in Incident Reports.

AVERAGE - The inmate generally complies with staff
expectations although falls short of providing a full and
complete effort.
He/she has been counseled about sanitation, work performance
and/or other aspects of adjustment; however, the inmate is
not viewed as problematic.   The inmate’s rapport with staff
is satisfactory.        The inmate presents well personally;
however, he/she fails to display any significant motivation
for
self-improvement.

POOR - The inmate consistently fails to meet staff expectations
as evidenced by poor quarters sanitation, personal hygiene,
negative interaction with staff/peers, or poor work reports.

4.   TYPE AND NUMBER OF MOST SERIOUS INCIDENT REPORT(S)

4. TYPE & NUMBER 0   = ANY GREAT (100) IN PAST 10 YRS 3(A)= 1 MOD     (300) IN PAST YR
   OF MOST 1 = > 1 HIGH (200) IN PAST 2 YRS 3(B)= >1 LOW MOD (400) IN PAST YR SERIOUS
   2(A)= 1 HIGH (200) IN PAST 2 YRS 4     =   l LOW MOD (400) IN PAST YR INCIDENT RPT
   2(B)= > 1 MOD (300) IN PAST YR       5   = NONE


Enter the points that reflect the most serious Incident
Report(s) received by the inmate. This is determined by using
the Institution Disciplinary Codes and Sanctions Severity
Scale. Points are assigned based on the most severe Incident
Report(s) for which the inmate has been found guilty by either
     Case 1:25-cv-01161-TJK     Document 2-8   Filed 04/16/25    Page 72 of 114
                                                          P5100.08
                                                        9/12/2006
                                               Chapter 6, Page 12
the Unit Disciplinary Committee (UDC) or the Discipline Hearing
Officer (DHO), within the specified time frames. Points are to
be assigned only for the current period of incarceration.

NOTE:        Disciplinary findings while an inmate is housed under
             BOP authority in non-BOP correctional facilities
             should be scored if received during the current
             period of incarceration unless there is documentation
             that the disciplinary proceeding(s) did not afford
             due process protection to the inmate.

Example: If an inmate has been found guilty of three HIGH
severity Incident Reports within the past two years, he/she
would receive a score of "1." If the inmate has only received
one HIGH severity incident report within the past two years, the
inmate would receive a score of "2(a)."

NOTE: Greatest severity Incident Reports merit a score of "0"
          regardless of the total number received in the last ten
          years.

The letter characters assigned to numerical scores 2 and 3 are
merely used to differentiate between these items which have
identical numerical values. The letter character is not used for
computation.

NOTE:        For supervised release, mandatory release, and parole
             violators, Incident Reports received during a
             previous period of confinement should be used, if
             they apply, for scoring "History of Escape or
             Violence,” and "Drug/Alcohol Abuse."   However,
             Incident Reports received during a previous period of
             confinement will not be counted when scoring "Type
             and Number of Most Serious Incident Reports" and
             "Frequency of Incident Reports" since this behavior
             occurred during a previous period of confinement. Only
             Incident Reports received during the current
             supervised release and parole violator term will be
             counted in these categories.

5.   FREQUENCY OF INCIDENT REPORTS

5. FREQUENCY OF               0 = 6+                  2 = ONE
   INCIDENT REPORTS           1 = 2 THRU 5            3 = NONE
   (IN PAST YEAR)


Enter the appropriate number of points that reflect
the frequency of Incident Reports.

This is determined by assigning points based on the number of
Incident Reports for which the inmate has been found guilty by
    Case 1:25-cv-01161-TJK         Document 2-8   Filed 04/16/25        Page 73 of 114
                                                                          P5100.08
                                                                         9/12/2006
                                                                Chapter 6, Page 13
either the Unit Discipline Committee or the Discipline Hearing
Officer during the past 12 months.

6. FAMILY/COMMUNITY TIES

6. FAMILY/COMMUNITY TIES   3 = NONE OR MINIMAL    4 = AVERAGE OR GOOD


Enter the number of points that reflect the level of family and
community ties. This is based on the inmate’s efforts to build,
maintain and strengthen family/community ties rather than the
unilateral efforts of the family/community to provide support
and assistance to the inmate. Consideration should be given to
the following:

•     Financial support (not to include FRP participation);

•     Visiting (consider inmate’s efforts in establishing
      visiting list, frequency of visits, and who is
      visiting);

•     Development of phone list with focus on
      family, employment, and community;

•     Sending and receiving regular correspondence;

•     Participation in Institution Release Preparation
      Program and institution sponsored mock job fairs;

•     Involvement in parenting program and other
      family oriented activities;

•     Contacts with social service providers to
      promote/enhance family stability (i.e., school guidance
      counselors, welfare workers, treatment providers);

•     Contact with Prisoner Visitation Services;

•     Participation in institution sponsored community
      service opportunities (i.e., Toys for Tots, Make a Wish
      Foundation, community gardens, Special Olympics); and,

•     Voluntary involvement with community activities.

Score each inmate based on his/her unique circumstances
while focusing on what the inmate does to maintain, build or
strengthen these ties. To best accomplish this, Unit Teams
should score this item at the custody review so input can be
gained from all classification team members and possibly
even the inmate.
     Case 1:25-cv-01161-TJK         Document 2-8        Filed 04/16/25   Page 74 of 114
                                                                               P5100.08
                                                                              9/12/2006
                                                                     Chapter 6, Page 14
Examples:

Inmates who demonstrate no initiative to further and/or
enhance relationships with supportive parents/spouse/children
should be scored as “none or minimal.” (e.g., visiting and
phone lists that do not include family members, no effort to
provide financial support for children);

Inmates with limited financial resources who have
parents/spouse/children living significant distances from
their designated facilities, and request to have these family
members placed on their visiting and phone lists, and send and
receive frequent letters from family and make phone calls to
them when funds are available.    These inmates score as
“average or good;” and,

Inmates with no surviving parents, siblings, spouse, or
children may receive an “average or good” rating by developing
contacts through Prisoner Visitation Services (PVS) and
participation in community based activities and community
service opportunities.

7.   CUSTODY TOTAL

7. CUSTODY TOTAL (ADD C. 1 - 6)


Add the points in items 1 through 6, Section C, and enter
the sum in this block.

8.   CUSTODY VARIANCE

8. CUSTODY VARIANCE (FROM APPROPRIATE TABLE ON BP-338, PAGE 2)


The Custody Variance adjusts the inmate's total security points
as specified in Tables 6-1(M) and 6-1(F) based upon the inmates
custody score. If the appropriate table indicates a value other
than zero the application of the Custody Variance will:

•     add points to the base score, thus raising the
      security level and increasing the custody (when
      the value is positive); or,

•     subtract points from the base score, thus lowering the
      security level and decreasing the custody (when the
      value is negative).
             Case 1:25-cv-01161-TJK                       Document 2-8        Filed 04/16/25                     Page 75 of 114
                                                                                                                  P5100.08
                                                                                                                 9/12/2006
                                                                                                        Chapter 6, Page 15
                                                               Table 6-1(M)

Male Custody                                                      CUSTODY TOTAL
Variance
Table
                    6     7        8        9        10    11     12    13    14       15       16       17        18       19    20    21    22

B S    0-11         +4       +4       +3       +3    +2    +1     +1    +1        0        0    -1       -1         -2      -3    -4    -5    -5
A C
S O    12-15        +4       +4       +3       +3    +2    +1     +1    +1        0        0        0    -1         -2      -3    -4    -5    -5
E R
  E    16-23        +8       +6       +5       +4    +4    +3     +2    +1    +1           0        0        0     -1       -1    -2    -2    -3

       24+          +8       +6       +5       +4    +4    +3     +2    +1    +1       +1           0        0         0    -1    -1    -2    -3


      Example: A male inmate has a Base Score of 17 points and a
      Custody Total of 11 points. By using the Custody Variance
      Matrix, the intersecting point for these two items is +3. Thus,
      +3 is the Custody Variance score that will be entered on
      Item 8, Section C.

                                                               Table 6-1(F)

Female                                                            CUSTODY TOTAL
Custody
Variance
                6        7        8        9        10    11     12    13    14       15       16       17        18       19    20    21    22
Table

B S   0-15      +15      +11      +7       +4       +3     +2    +1    +1     0        0        0        0         -2      -4    -8    -12   -16
A C
S O   16-30     +15      +11      +7       +4       +3     +2    +1    +1     0        0        0        0         0       -4    -8    -12   -16
E R
  E   31+       +15      +11      +7       +4       +3     +2    +1    +1     0        0        0        0         0        0    -1    -5    -8



      Example: A female inmate has a Base Score of 17 points and a
      Custody Total of 11 points. By using the Custody Variance
      Matrix, the intersecting point for these two items is +2. Thus,
      +2 is the Custody Variance score that will be entered on
      Item 8, Section C.

      9.     SECURITY TOTAL

       9. SECURITY TOTAL (ADD OR SUBTRACT CUSTODY VARIANCE (C.8) TO BASE SCORE (B.10))


      Apply the Custody Variance Score to the Base Score, and
      enter the result on Item 10, Section C.

      Example: An inmate has a Base Score of 16 and a Custody Variance
      Score of +4. By applying +4 to 16, a Security Total of 20 is
      obtained and entered on Item 9, Section C.
      Case 1:25-cv-01161-TJK        Document 2-8      Filed 04/16/25   Page 76 of 114
                                                                             P5100.08
                                                                            9/12/2006
                                                                   Chapter 6, Page 16
NOTE:          If the Custody Variance score is 0, the figure entered
               will be exactly the same as the Base Score. If the
               application of the Custody Variance to the Base Score
               results in a negative number, use 0.

10.     SCORED SECURITY LEVEL

 10. SCORED SECURITY LEVEL


An inmate's Security Level is determined by the Security Total
and any applicable Public Safety Factors (see Chapter 5).

11.     MANAGEMENT SECURITY LEVEL (MSL)

 11. MANAGEMENT SECURITY LEVEL


A Security Level which is entered by the DSCC or Central
Office upon application of any of the three MSL Management
Variables (PSF Waived, Greater Security, Lesser Security).
The MSL overrides the inmate’s scored security level. If there
was a previously entered MSL, it will automatically appear in
this position.

12.     CUSTODY CHANGE CONSIDERATION

To determine eligibility for a custody change, the following
procedures apply:

        •      If the Custody Variance Score (Section C, Item 8)
               is in the positive (+) range, consider a custody
               increase;

        •      If the Custody Variance Score (Section C, Item 8)
               is 0, the inmate's present custody is continued;
               or,

        •      If the Custody Variance Score (Section C, Item 8)
               is in the negative (-) range, consider a custody
               decrease.

                             SECTION D.        INSTITUTION ACTION

1.    TYPE OF REVIEW

1. TYPE OF REVIEW     (EXCEPTION OR REGULAR)


An inmate should be handled as an exception case if there is
documentation of the following:
     Case 1:25-cv-01161-TJK          Document 2-8   Filed 04/16/25   Page 77 of 114
                                                                           P5100.08
                                                                          9/12/2006
                                                                 Chapter 6, Page 17
      •      Public Safety Factors. Any inmate with a PSF. If the
             PSF has been waived the case is still considered an
             exception;

      •      Central Inmate Monitoring Assignment. An inmate with a
             CIM assignment, excluding state prisoners and
             separation cases; or,

      •      Other. The Warden may specify in writing other
             offenses or cases that require exception
             review.

If the inmate does not meet any of the above criteria the
“Type of Review” will be “Regular.”        For Regular Cases,
the Unit Team has authority to make custody assignments, and
the Unit Manager is the signature authority on the BP-338.
For Exception Cases, the Warden or designee is the approving
official and retains signature authority for the BP-338
whenever there is a decrease in custody.   Unit staff will
indicate on the BP-338 form the reason for the Exception Case,
only in those instances in which the unit team will make a
recommendation for a reduction in custody level.

2.   CURRENT CUSTODY

2. CURRENT CUSTODY (MAXIMUM, IN, OUT, COMMUNITY)


Checkthe proper code for the inmate's current custody:

      MAX = MAXIMUM, IN = IN, OUT = OUT, COM = COMMUNITY

3.   NEW CUSTODY

3. NEW CUSTODY   (MAXIMUM, IN, OUT, COMMUNITY)


Check the proper code for the inmate’s new custody:

      MAX = MAXIMUM, IN = IN, OUT = OUT, COM = COMMUNITY

As indicated below, the Custody Classification Form only
recommends; the final decision rests with the review authority.
With the exceptions noted previously in Item 1, Type of Review,
the Unit Team has the following options:
   Case 1:25-cv-01161-TJK   Document 2-8     Filed 04/16/25    Page 78 of 114
                                                                    P5100.08
                                                                   9/12/2006
                                                          Chapter 6, Page 18
                                Table 6-2

  BP-338 FORM                    CLASSIFICATION TEAM OPTIONS
  RECOMMENDS

    Custody                        Increase custody one level
  Increase(+)                                  or
     range             Continue same custody assignment and document why
    Custody                        Decrease custody one level
  Decrease(-)                                  or
     range             Continue same custody assignment and document why
   Continue                    Continue same custody assignment
Present Custody                               or
                               (Refer to the Warden, see below)


The custody level should normally be reduced or increased by
only one level (i.e., a reduction of IN would be to OUT, not to
COMMUNITY; an increase from COMMUNITY would be to OUT, not to
IN). However, an exception regarding increases can be made for
disciplinary cases involving prohibited acts of the Greatest
Severity or escape, provided it is justified by the Unit Team
in a memo to the inmate's central file with a copy to the
inmate.

Additionally, transfer to a CCC may require the custody
level to be decreased more than one level. If the inmate is
receiving a custody reduction solely for the purpose of
transferring to a CCC, a new Custody Classification Form
(BP-
338) does not need to be completed.     Approval for a decrease
to COMMUNITY custody is granted by virtue of the Warden’s
approval and signature on the Institution Referral for CCC
Placement (BP-210).

While it is mandatory that COMMUNITY custody be effected at the
time of transfer, it may not be appropriate to reduce the
inmate’s custody level prior to the date of transfer (e.g., it
would not be appropriate for an IN custody inmate at a MEDIUM
security level institution to have COMMUNITY custody while still
housed at the institution). In such cases, upon receipt of a CCC
acceptance date, a SENTRY future assignment would be established
for the date of transfer. The effective time for the reduction
would be 12:01 AM. An inmate must be assigned COMMUNITY custody
status prior to transfer to a CCC.

If the Custody Variance (Section C, Item 8) is zero (Continue
Present Custody), and the Unit Team believes that there is a
compelling reason to change the inmate's custody, the Unit Team
will refer the case to the Warden, who is the deciding
official.
     Case 1:25-cv-01161-TJK         Document 2-8   Filed 04/16/25        Page 79 of 114
                                                                           P5100.08
                                                                          9/12/2006
                                                                 Chapter 6, Page 19
4.   ACTION

4. ACTION:        (APPROVE, DISAPPROVE)


For exception cases only, the Warden or designee should check
the appropriate box indicating either approval or disapproval
of the Unit Team's decision.                       If the Warden
disagrees with the form, he/she will indicate the reasons on
the
338 form.              For regular cases, the Unit Manager will
take this action.

5.   DATE OF NEXT REVIEW

5. DATE OF NEXT REVIEW


Enter the month and year of the next scheduled review.

6.   CHAIRPERSON

 6. CHAIRPERSON
                                                    NAME AND SIGNATURE


The Unit Manager will print his or her name and sign the
form in the space provided.

7.   EXCEPTION REVIEW

 7. EXCEPTION REVIEW

                                                    NAME (WARDEN OR DESIGNEE) AND SIGNATURE


This item is reserved for the Warden or designee's printed
name and signature if the inmate is an exception case as
defined in Item 1 of this section. If the Warden or designee
disapproves, the reason will be documented on the Custody
Classification Form (BP-338) and a copy provided to the
inmate.

8.   SUMMARY OF FINAL ACTION

8. SUMMARY OF FINAL ACTION:                              SECURITY LEVEL

                                                                  CUSTODY


After all action is complete (exception cases signed off,
etc.,) the final outcome will be entered.   Upon completion,
the form is to be filed in the Inmate Central File, Section
2, and the appropriate custody assignment updated in SENTRY.
                          Case 1:25-cv-01161-TJK                                            Document 2-8                          Filed 04/16/25                          Page 80 of 114
                                                                                                                                                                            P5100.08
                                                                                                                                                                           9/12/2006
                                                                                                                                                                  Chapter 6, Page 20
BP-338 CUSTODY CLASSIFICATION FORM                                                                                                    U.S. DEPARTMENT OF JUSTICE
PAGE 1                                                                                                                                FEDERAL BUREAU OF PRISONS
            A         .                         I      D       E       N       T       I        F      Y       I     N        G                   D       A       T       A
 1. INSTITUTION               CODE                                               2 . UNIT                                                                                     3 . DATE

 4 . NAME                                                                                              5.     REGISTER       NUMBER
 6. MANAGEMENT            A - NONE                                                     G - CIMS                                        S - PSF WAIVED
    VARIABLES             B - JUDICIAL RECOMMENDATION                                  I - MED/PSYCH TREATMENT                         U - LONG TERM DETAINEE
                           D - RELEASE RESIDENCE/PLANNING                              N - PROGRAM PARTICIPATION                      V - GREATER SECURITY
                           E - POPULATION MANAGEMENT                                   R - WORK CADRE                                  W - LESSER SECURITY




 7.    PUBLIC                  A     - NONE                                                                          I   -   SENTENCE LENGTH (males only)
       SAFETY                  B     - DISRUPTIVE GROUP (males only)                                                 K   -   VIOLENT BEHAVIOR (females only)
       FACTORS                 C     - GREATEST SEVERITY OFFENSE (males                              only)           L   -   SERIOUS ESCAPE
                               F     - SEX OFFENDER                                                                  M   -   PRISON DISTURBANCE
                               G     - THREAT TO GOVERNMENT OFFICIALS                                                N   -   JUVENILE VIOLENCE
                               H     - DEPORTABLE ALIEN                                                              O   -   SERIOUS TELEPHONE ABUSE



                B         .                                        B       A       S        E                       S        C        O      R        I       N       G
  1. TYPE       OF DETAINER                     0 = NONE                                            3 = MODERATE                                  7 = GREATEST
                                                1 = LOWEST/LOW               MODERATE               5 = HIGH

  2. SEVERITY OF CURRENT                   0 = LOWEST                                               3 = MODERATE                                  7 = GREATEST
     OFFENSE                                  1 = LOW MODERATE                                      5 = HIGH

  3. MONTHS          TO    RELEASE

  4.    CRIMINAL          HISTORY               0 = 0-1                                             4 = 4-6                                       8 = 10-12
           SCORE                                2 = 2-3                                             6 = 7-9                                      10 = 13 +

  5. HISTORY OF ESCAPE                                     NONE         >15     YEARS       10-15 YEARS              5-10     YEARS       0 <5 YEARS
     OR ATTEMPTS                           MINOR           0                    1                1                           2                 3
                                          SERIOUS            0                  3(S)             3(S)                        3(S)             3(S)

  6.    HISTORY OF                                     NONE            >15     YEARS       10-15      YEARS         5-10     YEARS         <5 YEARS
         VIOLENCE                          MINOR          0                     1                    1                       3                5
                                          SERIOUS         0                     2                    4                       6                7

  7.    VOLUNTARY         SURRENDER         STATUS      0    = NOT       APPLICABLE                                      ( -3 ) = VOLUNTARY           SURRENDER


  8. AGE                                        0 = 55 and over                                     4 = 25 through           35
                                                2 = 36 through 54                                   8 = 24 or less

  9.    EDUCATION          LEVEL                0 = Verified High School Degree/GED
                                                1 = Enrolled in and making satisfactory progress in GED Program
                                                2 = No verified High School Degree/GED & not participating in GED                                                     Program

 10.    DRUG/ALCOHOL            ABUSE           0 = Never/>5            Years                       1 = <5 Years

 11. BASE       SCORE         (ADD    §B. ITEMS 1 - 10)

  C. CUSTODY SCORING
 1.    PERCENTAGE OF                                        3 = 0-25%                                                5 = 76-90%
        TIME SERVED                                         4 = 26 - 75 %                                            6 = 91+%

 2.    PROGRAM       PARTICIPATION                             0 = POOR                                              1 = AVERAGE                                  2 = GOOD

 3.    LIVING       SKILLS                                     0 = POOR                                              1 = AVERAGE                                  2 = GOOD

      4. TYPE & NUMBER                       0 = ANY GREAT (100) IN PAST 10 YRS                                        3(A) = 1 MOD        (300) IN PAST YR
           OF MOST                         1     = > 1 HIGH (200) IN PAST 2 YRS                                        3(B) = >1 LOW MOD (400) IN PAST YR
         SERIOUS                           2(A) =     1 HIGH (200) IN PAST 2    YRS                                  4      =  l LOW MOD (400) IN PAST YR
       INCIDENT RPT                       2(B) =   > 1 MOD   (300) IN PAST YR                                        5    = NONE

 5. FREQUENCY OF                                               0 = 6+                                                2 = ONE
    INCIDENT REPORTS                                           1 = 2 THRU 5                                          3 = NONE
    (IN PAST YEAR)

 6. FAMILY/COMMUNITY                   TIES                    3 = NONE OR MINIMAL                                   4 = AVERAGE           OR GOOD

 7. CUSTODY         TOTAL       (ADD      § C. 1 - 6)

 8.    CUSTODY       VARIANCE         (FROM     APPROPRIATE            TABLE    ON     BP-338,        PAGE     2)

 9.    SECURITY       TOTAL        (ADD    OR       SUBTRACT      CUSTODY      VARIANCE         (§    C.8)     TO   BASE     SCORE    (§    B.11)

 10.    SCORED       SECURITY          LEVEL                                                                 11.    MANAGEMENT        SECURITY        LEVEL
                     Case 1:25-cv-01161-TJK                     Document 2-8            Filed 04/16/25          Page 81 of 114
                                                                                                                 P5100.08
                                                                                                                9/12/2006
                                                                                                       Chapter 6, Page 21

BP-338 CUSTODY CLASSIFICATION FORM                                                  U.S. DEPARTMENT OF JUSTICE
PAGE 2                                                                               FEDERAL BUREAU OF PRISONS

                                                       SECTION D:         INSTITUTION ACTION
1.    TYPE OF REVIEW:              (EXCEPTION OR REGULAR)

2.       CURRENT CUSTODY:        (MAXIMUM, IN, OUT, COMMUNITY)

3.       NEW CUSTODY:         (MAXIMUM, IN, OUT, COMMUNITY)

4.   ACTION:                  (APPROVE, DISAPPROVE)

5.       DATE OF NEXT REVIEW

6.   CHAIRPERSON

                                                                                                  NAME AND SIGNATURE

7.       EXCEPTION REVIEW

                                                                                                  NAME (WARDEN OR DESIGNEE) AND SIGNATURE

8.       SUMMARY OF FINAL ACTION:                                         SECURITY LEVEL

                                                                                                 CUSTODY



                                CUSTODY CHANGE RECOMMENDATIONS BASED ON CUSTODY VARIANCE
IF CUSTODY           VARIANCE   IS IN THE      (+) RANGE                                CONSIDER A CUSTODY INCREASE

IF CUSTODY           VARIANCE   IS IN THE      (-) RANGE                                CONSIDER A CUSTODY DECREASE

IF CUSTODY           VARIANCE   IS ZERO                                                 CONTINUE PRESENT CUSTODY


Male Custody                                                                      CUSTODY
Variance
Table
                          6       7       8       9        10   11   12      13     14      15    16       17    18    19   20   21     22



  S         0 - 11        +4      +4      +3      +3       +2   +1   +1      +1     0       0     -1       -1    -2    -3   -4   -5     -5

B C         12-15         +4      +4      +3      +3       +2   +1   +1      +1     0       0     0        -1    -2    -3   -4   -5     -5
A O
S R         16-23         +8      +6      +5      +4       +4   +3   +2      +1     +1      0     0        0     -1    -1   -2   -2     -3
E E
            24 +          +8      +6      +5      +4       +4   +3   +2      +1     +1      +1    0        0     0     -1   -1   -2     -3



Female                                                                            CUSTODY
Custody
Variance
Table                     6       7       8       9        10   11   12      13     14      15    16       17    18    19   20   21     22



     S      0 - 15        +15     +11     +7      +4       +3   +2   +1      +1     0       0     0        0     -2    -4   -8   - 12   - 16

B    C
A    O      16-30         +15     +11     +7      +4       +3   +2   +1      +1     0       0     0        0     0     -4   -8   - 12   - 16
S    R
E    E      31 +          +15     +11     +7      +4       +3   +2   +1      +1     0       0     0        0     0     0    -1   -5     -8
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 82 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 7, Page 1


                            INMATE TRANSFER


TRANSFER PROCEDURES. Transfers (also known as redesignations)
are used to move inmates from one institution to another as
needed, with each type of transfer having a specific
objective. The following are some of the more frequent
reasons for a transfer:

    •     institution classification;
    •     nearer release;
    •     disciplinary/close supervision;
    •     adjustment;
    •     medical/psychological treatment;
    •     temporary transfers;
    •     training purposes/program participation;
    •     Institution Hearing Program;
    •     pre-release; and,
    •     transfers from CCC’s.
  After review and approval by the Unit Team, a transfer
request is submitted via the Request for Transfer/Application
of Management Variable (409) to the DSCC.   The procedures for
completing the 409 are outlined below and may only be waived
or modified with the approval of the Assistant Director,
Correctional Programs Division, Washington, D.C. or his/her
designee.

  1. Inmate’s Medical Status. Include current, complete, and
accurate available information concerning any medical problem
that might affect redesignation;

  2. Institution Adjustment. Include a brief description of the
inmate's adjustment during this period of incarceration with
emphasis on recent adjustment;

  3. Rational for Referral. Include a complete, specific
justification and support for the requested action;

  4. Parole Hearing Scheduled. Indicate whether or not the
inmate is eligible for a parole hearing. If yes, indicate the
date of the hearing. (See SALLYPORT for a current listing of
parole/non-parole institutions).

  5. Past or Present Behavior and/or Management Concerns. Note
any past or present behavior and/or management concerns which
may affect placement (i.e., history of arrests or disruptive
behavior
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 83 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 7, Page 2
which may not have resulted in a conviction, inmates
preference regarding this request, etc.).    Also note any
Security Threat Group concerns/associations. In addition, it is
necessary for staff to closely review each case submitted for
any CIM concerns. Any CIM concerns should be noted on the 409
if applicable.
However, it is not necessary for staff to route a Request for
CIM Activity Clearance with each transfer request since CIM
activity clearance is included in the redesignation for all
CIM assignments except WITSEC cases.    Redesignations between
same security level institutions are discouraged, except for
CIM purposes, nearer release purposes, or other unusual
circumstances. Copies of all transfer requests for Disruptive
Group Members will be forwarded to the Intelligence Section,
Central Office, via GroupWise upon approval of the transfer.
Additionally, the institution Special Investigative
Supervisor should also receive a copy of the transfer
request; and

  6. BP-337/BP-338 Discrepancies. Include a brief description
of any scoring changes between the BP-337 and BP-338.

  Complete all required information, then route the request
through normal institutional review channels for approval by
the CEO.           After approval by the CEO, it may be routed
to the DSCC Administrator from the unit’s mailbox.    The Unit
Team will enter the appropriate “DST” assignment (see below)
into SENTRY as confirmation that a redesignation request has
been submitted to the DSCC or OMDT.     Enter this SENTRY
assignment under the "DST" category using the “Update Inmate
Assignment” transaction.

     •    Enter “W REDES R” if the transfer request is
          for a routine transfer.

     •    Enter “W REDES M” if the transfer request
          requires a review by the OMDT (Medical
          Designator).

  Once the e-mail requesting redesignation is received,
DSCC staff will at a minimum review the following SENTRY
transactions to determine if the inmate is appropriate for
redesignation:

          CIM Clearance and Separatee Data;
          Inmate Load Data;
          Inmate Profile;
          Custody Classification Form;
          Security/Designation Data Form; and,
          Chronological Disciplinary Record.

  If the transfer is approved, DSCC staff will enter the
information and the appropriate destination (DST) assignment in
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 84 of 114
                                                          P5100.08
                                                         9/12/2006
                                                 Chapter 7, Page 3
SENTRY on the “Enter Redesignation” screen and will also note
the approved institution transfer code. The method of
transportation is at the discretion of the Warden.     Should a
change in DST be required, DSCC staff will make the change in
SENTRY prior to the inmate’s arrival at the designated
institution.

  If the transfer is denied, DSCC staff will indicate the
denial on the “Update Inmate Remarks” screen and will also
delete the “W REDES” from SENTRY. Unit staff should closely
monitor SENTRY for deletions of the “W REDES” transaction.

1. INSTITUTION CLASSIFICATION TRANSFERS. These transfers are
typically referred to as either “Lesser Security” (Code 308)
transfers or “Greater Security” (Code 307) transfers.

  a.    Security Level Changes

         (1) When a decrease in the inmate’s security level is
       indicated by the Custody Classification Form, transfer
       of the inmate to a lower security level institution
       should be considered.

         (2) Likewise, an increased security level may be
       indicated in a similar fashion.   The security total may
       increase to a higher security level range.

  If an updated security scoring, combined with Public Safety
Factors, indicate that an inmate is rated at a different
security level, the inmate must be referred to the DSCC for
either transfer or application of a Management Variable.    For
example, if an inmate in a Low security level institution is
reclassified to Minimum security, the case must be referred for
transfer or application of a Management Variable. If transfer is
denied, DSCC staff will apply an appropriate Management Variable
and add a Management Security Level, if applicable.

  b. Custody Level Changes. During an inmate's custody review,
a custody level may be increased or decreased (ordinarily, only
one level at a time) indicating a transfer is appropriate. For
example:

         (1) A Medium security level inmate has OUT custody,
       and becomes eligible for COMMUNITY custody. If the Unit
       Team decides to reduce custody, the inmate would normally
       be referred for redesignation to a Low or Minimum
       security level facility, since Medium security level
       institutions do not house COMMUNITY custody inmates. If
       approved for transfer by the DSCC, the Management
       Variable of Lesser Security will be applied and the
       Management Security Level will be changed accordingly.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 85 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 7, Page 4
       (2) An inmate's transfer to a higher security
     institution could be triggered by an increase in custody
     needs. For example, a Medium security level inmate with
     IN custody becomes eligible for a custody increase. The
     team agrees to increase the custody to Maximum.      Since
     Medium security level facilities are not authorized to
     house Maximum custody inmates, the inmate must be
     referred for transfer to a High security level
     institution and the MSL changed in accordance with the
     application of an MGTV.

2. NEARER RELEASE TRANSFERS (Code 313). Nearer release
transfers move the inmate closer to their legal residence or
release destination, consistent with their security level.
Inmates may be considered for a nearer release transfer only
after serving 18 consecutive months of clear conduct in a
general population. Nearer release transfers should be
incorporated with “Lesser Security” transfers whenever
possible. Once the inmate has been transferred within 500
driving miles of his or her release residence, no further
referrals will be made for nearer release transfer
consideration. further referrals can be considered for nearer
release transfer consideration subject to bed availability, the
prisoner’s security designation, the prisoner’s programmatic
needs, the prisoner’s mental and medical health needs, any
request made by the prisoner related to faith- based needs,
recommendations of the sentencing court, and other security
concerns of the Bureau of Prisons.

Transfer to a facility in an area other than the inmate's
legal residence or sentencing district may be considered by
the inmate's Unit Team provided the inmate can provide strong
evidence of community and/or family support. Institution staff
should use sound correctional judgment when reviewing such
requests for transfer to ensure the transfer is consistent
with guidelines established in this chapter.

Inmates with an Order for Deportation, an Order of Removal, an
ICE detainer for an unadjudicated offense(s) or an ICE
detainer for a hearing will not be transferred for nearer
release purposes since they will be returning to the community
outside, rather than inside, the United States upon release.

3. WITSEC TRANSFERS. All movement of Witness Security cases is
coordinated exclusively through the Inmate Monitoring Section
of the Correctional Programs Branch, Central Office. Witness
Security cases will not be transferred without authorization
from that office.      Witness Security inmates who require
medical or mental health treatment at a medical center must
also be approved by the Medical Designator.

  If the inmate is classified as a WITSEC case, a copy of the
medical referral will be sent simultaneously to the Inmate
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 86 of 114
                                                         P5100.08
                                                        9/12/2006
                                                Chapter 7, Page 5
Monitoring Section (IMS) and the Medical Designator. The Inmate
Monitoring Section will coordinate with the OMDT regarding an
appropriate placement. Placement will be based on available
medical resources, security needs, bed space availability, and
the inmate's need for medical care. IMS will enter activity
clearances for WITSEC cases.

4. DISCIPLINARY/CLOSE SUPERVISION TRANSFERS (Codes 309/323). An
act(s) of documented institution misconduct may result in an
inmate’s transfer to another institution, normally of greater
security, for disciplinary reasons. Wardens may recommend same
security level transfers only when placement at a greater
security level institution is not possible or other overriding
circumstances exist.

  Disciplinary or Close Supervision transfer requests will
be sent electronically to the DSCC Administrator and contain
the following information:

     (a)   Request for Transfer/Application of
           Management Variable (must be thorough and
           specific);

     (b)   Close Supervision investigation report, if
           requested; and,

     (c)   Intelligence data or supporting memorandum
           if requested.

 Institution staff should carefully review the management of
309/323 cases on an individual basis, applying sound
correctional judgment that considers the safety and security
of the inmate, the institution and its staff and the
community.

5. ADJUSTMENT TRANSFERS (Code 330). All transfer referrals
submitted as Code 330 transfers for adjustment purposes will be
reviewed by the DSCC. Adjustment purposes transfer requests will
be sent electronically to the DSCC Administrator via Form 409.
DSCC staff will ensure that the transfer does not meet the
requirements of an unverified protection transfer, Code 323.

6. MEDICAL AND PSYCHIATRIC TRANSFERS (Codes 331-336 and
338, 339). Medical designations and transfers are approved by
the Central Office Medical Designator, Office of Medical
Designations and Transportation (OMDT). The Central Office
Medical Designator assigns inmates to Medical Referral
Centers (MRC), institutions with medical resources, or non-
Bureau community care centers to provide needed medical
services.
Medical redesignations are initiated for inmates with acute
medical, surgical, or psychiatric condition, or for those
inmates who have chronic care needs that cannot be addressed at
the parent institution. Transfers will be classified as either
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 87 of 114
                                                         P5100.08
                                                        9/12/2006
                                                Chapter 7, Page 6
(a) Emergency, (b) Routine/Urgent, or (c) Routine.

  If an inmate objects, either in writing or through his or her
attorney, to a transfer for psychiatric/mental health treatment,
the provisions of 18 U.S.C. § 4245 may apply. Staff will suspend
transfer action in such cases and refer the matter to their
Regional Counsel for review. The Regional Counsel will notify
the institution when the transfer action can be re-instituted.

  a. Emergency Transfer - An emergency transfer is a
medical, surgical, or psychiatric situation determined by
medical/mental health staff that requires immediate, direct
transportation.
This includes inmates not medically or psychiatrically capable
of transport via routine BOP air/surface transportation, e.g.,
bus, commercial air, or USMS/Bureau airlift. Direct
transportation is defined as air ambulance, air charter, or
ground ambulance and, in some instances, an institution
vehicle may be utilized.

  b. Routine/Urgent Transfer - A routine/urgent transfer is
initiated for medical, surgical, or psychiatric treatment
that is not an emergency, however must be transported
directly to a MRC, typically within two to three weeks of
designation.

Routine urgent transfers require direct transfer to the MRC
because of the acuity of their medical, surgical, or
psychiatric condition, or because MRC-based services need to be
initiated within an appropriate time frame. Holdover housing at
a county jail or Bureau general population institution is not
permissible.

  c. Routine Transfer - A routine transfer is initiated
for medical, surgical, or psychiatric treatment that is
not an emergency and time en-route is not a major factor.
      Routine transfers may travel by any available means.

  d. Procedures for Initiating Emergency, Routine/Urgent,
and Routine Transfer Requests.                 All transfer
requests for medical, surgical, or psychiatric designations
will be initiated via GroupWise on the Medical/Surgical and
Psychiatric Referral Request Form (BP-770) available on
SALLYPORT.                  The HSA, with input from the
Clinical Director and other providers involved with the
inmate’s care (e.g., mid-level providers, psychologists,
consultant physicians), is responsible for completing the BP-
770. The referring institution Warden must review the BP-770
and authorize the request for transfer.

The BP-770 serves as the redesignation, transportation, and
security worksheet from which the actual redesignation is
made. It will also serve as the emergency referral request
form, documentation of the inmate’s condition and the reason
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 88 of 114
                                                         P5100.08
                                                        9/12/2006
                                                Chapter 7, Page 7
for transfer. Accordingly, it is essential that the BP-770 be
completed thoroughly and accurately.
The Medical Designator will review each request for
redesignation and approve or deny the requested transfer. Based
on clinical information and in consultation with the Medical
Director, the Medical Designator may change the urgency level of
the request.

OMDT will authorize CIM clearance (if appropriate) and enter
approved transfers to an appropriate BOP facility in SENTRY on
the “Enter Redesignation” screen.

  e. Completion of Treatment - All requests for
redesignation to the parent facility upon completion of
Medical/Surgical or Psychiatric treatment, or to another
medical facility for continuation of treatment, will be
initiated by the facility currently housing the inmate via
GroupWise on the Discharge Transfer Summary form. This form
serves as the designation, transportation, and security
worksheet from which the redesignation is made.

Medical cases are normally returned to their parent facility
unless the DSCC approves a change in the parent facility based
on clinical justification provided prior to redesignation by
the Medical Designator.

7. TEMPORARY TRANSFERS. It is sometimes necessary to
temporarily transfer an inmate to a contract facility or other
Bureau institution. This is normally for security reasons, when
the current institution does not have a Special Housing Unit. In
such cases, institution staff will forward a request for
temporary transfer approval from the Warden to the DSCC. The
request will include the rationale for transfer, with assurance
that the receiving facility is in agreement with the temporary
transfer. Transfer approval must be obtained prior to the
transfer during normal working hours, or if after hours, the
next work day.       A copy of this request will be routed to the
appropriate CCM office, if the transfer is to a contract
facility.

8. TRANSFERS FOR TRAINING PURPOSES OR PROGRAM PARTICIPATION.
An inmate is ordinarily only transferred for specialized
national programs not offered at the parent facility to
include:

     (a)   Residential Drug Treatment Program;
     (b)   Life Connections Program;
     (c)   Special Management Unit; and
     (d)   Sex Offender Programs.
When placement for program participation is inconsistent with
the assigned security level, the appropriate Management Variable
must be applied by the DSCC. Ordinarily, the inmate will be
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 89 of 114
                                                        P5100.08
                                                       9/12/2006
                                               Chapter 7, Page 8
returned to the referring institution upon completion of the
specialized training or program if the inmate has 18 months or
more remaining until the inmate’s release date at the time of
the transfer. Further, if the program facility is nearer to the
inmate’s release residence, than is the referring institution,
the inmate may remain at the program facility.

9.   INSTITUTION HEARING PROGRAM TRANSFERS. The Institution
Hearing Program (IHP) is a coordinated effort by the Bureau,
ICE, and the EOIR to provide deportation or exclusion
proceedings to sentenced aliens as expeditiously as possible
after the date of conviction.                Eligibility,
designation, classification, and transfer procedures are
specifically outlined in Bureau directives. IHP sites have been
established for male and female non-U.S. citizens who are
serving federal sentences to ensure a deportation or exclusion
hearing is conducted early in their sentence instead of at the
end of their sentence.

10. TRANSFERS TO SATELLITE CAMPS. The Warden of an institution
with a satellite camp may transfer an inmate from the main
institution to the camp if the inmate is assigned an
appropriate security and/or custody level. The Camp
Administrator of a satellite camp adjacent to a Low or Medium
security level institution may temporarily transfer the inmate
to the main institution for disciplinary purposes (i.e.,
disciplinary segregation).          If a need for an immediate
redesignation arises, the inmate may be placed as a holdover in
Administrative Detention at the main institution while approval
is sought from the DSCC for redesignation to that institution
or another institution.

An inmate may travel via “unescorted transfer” from a low or
minimum security level institution to a minimum security level
institution if the inmate is a minimum security level inmate
and has OUT or COMMUNITY custody.                  The inmate’s
family (on the approved visiting list) may provide
transportation to the receiving institution only if the inmate
is transferring from a minimum security level institution to
another minimum security level institution, and if approved by
the Warden.                    The inmate’s family is expected
to bear all transportation costs.                  The inmate
must go directly from the sending institution to the receiving
institution.

  The Warden may authorize clearance for the transfer of a CIM
Case, with the exception of WITSEC cases, to the satellite camp
of the parent facility provided established regulations for
regular transfer authority have been met. (Refer to the CIM
Manual for more specific details).
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25     Page 90 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                            Chapter 7, Page 9
11. PRE-RELEASE TRANSFERS. Inmates in federal and contract
institutions may be transferred to CCCs in accordance with the
Program Statement Community Corrections Center (CCC)
Utilization and Transfer Procedure.    Inmates who have been
approved for CCC referral and are otherwise appropriate for
camp placement are to be transferred to a camp for intermediate
placement if at all practicable. Inmates should be encouraged
to complete all or most of the Institution Release Preparation
Program at the parent institution prior to transfer.

  The parent institution is to complete the CCC referral packet
and the camp should be closer to the inmate’s release residence.
This process should be completed to allow the inmate a minimum
of a 60-day placement at the camp prior to the reporting date at
the CCC. CCC referrals may be made 12 to 18 months in advance of
an anticipated reporting date with the concurrence of local CCM
offices. A notation that the CCC referral was made with a
specific projected placement date should be included in the
request for institution transfer, and the transfer request
should be prepared at the same time as the CCC referral.

12. TRANSFERS FROM CCC’S. When an inmate fails to meet the
conditions of CCC placement, the CCM should designate the
inmate to the parent institution with consideration given
to the following criteria for designation:

     (a)   local manday detention rates;
     (b)   availability of Bureau Detention Centers;
     (c)   budgetary constraints;
     (d)   projected release date; and,
     (e)   distance to parent facility.
  When returning the inmate to the parent institution is not
cost effective, the Community Corrections Office will refer the
case to the DSCC for designation.               DSCC staff, will
make the designation, and should consider the closest
institution commensurate with the inmate’s security needs. When
the DSCC designates the inmate to a facility, DSCC staff will
notify the parent institution to facilitate the forwarding of
the central file.

13. LONG-TERM DETAINEES. The authority for the redesignation of
long-term detainees rests with the Detention Services Branch,
Correctional Programs Division, Central Office. Refer to the
current Program Statement Mariel Cuban Detainees for transfer
procedures. Transfers for medical or mental health treatment
however, shall be referred to the Central Office Medical
Designator. Mariel Cubans who are sentenced, and therefore not
detainees, are handled in a routine fashion by DSCC staff.
      Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 91 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                           Chapter 7, Page 10
14.     IN-TRANSIT DATA FORM

  a. Upon notice that an inmate is being transferred or
temporarily released to an authorized law enforcement
officer (e.g., U.S. Marshal, state law enforcement officer,
or Bureau bus officer), the Unit Manager will ensure the
following:

        •    The top portion of the SENTRY automated In-
             Transit Data Form is accurate and the bottom
             portion is completed;

        •    CIM, YCA, DCYRA and any other important information
             is included in the space for "Non-Routine Security
             Needs;"

        •    CIM separation information is accurate, up-to-date
             and the SENTRY generated "CIM Clearance and Separatee
             Data" is attached to the In-Transit Data Form; and,

        •    The In-Transit Data Form is signed, dated, and
             forwarded to ISM staff who will attach a
             current inmate photograph and provide the form
             to the transporting officer.

NOTE:        The most recent In-Transit Data Form is maintained in
             the Inmate Central File. The “CIM Clearance and
             Separatee Data” display will not be filed with the
             In-Transit Data Form.

  b. Upon receipt of the In-Transit Data Form, ISM
staff will ensure the following:

        •    The information indicated on the top portion of
             the form is correct.    SENTRY update functions
             should be executed in the event that the data is
             not accurate;

        •    The Sentencing Remarks should include the offenses
             and the length of sentence as noted on the
             Judgment.
                                                                           If
             this information is not accurate, the load data
             should be updated;

        •    The Detainer Remarks should indicate all active
             detainers and the charge or offense. If the detainer
             has been litigated, information regarding the
             sentence imposed or time remaining to serve should
             be listed.
             If this information is not current, the
             commitment should be updated; and,
      Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 92 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                           Chapter 7, Page 11

       •     Initials are placed below the detainer remarks
             indicating that the information has been
             confirmed and is accurate and up-to-date.

15. TRANSFER CODES. The reason for transfer, as shown by one of
the codes listed at the end of this chapter, must be provided in
the top portion of the Transfer Order. If there is more than one
reason for transfer, the most pertinent code should be used.
Note that all Unescorted Transfers are Discharge Code -
FURL TRANS for Furlough Transfer.

16.    SPECIAL REQUIREMENTS

  a. An inmate having a detainer or pending charge may be
transferred to any institution for which he or she properly
classifies; however, generally when there is a formally filed
detainer, the inmate is not to be transferred to an
institution more distant from the detaining authority unless
there is substantial reason to believe the detainer will be
dropped or the pending charge will not be prosecuted.

  An inmate who indicates an intention to oppose extradition is
not to be transferred within the last 30 calendar days prior to
release to an institution in the state that placed the
detainer. Such cases, and others in which there are legal or
jurisdictional problems, are to be referred to the Regional
Correctional Programs   Administrator (See Program Statement
Inmate Systems Management Manual.

  b. When there is reason to transfer an inmate to a non-
federal institution for concurrent service of federal and
state sentences, the Warden will refer the case to the DSCC
Administrator. Refer to the Program Statement, Transfer of a
Prisoner to State Custody Prior to Release from the Federal
Sentence, for procedures.

17.    RELATIONSHIPS WITH OTHER AGENCIES

  a. U.S. Parole Commission. Parolable inmates must be housed
at a parolable institution in accordance with their parole
hearing requirements unless a hearing is no longer required.

  b. Administrative Office of the U.S. Courts. The court of
conviction may recommend to the Attorney General or the Bureau
that the defendant be retained at, or transferred to, a place
of confinement near the place of trial or the court of appeals,
for a period reasonably necessary to permit the defendant to
assist in the preparation of his or her appeal. Upon receiving
this recommendation, the Bureau will make every effort to place
the inmate in such a facility.            If a reason exists for
not placing the inmate in that facility, the court must be
notified of the situation and an attempt will be made to arrive
at an acceptable place of confinement.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 93 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 12
  Ordinarily, complicated jurisdictional or legal problems
should be resolved before transfer. Ordinarily, the sending Case
Management Coordinator will determine if an inmate has legal
action pending in the district in which confined. If so, the
individual should not be transferred without prior consultation
with the appropriate U.S. Attorney or Regional Counsel, or both.
Under Rule 23(a) of the Federal Rules of Appellate Procedures,
an inmate may not be transferred, pending review of a Habeas
Corpus proceeding commenced before a court, without the approval
of the court.
        Approval for transfer should be sought through the U.S.
Attorney or Regional Counsel in cases where a Habeas Corpus
petition is pending.

  c. Non-Federal Authorities. The decision to accept a state
prisoner in the Bureau is the responsibility of the DSCC
Administrator. When notifying the state authority of acceptance,
the state's contract code will be identified.

  The Office of Procurement, Central Office is responsible
for negotiating contracts for housing state prisoners. If it
is necessary to transfer a federal inmate to a local jail,
the sending institution must immediately notify the U.S.
Marshals and the CCM, preferably prior to the transfer.

  d. Military Inmates. The DSCC will accept a military or Coast
Guard inmate recommended for transfer to federal custody if,
after examination of all available information, the Bureau
can provide appropriate resources for the inmate's needs. The
DSCC will be responsible for the designation and redesignation
of all military and Coast Guard inmates accepted for service
of their sentence in Bureau custody.

  In some cases, special agreements or Memoranda of
Understanding (MOU) have been established with various
military branches.
These MOUs give direction to Bureau staff regarding which Bureau
regulations and policies apply to the military inmates. Pursuant
to 10 U.S.C. § 858, staff should be aware that military or Coast
Guard inmates confined in Bureau institutions are subject to the
same discipline and treatment as other inmates in those
institutions.

  Additionally, the Bureau will accept the sentence computation
provided by the military or Coast Guard authorities with the
exception that the Bureau will release such inmates, if not
paroled, under the provisions of 18 U.S.C. § 4164 provided they
have accrued good time deductions in excess of 180 days. DSCC
staff will refer to the appropriate military or Coast Guard
authorities for resolution of suspected sentence computation
errors or discrepancies, or challenges to the sentence
computation by the inmate or his or her representative, or both.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 94 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 13
  Once a military inmate comes into Bureau custody, all
notifications and requirements apply as if he or she were a
Bureau inmate, i.e., VWP notification, VCCLEA notification,
Sex Offender Notification, and IFRP requirements. Notification
to the military is also required at least 30 days prior to
the inmate’s release.

18. STATE PLACEMENT. Inmates who have exhausted available
resources within the Bureau, should be referred for placement
in an appropriate non-federal facility under contract with the
Bureau. Preparation of a transfer referral to merely “exhaust"
all BOP resources is not required when the inmate is clearly
not appropriate for any facility within the Bureau.

  a. Placement Procedures. The Warden will prepare a memorandum
to the DSCC Administrator outlining the reasons for state
placement of a federal inmate. This memorandum will be forwarded
along with supporting documentation and classification material
that will, at a minimum, include the following:

     (1) Presentence Investigation Report;

     (2) Two copies of the Judgment;

     (3) Relevant SENTRY data;

     (4) Current Progress Report; and,

     (5) Any Disciplinary or SIS Reports.

  If the DSCC Administrator approves an inmate for state
placement, DSCC staff will select a state correctional
system for referral.                              The system
selected will be based on the type of facilities within the
system; available bed space; court status (state systems that
are under injunction because of overcrowding or violations of
inmates' civil rights will not be used), and the state’s
willingness to accept federal boarders.           Once a suitable
state correctional system has been identified, DSCC staff will
forward the transfer packet to the appropriate Community
Corrections Regional Administrator, overseeing the state in
which the DSCC Administrator has identified for possible
placement.
DSCC staff may make up to two referrals per inmate at a time,
and continue this process until an appropriate placement is
secured. The CCRA will work through the local CCM office which
will refer the case for state placement.     The CCM office will
advise the CCRA of the response from the state
authority/Department of Corrections.    If approved for
placement, the CCRA will initiate SENTRY redesignation
procedures, and forward the inmate file to the CCM office. If
not approved for placement the CCRA will
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 95 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 14
advise the DSCC Administrator, who will continue to secure a
suitable state placement.

  The CCM office with state monitoring authority in which the
inmate is eventually housed assumes full responsibility for the
inmate, including biennial reviews and subsequent transfer
authority. State placement materials containing, at a minimum, a
Progress Report, Presentence Investigation Report, and all
memoranda pertaining to the state placement, will be forwarded
to and maintained by the CCM office after the inmate has been
approved for placement.

  If an inmate is approved for permanent return to the Bureau,
the place of confinement will be determined by the DSCC. If an
inmate is returned to the Bureau for medical treatment, the
inmate will be returned to the state when the medical
treatment is completed.                    Occasionally,
returning the inmate to the originating state may not be
appropriate.   In such cases, the DSCC will obtain a new place
of incarceration for the inmate, after consultation with the
Office of Medical Designation and Transportation.

  b. Post-Placement Monitoring. After a federal inmate has been
placed in a state contract facility, the appropriate CCM will
review the case every two years beginning from the date of the
inmate’s arrival to determine whether the inmate is still
appropriate for state placement. The CCM's cover memorandum
containing a recommendation and a Progress Report provided by
the state contract facility will be forwarded to DSCC staff who
will make a determination for continued state placement or
return to Bureau custody.

  If the inmate requires continued placement in that state
facility, DSCC staff will enter a notation on the SENTRY “CIM
Clearance and Separatee Data” screen indicating such. However,
if state placement is no longer necessary, the inmate will be
redesignated to Bureau custody by the DSCC.

  Inmates serving a sentence of Death will also be reviewed for
continued state placement. Information received from Community
Corrections staff during the review of the contract may be used
to make a determination for continued state placement.

  The DSCC is responsible for monitoring and tracking state
placement requests received from BOP institutions. The CCRA will
prepare a quarterly report (statistical/narrative) which will be
forwarded to the DSCC Administrator.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 96 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 15
19. SECONDARY DESIGNATION. Upon initial designation, an inmate
may be designated specifically for a parole hearing or program
participation, and as a result, may require a secondary
designation upon completion of the activity. If upon completion
of the activity, staff determine that the secondary designation
is no longer appropriate, the DSCC will be notified for
reconsideration. Otherwise, when the conditions of the initial
designation are met, institution staff will prepare a Transfer
Order for signature of the sending institution Warden and
arrangements will be made for movement of the inmate through
routine procedures.

A secondary designation will not normally be made for cases
designated for medical or psychiatric treatment. The medical
center or reviewing institution will notify the Medical
Designator upon completion of evaluation or treatment. Approval
will be given for a secondary designation at that time. This
approval will be based on medical requirements of the inmate
and resources of the secondary designation.

20. POPULATION MANAGEMENT. The Assistant Director, Correctional
Programs Division periodically reviews each institution’s Rated
and Designation Capacities. Occasionally, it is necessary to
impose a moratorium or population cap on a particular
institution to avoid or reduce overcrowding. The Assistant
Director, Correctional Programs Division, with the approval of
the Population Management Subcommittee of the Executive Staff,
may impose a moratorium on other facilities including the
Medical Referral Center general population units. The Assistant
Director, Health Services Division, with the approval of the
Population Management Subcommittee of the Executive Staff, may
authorize a moratorium or population cap for Medical Referral
Centers (excluding general population).

  a.   Referral Procedures

     (1) The Warden of the institution recommends to
the Regional Director that a moratorium or population
cap be established.

     (2) The Regional Director reviews the request, and if
in agreement, contacts the Assistant Director, Correctional
Programs Division, or the Assistant Director, Health
Services Division, and either requests a population cap or
total moratorium.

  A population cap places a ceiling on the number of inmates
that can be designated to a facility. A total moratorium is
defined as a complete cessation of all initial designations
and redesignations to an institution or DFCL assignment.
      Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 97 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                           Chapter 7, Page 16
  In extreme circumstances, the Assistant Director, Correctional
Programs or Health Services Division with concurrence of the
Subcommittee may direct that inmates en route to a facility be
redesignated. When a moratorium or population cap is imposed, a
termination date will be established. The cap or moratorium will
be terminated on that date unless the Regional Director contacts
the appropriate Assistant Director, Correctional Programs or
Health Services Division, and obtains an extension.

     (3) The appropriate Assistant Director will issue
a GroupWise e-mail notifying the DSCC Administrator and
Chief Executive Officers of the cap or moratorium.

21.    INSTITUTIONS WITH SPECIAL MISSIONS

  a. FCI Oakdale. The Bureau, ICE, and the Executive Office for
Immigration Review (EOIR) work closely together to meet the
requirements of the Immigration Reform and Control Act of 1986,
by ensuring the expeditious review of criminal aliens for
deportation. Beds are available for federally sentenced aliens,
who are subject to administrative proceedings under the
Immigration and Naturalization Act. Such inmates are transferred
to FCI Oakdale for disposition of their ICE detainer prior to
completion of their federal sentence.

  Mexican and Cuban nationals are not eligible for the Oakdale
Criminal Alien Program. The following procedures apply for the
actual selection and designation of inmates to the Oakdale
Criminal Alien Program.

     (1) The ICE Officer in Charge at FCI Oakdale will monitor
the inmate male population via SENTRY to identify criminal
aliens appropriate for the program at FCI Oakdale.    After they
have been identified, ICE staff will place a detainer on these
individuals through the DSCC.                Each week DSCC staff
will compile a list of the criminal aliens who are to be
released within the next year. A courtesy list will be
submitted, via GroupWise, to FCI Oakdale for monitoring
purposes.

     (2) ICE staff at FCI Oakdale will forward to DSCC staff
information on alien inmates via GroupWise to assist in the
movement of inmates to FCI Oakdale at a later date. The movement
of inmates to FCI Oakdale will be authorized and coordinated by
the DSCC. DSCC staff will ensure CIM clearance is obtained and
the Custody Classification form reflects appropriate use of any
Management Variable.

     (3) Inmates will be redesignated no later than seven
months from a firm projected release date. Once approved for
transfer,
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 98 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 17
institution and transportation staff will immediately schedule
the inmate for movement to FCI Oakdale. Institution staff will
notify the Oakdale CMC if the inmate is not en route within 15
working days of the transfer approval. The central file should
contain a current Progress Report and all pertinent case
management activities should be completed prior to transfer
including fines and the ordering of parole certificates, when
applicable, or preparation of other release documents as
required.

     (4) ISM staff will ensure any other detainers lodged
against those inmates approved for transfer are resolved and
the detaining authority notified before the inmate is
transferred to FCI Oakdale.

     (5) Because of unforeseen circumstances, some criminal
aliens may be inappropriate for transfer to FCI Oakdale. ICE
staff at FCI Oakdale will notify DSCC staff when this occurs
and will advise of any additional action necessary to
coordinate the resolution of the inmate's citizenship/release
status. Conversely, institution staff are to contact DSCC staff
if they believe a transfer should not occur.              If the
transfer is deemed inappropriate, DSCC staff will delete the
Oakdale "DST" transfer approval.

     (6) The Detention Services Branch, Correctional
Programs Division, Central Office will assist with
coordination of the Oakdale Criminal Alien Program and will
act as the primary liaison with ICE and EOIR Headquarters on
matters of mutual interest affecting the program's
development and/or modification. Any questions regarding
these matters should be directed to that office.

  b. USP Marion/ADX Florence. USP Marion/ADX Florence general
population units are designed for male inmates who have
demonstrated an inability to function in a less restrictive
environment without being a threat to others, or to the secure
and orderly operation of the institution.

     (1) Referral Procedures and Criteria. Prior to referring
an inmate to USP Marion or ADX Florence, redesignation to
another high security institution should be considered first.
          If transfer to another institution is not
appropriate, Wardens will refer the proposed USP Marion or ADX
Florence case to North Central Regional Director. The North
Central Region will designate the inmate as appropriate.

  Assignment to USP Marion or ADX Florence will ordinarily be
made without regard for such factors as release destination or
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 99 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 18
program needs, such as education and vocational training. Prior
to transfer to USP Marion or ADX Florence, staff at the sending
institution will ensure that the inmate is assigned Maximum
custody. While in transit to USP Marion or ADX Florence, inmates
will be housed and provided visiting, correspondence, and
telephone privileges as if confined at USP Marion or ADX
Florence.

  Inmates currently diagnosed as suffering from serious
psychiatric illnesses should not be referred for placement at
either USP Marion or ADX Florence.

     (2) Referral Packet for USP Marion or ADX Florence. The
referral packet for either USP Marion or ADX Florence general
population will include the following items:

       (a) A memorandum from the Warden to the North
Central   Regional    Director  with  the   specific
rationale       supporting     the     institution's
recommendation;

       (b) Copies of all disciplinary reports,
investigative materials or other official documentation
related to the behavior prompting the referral;

       (c)   A current Progress Report;

       (d) A copy of the inmate's latest Presentence
Investigation Report; and,

       (e)   A recent psychiatric or mental health evaluation.

     Inmates with severe or chronic behavior patterns that
cannot be addressed in any other Bureau institution should be
referred to ADX Florence general population, and those who
are somewhat less problematic should be referred to USP
Marion. In describing the reasons underlying the referral, the
Warden should explain why he or she has selected USP Marion
or ADX Florence, respectively.

     (3) Acceptance or Rejection of Referrals. The North
Central Regional Director has final review authority for
referrals to the USP Marion and ADX Florence general
population units.                                In some cases,
the Regional Director may approve placement at USP Marion
when a referral has been submitted for ADX Florence and vice
versa.

     A response to a recommendation for USP Marion or ADX
Florence placement will ordinarily be made by the North Central
Regional Director within 60 calendar days after receiving the
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 100 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 19
referral packet from the referring institution. Approval or
denial will be noted in SENTRY on the inmate's “CIM
Clearance and Separatee Data” screen, with a brief
memorandum from the North Central Regional Director to the
requesting Warden to follow.

     (4) Transfer from USP Marion or ADX Florence. Once an
inmate successfully completes the USP Marion or ADX Florence
program, the Warden will submit a transfer request to the North
Central Regional Director. Upon the North Central Regional
Director’s approval the request will be forwarded to the DSCC
for determination of an appropriate facility.        Inmates will
ordinarily be transferred from USP Marion or ADX Florence using
Code 308 - Lesser Security. Ordinarily, inmates completing the
ADX Florence program will be transferred to a High Security
facility, other than USP Marion.

      (5) USP Marion Failures. Inmates who continue to exhibit
disruptive misconduct at USP Marion may be considered for
referral to ADX Florence general population or the Control
Unit.

  c.   FMC Carswell Administrative Unit

     (1) Initial Designations. Initial designations may only
occur in extraordinary situations by DSCC staff.

     (2) Redesignation Criteria. The FMC Carswell
Administrative Unit is designed to house females
exhibiting any of the following:

       •   A history of escape or attempted escape from
           a secure institution;

       •   Demonstrated repeated incidents of
           assaultive or predatory behavior;

       •   Demonstrated chronic behavior problems; and/or

       •   Special management concerns.

     (3) Referral for transfer to the FMC Carswell
Administrative Unit will be submitted via the Request
for Transfer/Application of Management Variable (409) to
the DSCC Administrator.

     (4) Acceptance or Rejection of Referrals. The DSCC
Administrator has final review authority for referrals
to FMC Carswell Administrative Unit.
  Case 1:25-cv-01161-TJK   Document 2-8    Filed 04/16/25   Page 101 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Chapter 7, Page 20

                            TRANSFER CODES
CODE                          DESCRIPTION
276    FURLOUGH TRANSFER: Unescorted furlough transfer to a CCC.
307    INSTITUTION CLASSIFICATION: Transfer to an institution with
       greater security (e.g., Low to Medium).
308    INSTITUTION CLASSIFICATION: Transfer to an institution with
       less security (e.g., High to Medium).
309    DISCIPLINARY: Transfer as a result of an act(s) of misconduct
       related to documented poor institutional adjustment. See
       Program Statement on Discipline and Special Housing Unit.
313    NEARER RELEASE: Transfer for the purpose of placing an inmate
       in an institution nearer the release destination or to
       facilitate the release process.
314    TRAINING PURPOSES: Discontinued (Use Code 324).
315    TRAINING COMPLETED: Discontinued (Use Code 325).
316    TEMPORARY TRANSFER: Transfer to the custody of U.S. Marshals
       or local authority.
317    RELIEVE OVERCROWDING: Transfer to relieve overcrowding at a
       facility.
318    INCREASE POPULATION: Transfer to build a population, usually
       upon activation of a new facility.
319    DRUG ABUSE PROGRAM: Transfer to participate in a specialized
       Drug Abuse Program.
320    WORK/STUDY RELEASE: Discontinued.
321    TRANSFER TO CONTROL UNIT: Transfer to Control Unit (see
       Chapter 7, Section 4).
322    TRANSFER FROM CONTROL UNIT: Transfer from Control Unit (See
       Chapter 7, Section 4).
323    CLOSE SUPERVISION CASE: Transfer as a result of an
       investigation that indicates a safety, security, or escape
       risk. Includes verified and unverified protection cases.
324    PROGRAM PARTICIPATION: Transfer for a parole hearing or to
       participate in a specialized program.
325    PROGRAM COMPLETED/WITHDRAWAL/REMOVAL: Return to the original
       institution following the completion, withdrawal, or removal
       from a specialized program.
326    CONCURRENT SERVICE IN NON-FEDERAL FACILITY: Transfer to non-
       federal facility (excluding CCC) for service of concurrent
       federal and state sentences.
327    BOARDING IN NON-FEDERAL FACILITY: Transfer to non-federal
       facility (excluding CCC) for service of federal sentences
       only.
  Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 102 of 114
                                                                 P5100.08
                                                                9/12/2006
                                                       Chapter 7, Page 21

                            TRANSFER CODES
CODE                          DESCRIPTION
328    RETURN FROM NON-FEDERAL FACILITY: Return from non-federal
       facility to federal institution for service of federal
       sentence only.
330    ADJUSTMENT PURPOSES: Transfer for the purpose of placing the
       inmate in a new setting due to poor institutional adjustment
       or CIM concerns. This code differs from a 323 Close
       Supervision Transfer in that an SIS investigation is not
       normally conducted.
331    TRANSFER FOR MEDICAL TREATMENT: Transfer from general
       population for the purpose of obtaining medical/physical
       treatment in a Medical Referral Center. Requires a change to
       a CARE 4 assignment.
332    MEDICAL TREATMENT COMPLETED: Return from Medical Referral
       Center to general population after treatment for
       medical/physical treatment. Requires a change from CARE 4
       assignment to a lesser care level assignment.
333    TRANSFER FOR PSYCHOLOGICAL/PSYCHIATRIC EVALUATION: Transfer
       from general population for the purpose of obtaining
       psychiatric treatment in a Medical Referral Center. Requires
       a change to a CARE 4 assignment.
334    PSYCHOLOGICAL/PSYCHIATRIC EVALUATION COMPLETED: Return from a
       Medical Referral Center to general population after obtaining
       psychiatric treatment. Requires a change from CARE 4
       assignment to a lesser care level assignment.
335    TRANSFER FOR HOSPITALIZATION AND TREATMENT: Transfer between
       BOP Medical Referral Centers for continued medical/physical or
       psychiatric treatment. (SPG to BUT). CARE 4 assignment
       remains intact.
336    HOSPITALIZATION AND TREATMENT COMPLETED: Discontinued (See
       Code 332).
337    OTHER: This category may be used only when no other transfer
       code above applies. (DISCONTINUED)
338    DECREASE IN MEDICAL CARE LEVEL: Transfer used when there has
       been a decrease in the inmate’s medical care level and the
       inmate no longer requires the higher level of medical
       services. This code is to be used when the transfer occurs
       between non-MRC institutions and when there is a decrease from
       the CARE assignments 2 and 3 only.
339    INCREASE IN MEDICAL CARE LEVEL: Transfer used when there has
       been an increase in the inmate’s medical care level and inmate
       is being transferred for the sole purpose of requiring
       increased medical resources. This code is to be used when the
       transfer occurs between non-MRC institutions and when there is
       an increase from the CARE assignments 1 and 2 only.
369    FACILITY REORGANIZATION: Transfer based on a mission change of
       the institution.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 103 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Appendix A, Page 1

                            OFFENSE SEVERITY SCALE


                            GREATEST SEVERITY
Aircraft Piracy - placing plane or passengers in danger
Arson - substantial risk of death or bodily injury
Assault - serious bodily injury intended or permanent or
     life threatening bodily injury resulting)
Car Jacking - any
Drug Offense - see criteria below*
Escape - closed institution, secure custody, force or
     weapons used
Espionage - treason, sabotage, or related
offenses Explosives - risk of death or bodily
injury Extortion - weapon or threat of violence
Homicide or Voluntary Manslaughter - any
Kidnaping - abduction, unlawful restraint, demanding
     or receiving ransom money
Robbery - any
Sexual   offenses   -   rape,   sodomy,   incest,  carnal
     knowledge, transportation with coercion or force
     for commercial purposes
Toxic Substances/Chemicals: - weapon to endanger human life
Weapons - distribution of automatic weapons, exporting
     sophisticated weaponry, brandishing or threatening use of
     a weapon

* Any drug offender whose current offense includes the following
criteria will be scored in the Greatest severity category:

The offender was part of an organizational network and he or she
organized or maintained ownership interest/profits from large-scale drug
activity,
                                  ***AND***
The drug amount equals or exceeds the amount below:

Cocaine - greater than or equal to 10,000 gm, 10 K, or 22 lb
Cocaine Base "Crack"    - greater than or equal to 31 gm
Hashish - greater than or equal to 250,000 gm, 250 K, or 551 lb
Marijuana - greater than or equal to 620,000 gm, 620 K, or 1,367 lb
PCP - greater than or equal to l00,000 mg, 100 gm, or 20,000 dosage units
Heroin or Opiates - greater than or equal to 2,000 gm, 2 K, or 4.4 lb
Methamphetamine - greater than or equal to 16,000 gm, 17 K, or 35 lbs
Other illicit drugs: - Amphetamine, Barbiturates, LSD, etc. greater than
or equal to 250,000 dosage units
  Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 104 of 114
                                                                 P5100.08
                                                                9/12/2006
                                                       Appendix A, Page 2


                             HIGH SEVERITY
Arson - other
Cruelty to Children - any
Drugs (For Females only)

     Cocaine - greater than or equal to 10,000 gm, 10 K,
     Or 22 lb
     Cocaine Base “Crack” - greater than or equal to 31
     gm Hashish - greater than or equal to 250,000 gm,
     250 K, Or 551 lb
     Marijuana - greater than or equal to 620,000 gm, 620 K,
     Or 1,367 lb
     PCP - greater than or equal to 100,000 mg, 100 gm,
     or 20,000 dosage units
     Heroin or Opiates - greater than or equal to 2,000 gm,
     2 K, or 4.4 lb
     Methamphetamine - greater than or equal to 16,000 gm,
     17 K, or 35 lb
     Other illicit drugs - Amphetamine, Barbiturates,
     LSD etc. - greater than or equal to 250,000 dosage
     units
Explosives - other
Extortion - other
Involuntary manslaughter - includes vehicular homicide
Residential Burglary - with evidence that occupants were in
     dwelling during the commission of the offense
Rioting - any
Sexual Offenses - sexual exploitation of children,
     unlawful sexual conduct with a minor, pornography
Stalking - any
Threatening Communications - with conduct evidencing intent to
     carry out such threat
Toxic Substances/Chemicals - other
   Case 1:25-cv-01161-TJK             Document 2-8        Filed 04/16/25      Page 105 of 114
                                                                                      P5100.08
                                                                                     9/12/2006
                                                                            Appendix A, Page 3


                                      MODERATE SEVERITY
Assault - other
Auto Theft - any
Breaking    and Entering - any
Burglary - other
Child    Abandonment   - any
Contempt of Court - criminal contempt
Drugs Cocaine - greater than or equal to 400 gm, .4 K, or .88 lb
         Cocaine Base "Crack" - greater than or equal to 1 gm
         Hashish - greater than or equal to 11,000 gm, 11 K, or 24 lb
         Marijuana - greater than or equal to 25,000 gm, 25 K, or 55 lb
         PCP - greater than or equal to 4,000 mg, 4 gm, or .14 oz
         Heroin or Opiates - greater than or equal to 80 gm, .08 K, or .18 lb
         Methamphetamine - greater than or equal to 667 gm, .67 K, or 1.47 lb
         Other   illicit   drugs    - Amphetamine,     Barbiturates,   LSD,    etc.    greater
         than or equal to 10,000 dosage units, .05 K, or .11 lb
Escape    - walkaway   from    open   institution,     failure    to appear/bail      reform   act,
no threat of violence involved
Immigration Offenses - transportation             of   unlawful    aliens
Obstruction of Justice - any
Property    Offenses - over        $250,000,   includes theft,     fraud,    tax evasion,
forgery, currency offenses
Sexual Offenses - other
Weapons - other



                                    LOW-MODERATE SEVERITY
Bigamy - Polygamy
Drugs Cocaine - less than 400 gm, .4 K, or .88 lb
      Cocaine Base "Crack" - less than 1 gm
      Hashish - less than 11,000 gm, 11 K, or 24 lb
      Marijuana - less than 25,000 gm, 25 K, or 55 lb
      PCP - less than 4,000 mg, 4 gm, or .14 oz
      Heroin or Opiates - less than 80 gm, .08 K, or .18 lb
      Methamphetamine - less than 667 gm, .67 K, or 1.47 lb
      Other illicit drugs - Amphetamine, Barbiturates, LSD,
      etc., less than 10,000 dosage units, .05 K, or .11 lb
Indecent Exposure - indecent acts, lewd behavior
Immigration Offenses - other
Post-Release Supervision Violation - technical, administrative
Property Offenses - valued between $2,000 and $250,000)
  Case 1:25-cv-01161-TJK     Document 2-8   Filed 04/16/25   Page 106 of 114
                                                                   P5100.08
                                                                  9/12/2006
                                                         Appendix A, Page 4

                              LOWEST SEVERITY
Drugs - personal use
Gambling Law Violation - any
Liquor Law Violation - any
Property Offenses - less than $2,000
Suspicion - any
Traffic Laws - any
Vagrancy - any
Vandalism - any



                     MARIJUANA EQUIVALENT CHART
                      DRUG                  MARIJUANA EQUIVALENT
         1 gm of Heroin                          1000 gm
         1 gm of Cocaine Powder                    200 gm
         1 gm of Methamphetamine                 2000 gm
         1 gm of LSD                         100,000 gm
         1 gm of “crack” cocaine               20,000 gm
         1 gm of Hashish Oil                        50 gm
         For other drug equivalents, please refer to the
         U.S. Sentencing Commission Guidelines Manual.



                   MEASUREMENT CONVERSION TABLE
     1 oz = 28.35 gm                         1 gm = 1 ml (liquid)
     1 lb = 453.6 gm                         1 liter = 1,000 ml
     1 lb = 0.4536 kg                        1 kg = 1,000 gm
     1 gal = 3.785 liters                    1 gm = 1,000 mg
     1 qt = 0.946 liters                     1 grain = 64.8 mg
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 107 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Appendix A, Page 5

                DEFINITION OF ROLES INVOLVED IN DRUG OFFENSES



To determine whether an individual involved with a drug
offense rose to the level of an organizer or leader, read the
“Offense Conduct” section of the Presentence Investigation
Report, and any other available information (i.e., Statement
of Reasons,
U.S. Attorney Report, etc.) to determine what the individual’s
role was in the criminal activity. The role definitions below are
grouped into two categories: Those that rise to the level of
organizer/leader; and, those that do not.


                            ORGANIZER/LEADER


Importer/High-Level Supplier: imports or otherwise supplies
large quantities of drugs; is at or near the top of the
distribution chain; has ownership interest in drugs (not
merely transporting drugs for another individual); usually
supplies drugs to other drug distributors and does not deal in
retail amounts; may employ no or very few subordinates.

Organizer/Leader: organizes, leads, directs, or otherwise runs
a drug distribution organization. Receives the largest share of
the profits and has the greatest decision-making authority.

Grower/Manufacturer: grows, cultivates, or manufactures a
controlled substance, and is the principal owner of the drugs.
(Keep in mind, the intent of this definition is to capture the
individual who has the capability to manufacture enormous
amounts of drugs in his garage/lab for example, and not the
individual who is growing only five marijuana plants in his
basement.)

Financier/Money Launderer: provides money for
purchase, importation, manufacture, cultivation,
transportation, or distribution of drugs; launders
proceeds of drug sales or purchases.

Aircraft Pilot/Vessel Captain: pilots vessel or aircraft;
requires special skill; does not include inmate who is the
only participant directing a small boat (i.e., a speed boat)
onto which drugs had been loaded from a “mother ship” (such
person is a courier).
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 108 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Appendix A, Page 6

                        NOT A DRUG ORGANIZER/LEADER


Manager: serves as a lieutenant to assist one of the above;
manages all or a significant portion of the manufacturing,
importation, or distribution operation; takes instructions
from one of the above and conveys to subordinates; directly
supervises at least one other co-participant in an
organization of at least five co-participants.

Bodyguard/Strongman/Debt Collector: provides physical and
personal security for another co-participant in the
offense; collects debts owed, or punishes recalcitrant
persons.

Chemists/Cooks/Chemical Supplier: produces LSD,
methamphetamine, crack cocaine, or other illegal drugs, but
does not qualify as a Grower/Manufacturer because he/she is
not the principal owner of the drugs. Chemical supplier does
not handle drugs themselves but engages in the unlawful
diversion, sale, or furnishing of listed chemicals or
equipment used in the synthesis or manufacturing of controlled
substances.

Supervisor: supervises at least one other co-participant,
however, has limited authority and does not qualify as a
Manager.

Street-Level Dealer: distributes retail quantities directly to
the user.

Broker/Steerer/Go-Between: arranges for two parties to buy/sell
drugs, or directs potential buyer to a potential seller.

Courier: transports or carries drugs with the assistance of a
vehicle or other equipment. Includes situations where
individual, who is otherwise considered to be a crew member,
is the only participant directing a vessel (e.g., a speed
boat) onto which drugs had been loaded from a “mother ship”.

Mule: transports or carries drugs internally or on their
person, often by airplane, or by walking across a border. Also
includes an individual who only transports or carries drugs in
baggage, souvenirs, clothing, or otherwise.

Renter/Storer: provides (for profit/compensation) own
residence, structures (barns, storage bins, buildings), land,
or equipment for use to further the offense. This inmate is
distinguished from the enabler because he/she is paid (in some
way) for his/her services.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 109 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Appendix A, Page 7
Money runner: transports/carries money and/or drugs to and from
the street-level dealer.

Off-loader/Loader: performs the physical labor required to put
large quantities of drugs into storage, hiding, or onto some
mode of transportation.

Gopher/Lookout/Deckhand/Worker/Employee: performs very limited,
low-level function in the offense (whether or not ongoing);
includes running errands, answering the telephone, receiving
packages, packaging the drugs, manual labor, acting as lookout
to provide early warnings during meetings, exchanges, or off-
loading, or acting as deckhand/crew member on vessel or
aircraft used to transport large quantities of drugs.

Enabler (Passive): plays no more than a passive role in the
offense, knowingly permitting a certain unlawful criminal
activity to take place without actually being involved with
the activity; may be coerced or unduly influenced to play such
a function (e.g., a parent or grandparent threatened with
displacement from a home unless they permit the activity to
take place), or may do so as “a favor” (without compensation).

User Only: possessed small amount of drugs apparently for
personal use only; no apparent function in any conspiratorial
criminal activity.

Wholesaler: sells more than retail/user-level
quantities (greater than one ounce) in a single
transaction.
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 110 of 114
                                                                  P5100.08
                                                                 9/12/2006
                                                        Appendix A, Page 8


                            SPECIAL INSTRUCTIONS

In the case of an offense involving marijuana plants, one plant
equals 100 grams (or the actual weight of the useable
marijuana, whichever is greater).

If the offense includes several types of drugs, compute the
marijuana equivalent and total the sum to arrive at a grand
total. For example, if the inmate has marijuana, cocaine, and
heroin, compute the cocaine and heroin to an equivalent
amount of marijuana and hold the inmate accountable for the
sum total of the equivalent amount of marijuana.

Offenses not listed will be assigned a severity category
according to the most comparable listed offense.

Score any attempt, aiding and abetting, conspiracy, misprision
of a felony, and accessory after the fact in the same severity
category as the underlying offense. Total offense behavior is to
be considered, utilizing the most serious offense or act
committed. However, in drug conspiracy cases, the individual
will be held accountable as documented by the Judge in the
Statement of Reasons. If the Statement of Reasons is not
attached, the Case Manager will review the Presentence
Investigation Report to determine the individual’s specific
reported behavior, and not hold the individual accountable for
the entire drug conspiracy empire.

If committed as a parole, mandatory release, special parole
term, or supervised release violator as a result of a new
conviction, use that new offense behavior for scoring
"Severity of Current Offense."

If committed as a probation violator, use the most severe
documented behavior between the original offense that
prompted probation and the new criminal conduct (violation
behavior) for scoring "Severity of Current Offense."

For this Program Statement’s purposes, sentences with a
specific finding of “withheld adjudication” will be considered
the same as if the Judge made a finding of guilt.
     Case 1:25-cv-01161-TJK    Document 2-8   Filed 04/16/25    Page 111 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                           Appendix A, Page 9



                              WAIVER FOR MISDEMEANANTS




I,                                              ,
        (Name of Inmate)                              (Register Number)

have been convicted under
                                         (Offense Code and Title)




and committed to the custody of the Attorney General or the
Bureau of Prisons for service of a misdemeanor sentence, do
hereby waive my right as a misdemeanant offender to serve my
sentence in a facility other than a high security level
institution. I understand my conviction could entitle me to be
placed in a Minimum, Low, or Medium level institution, as deemed
appropriate by the Bureau of Prisons; however, I voluntarily
waive my right to such placement. I further understand that this
waiver does not prevent the Federal Bureau of Prisons from
transferring me to a Minimum, Low, or Medium security level
institution in the future, if appropriate.




        Inmate's Signature                                     Date



           Witness


           Witness
      Case 1:25-cv-01161-TJK   Document 2-8     Filed 04/16/25     Page 112 of 114
                                                                        P5100.08
                                                                       9/12/2006
                                                              Appendix B, Page 1

                       STANDARD   ABBREVIATIONS/TERMS   (BP-337)


ADW           Assault with a Deadly Weapon
ALC           Alcohol
ATT           Attempt
BRA           Bail Reform Act (constitutes escape)
CC            Concurrent
CC FRD        Credit Card Fraud
COC           Cocaine
CONSP         Conspiracy
CRK           Crack
CS            Consecutive
D/DS          Day/days
DETN          Detainer
DRG           Drug
DUI           Driving under the influence
DWI           Driving while influenced
DWOL          Driving without a License
DWP/DWIP      Dismissed without/with Prejudice
ESS           Execution of Sentence Suspended (If part of the
              sentence was imposed score as prior. If the entire
              sentence was suspended, do not count as prior,
              HOWEVER, if the offense involved escape or
              violence, score under appropriate history item.)
F/A           Firearm
FTA           Failure to Appear (constitutes escape)
GD            Good
GTA           Grand Theft Auto
H/G           Handgun
HX            History
IR            Incident Report
ISS           Imposition of Sentence Suspended (If part of the
              sentence was imposed score as prior. If the entire
              sentence was suspended, do not count as prior,
              HOWEVER, if the offense involved escape or
              violence, score under appropriate history item.)
ITSMV         Interstate Transportation of Stolen Motor Vehicle
JTC           Jail Time Credit
LOC           Lack of Cooperation
LOP           Loss of Privileges
M/MOS         Month/months
MH            Mental health
MJ            Marijuana
PBJ           Probation Before Judgment
PC            Pending Charge
PED           Parole Eligibility Date
PLIO          Pled to Lesser Instant Offense
PROB          Probation
PSY           Psychological/Psychiatric
PWITD         Possession with Intent to Distribute
PV            Parole Violation
   Case 1:25-cv-01161-TJK   Document 2-8     Filed 04/16/25     Page 113 of 114
                                                                     P5100.08
                                                                    9/12/2006
                                                           Appendix B, Page 2


                    STANDARD   ABBREVIATIONS/TERMS   (BP-337)



SRV        Supervised Release Violation
TRD        Tentative Release Date
UUV        Unauthorized Use of a Vehicle
VOP        Violation of Probation
WPN        Weapon
Y/YRS      Year/years
   Case 1:25-cv-01161-TJK   Document 2-8   Filed 04/16/25   Page 114 of 114
                                                                   P5100.08
                                                                   P5100.08
                                                                 9/12/2006
                                                                 9/12/2006
                                                        Appendix
                                                        Appendix B,
                                                                 B, Page
                                                                     Page 3 3

Form
Form  409,
      409,  REQUEST
            REQUEST  FOR
                     FOR TRANSFER/APPLICATION
                         TRANSFER/APPLICATION OF MANAGEMENT VARIABLE
                                              OF MANAGEMENT VARIABLE
is
1s available
    available  on
                on BOPDOCS
                   BOPDOCS
